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                         Exhibit 51
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                                                       REPORTS
Prospective Study of Talc                       overall; however, perineal talc use may                   ord review or death certificate, occurring between
                                                modestly increase the risk of invasive                    the return of the 1982 questionnaire and June 1,
Use and Ovarian Cancer                          serous ovarian cancer. [J Natl Cancer                     1996, were included in the analysis.
                                                                                                             Exclusions. Women who did not respond to the
                                                Inst 2000;92:249–52]                                      question on talc use in 1982 were excluded from this
Dorota M. Gertig, David J. Hunter,
                                                                                                          analysis. We also excluded women who had re-
Daniel W. Cramer, Graham A.                                                                               ported a diagnosis of cancer (other than nonmela-
                                                    Talc was originally implicated as a
Colditz, Frank E. Speizer, Walter C.            possible ovarian carcinogen because of its                noma skin cancer) before 1982, as well as women
Willett, Susan E. Hankinson                                                                               who reported bilateral oophorectomy, surgery with
                                                chemical similarity to asbestos, which has
                                                                                                          an unknown number of ovaries removed, and a his-
                                                been linked to ovarian cancer in occupa-                  tory of radiation therapy. Validity of self-reported
                                                tional settings and is associated with me-                surgical menopause has been assessed previously,
Background: Perineal talc use has been
                                                sotheliomas histologically resembling ep-                 and agreement with medical records was more than
associated with an increased risk of
                                                ithelial ovarian cancers (1–3). Perineal                  97% (15). These exclusions were updated every 2
ovarian cancer in a number of case–                                                                       years. At baseline, 78 630 women were eligible for
                                                use of talcum powder has been positively
control studies; however, this associa-                                                                   the analysis. The resulting population after exclu-
                                                associated with ovarian cancer risk in a
tion remains controversial because of                                                                     sions contributed 984 212 person-years of follow-up
                                                number of case–control studies (4–13), al-
limited supporting biologic evidence                                                                      and 307 cases of epithelial ovarian cancer.
                                                though the magnitude of the associations                     Ascertainment of talc exposure. Use of talcum
and the potential for recall bias or se-
                                                has been modest, with odds ratios ranging                 powder was ascertained on the 1982 questionnaire in




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lection bias in case–control studies. In
                                                from 1.2 to 1.9, and not all results reached              the following ways: “Have you ever commonly used
this study, we conducted a prospective
                                                statistical significance (5,6,8). Despite                 talcum, baby powder, or deodorizing powder a) to
analysis of perineal talc use and the                                                                     apply to perineal (private) area? No, daily, one to six
                                                this relative consistency among studies,
risk of ovarian cancer. Methods: The                                                                      times per week, or less than once per week or b) to
                                                the limited supporting biologic evidence,
Nurses’ Health Study is a prospective                                                                     apply on sanitary napkins? No, Yes.” We classified
                                                together with the possibility of recall and               “ever talc use” as ever talc use on either the perineal
study of 121 700 female registered
                                                selection bias in case–control studies (1),               area or sanitary napkins.
nurses in the United States who were
                                                has raised questions about the plausibility                  Other covariates. Potential risk factors and con-
aged 30–55 years at enrollment in 1976.
                                                of the association. We, therefore, prospec-               founders of the association between ovarian cancer
Talc use was ascertained in 1982 by use                                                                   and exposures of interest in this analysis also were
                                                tively examined the relationship between
of a self-administered questionnaire:                                                                     obtained from the biennial questionnaires and were
                                                perineal talc use and ovarian cancer risk
after exclusions, 78 630 women formed                                                                     updated every 2 years where relevant. Oral contra-
                                                in a large cohort of U.S. women.
the cohort for analysis. Three hundred                                                                    ceptive use was asked every 2 years from 1976
seven epithelial ovarian cancers subse-                                                                   through 1982, by which time use was rare. Tubal
                                                METHODS                                                   ligation history was asked as part of a question on
quently diagnosed in this cohort
                                                                                                          methods of contraception from 1976 through 1984,
through June 1, 1996, were confirmed               The Nurses’ Health Study, established in 1976, is
                                                                                                          and, in 1994, women were asked if they had ever
by medical record review and met in-            a prospective cohort of 121 700 registered nurses
                                                living in 11 of the larger states in the United States.
clusion criteria. Proportional hazards
                                                Questionnaires were mailed to married, female
models by use of pooled logistic regres-        nurses aged 30–55 years, requesting information on
sion were used to derive relative risks         health-related issues, including medical history and         Affiliations of authors: D. M. Gertig, F. E.
(RRs) and 95% confidence intervals              potential risk factors for cancer. Follow-up question-    Speizer, Channing Laboratory, Department of Medi-
                                                                                                          cine, Brigham and Women’s Hospital, Harvard
(CIs). Results: In 1982, 40.4% (n =             naires have been mailed every 2 years to update
                                                information on exposures and to ascertain newly di-       Medical School, Boston, MA; D. J. Hunter, G. A.
31 789) of the cohort reported ever us-                                                                   Colditz, Channing Laboratory, Department of Medi-
ing talc, and 14.5% (n = 11 411) re-            agnosed diseases. The study was approved by the
                                                Human Research Committee at the Brigham and               cine, Brigham and Women’s Hospital, Harvard
ported ever using talc daily. We ob-                                                                      Medical School, and Department of Epidemiology,
                                                Women’s Hospital, Boston, MA.
served no overall association with ever            Ascertainment of cases. We sought medical re-          Harvard School of Public Health, Boston, and Har-
talc use and epithelial ovarian cancer          cords from all women who reported a diagnosis of          vard Center for Cancer Prevention, Boston; D. W.
(multivariate RR = 1.09; 95% CI =               ovarian cancer or who were deceased in each fol-          Cramer, Obstetrics and Gynecology Epidemiology
                                                                                                          Center, Brigham and Women’s Hospital; W. C. Wil-
0.86–1.37) and no increase in risk of           low-up cycle. Records were reviewed by physicians
                                                unaware of exposure status. Histologic subtypes           lett, Channing Laboratory, Department of Medicine,
ovarian cancer with increasing fre-                                                                       Brigham and Women’s Hospital, Harvard Medical
quency of use. There was a modest               were determined from pathology reports, and epi-
                                                thelial ovarian cancers were classified as serous can-    School, and Departments of Epidemiology and Nu-
elevation in risk for ever talc use and         cers (including cystadenocarcinoma and papillary          trition, Harvard School of Public Health; S. E.
invasive serous ovarian cancer (multi-          adenocarcinoma), mucinous cancers (including ad-          Hankinson, Channing Laboratory, Department of
variate RR = 1.40; 95% CI = 1.02–               enocarcinoma and mucinous papillary adenocarci-           Medicine, Brigham and Women’s Hospital, Harvard
1.91). The risk of epithelial ovarian           noma), and endometrioid cancers (clear cell and           Medical School, and Department of Epidemiology,
                                                                                                          Harvard School of Public Health.
cancer for talc users was not greater           other types, including mixed epithelial tumors). Bor-
                                                                                                             Correspondence to: Dorota M. Gertig, MB.BS.,
among women who had never had a                 derline histologic tumors are included in the analy-
                                                sis. Deaths are reported by relatives and postal au-      MHSc., ScD., Centre for Genetic Epidemiology,
tubal ligation (multivariate RR = 0.97;                                                                   University of Melbourne, 200 Berkeley St., Carlton
                                                thorities, as well as a search of the National Death
95% CI = 0.71–1.32). Conclusion: Our            Index. Mortality follow-up is estimated to be 98%         3053, Australia (e-mail: Dorota.Gertig@channing.
results provide little support for any          complete in this cohort (14). Cases of epithelial         harvard.edu).
substantial association between perine-         ovarian cancer (International Classification of Dis-         See “Notes” following “References.”
al talc use and ovarian cancer risk             eases Code, ICD183.0), confirmed by medical rec-          © Oxford University Press

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had a tubal ligation and, if so, at what age. Family                  Table 1. Age-standardized prevalence of ovarian cancer risk factors according to
history of ovarian cancer was not asked until 1992.                                             perineal talc use in 1982*
Parity was defined as the number of pregnancies
lasting 6 months or more and was asked through 1984.                                                         Ever perineal talc use, %†           No perineal talc use, %
   Statistical analysis. Incidence rates (number of                                                                (n ⳱ 31 789)                       (n ⳱ 46 841)
cases for each category of exposure divided by per-
                                                          Parity
son months of follow-up in that cycle) were calcu-          0                                                            6.3                                6.4
lated for each category, adjusting for age in 5-year        1–2                                                         35.0                               35.2
intervals. Proportional hazards models by use of            艌3                                                          58.7                               58.4
pooled logistic regression were used to derive rela-
                                                          Oral contraceptive use
tive risks (RRs) and 95% confidence intervals (CIs)         Current                                                      0.5                                0.6
of disease for each exposure category (16). For age-        Past                                                        49.2                               49.8
adjusted analyses, we categorized variables as fol-         Never                                                       50.4                               49.6
lows: parity (0, 1–2, or 艌3), oral contraceptive use
                                                          Hormone use, postmenopausal women only
(never, past, or current), tubal ligation (yes or no),      Current                                                     12.1                               12.9
postmenopausal hormone use (never, past, or cur-            Past                                                        20.5                               20.4
rent), cigarette smoking (never, past, or current), and     Never                                                       67.4                               66.7
body mass index, i.e., weight in kilograms/height in
                                                          Tubal ligation, yes                                           17.6                               17.6
meters squared (<21, 21.0–22.9, 23.0–24.9, 25.0–
28.9, or 艌29 kg/m2). In multivariate analyses, we         Cigarette smoking
adjusted for age (years) and for potential risk factors     Never                                                       44.9                               43.2
                                                            Past                                                        30.3                               28.3
by use of indicator variables for each category as
                                                            Current                                                     24.9                               28.5
described above, except for parity (0, 1–2, 3–4, or
艌5) and duration of oral contraceptive use (never or      Body mass index quintiles, kg/m2




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<3, 3–5, or >5 years), for which we used a larger           <21.0                                                       16.0                               22.1
                                                            21.0–22.9                                                   20.9                               25.4
number of categories to more appropriately control
                                                            23.0–24.9                                                   20.1                               20.6
for confounding. In addition we controlled for age at       25.0–28.9                                                   22.8                               19.6
menarche, duration of breast-feeding, and age at            艌29                                                         19.8                               12.0
menopause. However, since this did not alter the
estimates for talc use, further models did not control      *Numbers do not always add up to 100% because of missing data or rounding.
for these variables. Body mass index and duration of        †Ever talc use coded as either talc use on perineal area or talc use on sanitary napkins.
oral contraceptive use were also entered as continu-
ous variables, and similar estimates were obtained.
All RRs reported are multivariate unless otherwise                    Table 2. Talc use and ovarian cancer: 1982 through 1996 (all subtypes included)*
stated. P values reported are two-sided.
                                                                                                 No. of       Person-       Age-adjusted RR             Multivariate RR†
RESULTS                                                                                          cases         years           (95% CI)                    (95% CI)

    Three hundred seven women devel-                      Talc use on perineum
                                                            Never                                 186         608 020           1.0 (referent)           1.0 (referent)
oped ovarian cancer in the cohort from                      <1/wk                                  43         128 923          1.10 (0.79–1.53)         1.14 (0.81–1.59)
1982 through 1996 who responded to the                      1–6/wk                                 30         105 186          0.95 (0.65–1.40)         0.99 (0.67–1.46)
1982 questionnaire on talc use. In 1982,                    Daily                                  48         142 083          1.09 (0.79–1.49)         1.12 (0.82–1.55)
40.4% (n ⳱ 31 789) of the baseline co-                    Talc use on sanitary napkins
hort reported ever using talc, of which                     No                                    242         781 421           1.0 (referent)           1.0 (referent)
14.5% (n ⳱ 11 411) were ever daily talc                     Yes                                    32         111 399          0.89 (0.62–1.29)         0.89 (0.61–1.28)
users. Talc use was associated with higher                Ever perineal talc use
                                                            No                                    179         586 758           1.0 (referent)           1.0 (referent)
body mass index and inversely associated                    Yes                                   128         397 454          1.05 (0.84–1.32)         1.09 (0.86–1.37)
with current cigarette smoking (Table 1).
                                                          Talc use, perineal and sanitary
    We did not observe an overall associa-                     napkins
tion with ever use of talc and epithelial                   None                                  179         586 758           1.0 (referent)           1.0 (referent)
ovarian cancer (RR ⳱ 1.09; 95% CI ⳱                         Either talc use on perineum           103         307 317          1.11 (0.87–1.41)         1.15 (0.90–1.46)
                                                               or use on sanitary napkins
0.86–1.37). There was also no elevation                     Use on both sanitary napkins           25          90 137          0.89 (0.58–1.35)         0.90 (0.59–1.37)
in risk among daily users of perineal talc,                    and perineum
and no trend was seen with increasing fre-
quency of use (Table 2). Talc use on sani-                  *RR ⳱ relative risk; CI ⳱ confidence interval.
tary napkins was inversely related to                       †Multivariate analyses control for age (years), parity (0, 1–2, 3–4, or 艌5), duration of oral contraceptive
ovarian cancer, but the association was                   use (never or <3 y, 3–5 y, or >5 y), body mass index (body weight in kilograms/height in meters squared:
                                                          <21, 21.0–22.9, 23.0–24.9, 25.0–28.9, or 艌29 kg/m2), tubal ligation history (yes or no), smoking status
statistically nonsignificant. Exclusion of
                                                          (never, past, or current), and postmenopausal hormone use (never, past, or current).
use of talc on sanitary napkins from the
ever use of talc variable did not substan-
tially alter the results. We also evaluated               type, we observed a modest increase in                  of talc, the RR of invasive serous cancer
the risk for women who used both peri-                    risk for ever talc use for serous invasive              was 1.49 (95% CI ⳱ 0.98–2.26). The
neal talc and talc on sanitary napkins but                cancers (RR ⳱1.40; 95% CI ⳱1.02–                        RRs for ever talc users of less than once
did not see an effect compared with never                 1.91) but not for all serous cancers (in-               per week and one to six times per week
users of talc (RR ⳱ 0.90; 95% CI ⳱                        cluding borderline cancers), endometrioid               were 1.29 (95% CI ⳱ 0.81–2.04) and
0.59–1.37).                                               cancers, or mucinous cancers (Table 3).                 1.49 (95% CI ⳱ 0.77–2.11), respectively
    When we stratified by histologic sub-                 For women who reported ever daily use                   (P for trend ⳱ .05).

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                Table 3. Talc use and ovarian cancer: 1982–1996 (by histologic subtype)*                         previous studies (9,13). Our relatively
                                                                                                                 short follow-up period may be inadequate
                                                  No. of     Person-   Age-adjusted RR     Multivariate RR†
Histologic subtype                                cases       years       (95% CI)            (95% CI)           to detect an association if the latency for
                                                                                                                 development of ovarian cancer is more
All serous cancers, ever perineal talc use                                                                       than 15 years. Although we controlled for
  No                                                101     586 771     1.0 (referent)      1.0 (referent)
  Yes                                                84     397 459    1.23 (0.92–1.64)    1.26 (0.94–1.69)‡     tubal ligation history, the tubal ligation
Serous invasive cancers, ever perineal talc use                                                                  question was asked as part of a question
  No                                                 84     586 771     1.0 (referent)      1.0 (referent)       on contraceptive use; therefore, post-
  Yes                                                76     397 459    1.33 (0.98–1.82)    1.40 (1.02–1.91)‡     menopausal women and some premeno-
Endometrioid cancers, ever perineal talc use                                                                     pausal women who were not sexually ac-
  No                                                 26     586 771     1.0 (referent)      1.0 (referent)       tive may not have responded to the
  Yes                                                16     397 459    0.91 (0.49–1.69)    0.91 (0.49–1.87)
                                                                                                                 question. Substantial residual confound-
Mucinous cancers, ever perineal talc use
 No                                                  30     586 771     1.0 (referent)      1.0 (referent)
                                                                                                                 ing is unlikely, since there was no overall
 Yes                                                 20     397 459    0.98 (0.56–1.73)    0.93 (0.53–1.66)      association between talc use and tubal li-
                                                                                                                 gation in this study. In addition, we ex-
  *RR ⳱ relative risk; CI ⳱ confidence interval.                                                                 cluded women who were postmenopausal
  †Multivariate analyses controlling for age (years), parity (0, 1–2, or 艌3), oral contraceptive use (never or   in 1976 from analyses stratified by tubal
ever), and tubal ligation history (yes or no).
  ‡Multivariate analyses control for age (years), parity (0, 1–2, 3–4, or 艌5), duration of oral contraceptive
                                                                                                                 ligation history. Finally, the prevalence of
use (never or <3 y, 3–5 y, or >5 y), body mass index (body weight in kilograms/height in meters squared:         talc use in our study is somewhat higher
<21, 21.0–22.9, 23.0–24.9, 25.0–28.9, or 艌29 kg/m2), tubal ligation history (yes or no), smoking status          than that in other studies and may reflect




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(never, past, or current), and postmenopausal hormone use (never, past, or current).                             the fact that we asked about frequency of
                                                                                                                 ever use rather than current regular use;
                                                                                                                 this may have contributed to an attenua-
   Because the talc hypothesis depends                    ever used talc had a higher risk of serous             tion of risk due to misclassification of ex-
on the ability of fibers to migrate up a                  invasive cancer (RR ⳱ 1.51; 95% CI ⳱                   posure.
patent genital tract to the ovaries, we                   1.07–2.15). There was no evidence of ef-                   The potential effect of talc on the ova-
evaluated the risk among women who had                    fect modification by oral contraceptive                ries depends on migration of talc fibers
reported a tubal ligation and those who                   use, body mass index, or cigarette smok-               through a patent genital tract, and we
had not. Women who were ever talc users                   ing for epithelial cancers overall.                    would, therefore, expect a stronger asso-
and had never had a tubal ligation were                                                                          ciation among women without a tubal li-
not at increased risk of epithelial ovarian               DISCUSSION                                             gation who had used talc. However, no
cancer compared with women who had                                                                               effect modification was seen by history of
not used talc (RR ⳱ 0.97; 95% CI ⳱                           To our knowledge, this is the first pro-            tubal ligation. Because we did not have
0.71–1.32). There was no evidence of het-                 spective analysis of talc use and ovarian              the date of tubal ligation, some women
erogeneity of RRs between women who                       cancer, and it addresses some of the po-               may have begun talc use only after tubal
had a tubal ligation and women who did                    tential limitations of previous case–                  ligation, potentially resulting in misclas-
not. In addition, when women who had                      control studies. Because we ascertained                sification of talc use and attenuation of
had a tubal ligation or simple hysterec-                  talc exposure prior to case diagnosis, the             the RRs.
tomy were excluded from the analysis, the                 possibility for recall bias, which has been                Since the first study showing an almost
RR for ever talc use was 1.15 (95% CI ⳱                   raised as a potential explanation for pre-             twofold increase in risk of ovarian cancer
0.89–1.49). For serous invasive cancers,                  vious positive findings in case–control                with any perineal talc use (4), most case–
the RR for women who had never had a                      studies (1), is eliminated, and selection              control studies have demonstrated posi-
tubal ligation was similar to that for                    bias is reduced. We controlled for known               tive associations with talc use (4–13), al-
women without a tubal ligation; however,                  or suspected ovarian cancer risk factors in            though not all have been statistically
the number of case patients who had had                   the analysis, such as parity, oral contra-             significant (5,6,8). Several studies (9,17–
a tubal ligation was small (data not                      ceptive use, tubal ligation history, and               20) found no overall association between
shown).                                                   body mass index, reducing the potential                any genital talc use and ovarian cancer.
   Cosmetic talc may have been more                       for uncontrolled confounding.                          We did not observe a dose–response rela-
likely to contain asbestos fibers prior to                   However, there are several important                tionship with talc use, and previous stud-
1976, before voluntary guidelines were                    limitations to our study. The questions on             ies also have been inconsistent in this re-
proposed (9). As a proxy for early talc                   talcum powder use referred to ever use,                gard. Some studies (9,13,17) have
use, we assessed risk among women 45                      and we cannot determine the age at which               demonstrated statistically insignificant
years old or older in 1982. There was no                  women began using talc or the duration of              trends in risk with increased frequency of
evidence that older women in 1982 were                    use. Thus, we were unable to assess the                talc use, duration of use, and measures of
at greater risk of ovarian cancer overall;                potential effect of talc use before first              “total lifetime applications,” while other
the RR for ever talc use compared with                    pregnancy, which has been shown to be a                studies (6,8) have not observed a statisti-
never talc use for women under 45 years                   stronger risk factor for ovarian cancer                cally significant dose response.
was 0.95 (95% CI ⳱ 0.59–1.53) and                         than use after pregnancy in one study                      With regard to histologic subtypes, a
among women 45 years old or older was                     (13). The number of lifetime applications              recent study by Cramer et al. (13) ob-
1.13 (95% CI ⳱ 0.86–1.47). However,                       of talc has also been associated with in-              served the greatest risk for talc use and
women 45 years old or older in 1982 who                   creased risk of ovarian cancer in some                 invasive serous cancer; however, other

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studies found increased risks for endome-     ovarian cancer risk overall; however, per-             (15) Hankinson SE, Hunter DJ, Colditz GA, Willett
trioid cancers (9,12), serous cancers (7),    ineal talc use may modestly increase the                    WC, Stampfer MJ, Rosner B, et al. Tubal liga-
                                                                                                          tion, hysterectomy, and risk of ovarian cancer.
and invasive cancers of all subtypes (12).    risk of invasive serous ovarian cancers.
                                                                                                          JAMA 1993;270:2813–8.
Since serous cancers, which account for       REFERENCES                                             (16) D’Agostino RB, Lee ML, Balanger AJ, Cupples
more than half of all invasive ovarian can-                                                               LA, Anderson K, Kannel WB. Relation of
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cers, most resemble mesotheliomas, it                                                                     pooled logistic regression to time dependent
                                                   talc exposure and risk of ovarian cancer. Regul
could be hypothesized that this subtype            Toxicol Pharmacol 1995;21:254–60.
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                                                                                                          Talc and ovarian cancer [letter]. JAMA 1983;
did observe a modest positive association      (3) Acheson ED, Gardner MJ, Pippard EC, Grime
                                                                                                          250:1844.
with serous invasive cancers and ever talc         LP. Mortality of two groups of women who
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use as well as a borderline significant            manufactured gas masks from chrysotile and
                                                                                                          risk of epithelial ovarian cancer. The WHO
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trend for increasing frequency of ever use.                                                               Collaborative Study of Neoplasia and Steroid
                                                   Indust Med 1982;39:344–8.
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cancer in occupational settings and is as-     (5) Chen Y, Wu PC, Lang JH, Ge WY, Hartge P,
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sociated with peritoneal tumors similar to         Brinton LA. Risk factors for epithelial ovarian
                                                                                                          al talc application as risk factors for ovarian
ovarian cancer (2,3,21). Because of the            cancer in Beijing, China. Int J Epidemiol 1992;
                                                                                                          cancer. Int J Cancer 1993;55:508–10.
                                                   21:23–9.
chemical similarity of talc and asbestos,      (6) Whittemore AS, Wu ML, Paffenbarger RS Jr,
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talc also has been implicated as a possible                                                               N, Mettlin CJ. Perineal talc exposure and sub-




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ovarian carcinogen. Talc is able to mi-                                                                   sequent epithelial ovarian cancer: a case–con-
                                                   sonal and environmental characteristics related
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access to the ovaries because talc fibers          talcum powder, tobacco, alcohol, and coffee.
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nant ovarian tissue (22), although no re-                                                            (22) Henderson WJ, Joslin CC, Turnbull AC, Grif-
                                                   der exposure and the risk of ovarian cancer.
lation between reported levels of talc ex-         Am J Epidemiol 1997;145:459–65.
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                                  Talc use, variants of the GSTM1, GSTT1, and NAT2 genes, and risk
                                  of epithelial ovarian cancer

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                                  Abstract
                                       Epidemiologic evidence suggests a possible association between genital use of talcum powder and
                                       risk of epithelial ovarian cancer; however, the biologic basis for this association is not clear. We
                                       analyzed interactions between talc use and genes in detoxification pathways (GSTM1, GSTT1 and
                                       NAT2) to assess whether the talc/ovarian cancer association is modified by variants of genes
                                       potentially involved in the response to talc. Our analysis included 1,175 cases and 1,202 controls
                                       from a New England-based case-control study and 210 cases and 600 controls from the prospective
                                       Nurses' Health Study. We genotyped participants for the GSTM1 and GSTT1 gene deletions and three
                                       NAT2 polymorphisms. We used logistic regression to analyze the main effect of talc use, genotype,
                                       and gene-talc interactions in each population, and we pooled the estimates using a random effects
                                       model. Regular talc use was associated with increased ovarian cancer risk in the combined study
                                       population (relative risk=1.36, 95% CI=1.14-1.63; p-trend<0.001). Independent of talc, the genes
                                       examined were not clearly associated with risk. However, the talc/ovarian cancer association varied
                                       by GSTT1 genotype and combined GSTM1/GSTT1 genotype. In the pooled analysis, the association
                                       with talc was stronger among women with the GSTT1-null genotype (p-interaction=0.03),
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                                       particularly in combination with the GSTM1-present genotype (p-interaction=0.03). There was no
                                       clear evidence of an interaction with GSTM1 alone or NAT2. These results suggest that women with
                                       certain genetic variants may have a higher risk of ovarian cancer associated with genital talc use.
                                       Additional research is needed on these interactions and the underlying biologic mechanisms.


                                  Keywords
                                       Talc; GSTM1; NAT2; ovarian cancer; gene-environment interactions




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                                    INTRODUCTION
                                                     Genital use of talcum powder has been extensively investigated as a potential risk factor for
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                                                     ovarian cancer. A meta-analysis of 16 previous studies reported an approximate 30% increase
                                                     in risk of total epithelial ovarian cancer with regular genital exposure to talc (1), and several
                                                     studies have suggested a stronger association with the serous or serous invasive histologic
                                                     subtype (2-6). Although the epidemiologic evidence supports a modest association between
                                                     genital talc use and ovarian cancer risk, the association remains controversial due to the lack
                                                     of a clear dose-response with increasing frequency or duration of talc use, the possibility of
                                                     confounding or other biases, and the uncertain biologic mechanism.

                                                     No prior studies have assessed gene-talc interactions in ovarian cancer risk, possibly because
                                                     little is known about which genes may be involved in the biologic response to talc. However,
                                                     variants of the glutathione S-transferase M1 (GSTM1) and N-acetyltransferase 2 (NAT2) genes
                                                     appear to modify the association between exposure to asbestos, a known carcinogen that is
                                                     chemically similar to talc, and risk of malignant mesothelioma (7-10). Talc and asbestos are
                                                     found together in nature, and prior to 1976 talcum powder was commonly contaminated with
                                                     asbestos (9). Although this contamination may have contributed to the risk of ovarian cancer
                                                     associated with talc use, there is also evidence that talc itself may contribute to carcinogenesis,
                                                     independent of any contamination with asbestos in the past. Talc can induce granulomas and
                                                     other inflammatory responses in vivo (9), and a recent study found that exposing human ovarian
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                                                     stromal and epithelial cells to talc resulted in increased cell proliferation and neoplastic
                                                     transformation of cells (11). Talc also appears to increase cellular production of reactive oxygen
                                                     species (11). Interestingly, serous ovarian cancers morphologically resemble peritoneal
                                                     malignant mesotheliomas (12), suggesting a possible rationale for the stronger association
                                                     between talc and risk of serous or serous invasive cancers observed in some studies.

                                                     Based on similarities between talc and asbestos and the evidence for gene-asbestos interactions
                                                     in malignant mesothelioma, we examined whether the association between genital talc
                                                     exposure and ovarian cancer risk is modified by variants of the NAT2 and GSTM1 genes, as
                                                     well as the related glutathione S-transferase T1 (GSTT1) gene. The GSTM1 and GSTT1 genes
                                                     produce enzymes involved in the metabolism of carcinogens and reactive oxygen species
                                                     (13). These genes are homozygously deleted in approximately 50% (GSTM1) and 20%
                                                     (GSTT1) of Caucasians, resulting in complete loss of enzymatic activity (14,15). The NAT2
                                                     enzyme catalyzes the deactivation of xenobiotics via N-acetylation, but can also activate certain
                                                     substrates via O-acetylation (16). Individuals with two NAT2 slow acetylator alleles,
                                                     approximately 60% of individuals in Caucasian populations, have decreased rates of N- and
                                                     O-acetylation (17-20). We hypothesized that the association between talc use and ovarian
                                                     cancer risk would be stronger among individuals with the GSTM1 null, GSTT1 null, and
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                                                     NAT2 slow acetylator genotypes, due to decreased metabolism of free radicals and other
                                                     products of the biologic response to talc. We examined these gene-talc interactions, as well as
                                                     the main effect of talc use and each genotype, in two study populations with a total of 1,385
                                                     ovarian cancer cases.

                                    METHODS
                                    New England Case-Control Study
                                                     The New England Case-Control Study (NECC) consists of 1,231 epithelial ovarian cancer
                                                     cases and 1,244 controls from Massachusetts and New Hampshire. Participants were enrolled
                                                     in the study in two phases, from May 1992 to March 1997 (phase 1; 563 cases and 523 controls)
                                                     or from July 1998 to July 2003 (phase 2; 668 cases and 721 controls). Participants completed
                                                     a detailed questionnaire on potential risk factors for ovarian cancer and covariates of interest
                                                     during an in-person interview with a trained interviewer. To avoid capturing changes related


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                                                     to disease status, interviewers asked participants about exposures that occurred at least one
                                                     year prior to the date of diagnosis for cases or the interview date for controls. The institutional
                                                     review boards of Brigham and Women's Hospital and Dartmouth Medical School approved
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                                                     both phases of the study, and all participants provided written informed consent.

                                                     During the two study phases, NECC researchers identified 2,347 incident cases of ovarian
                                                     cancer through hospital tumor boards and state cancer registries; 1,845 (79%) of these cases
                                                     were eligible, and 71% of the eligible cases were enrolled in the study. Study investigators
                                                     identified potential controls using random digit dialing, drivers' license records, and
                                                     Massachusetts town resident lists. Controls were frequency-matched to cases by age and state
                                                     of residence. Of the potentially eligible controls contacted by investigators during phase 1,
                                                     68% were eligible and agreed to participate. During phase 2, 197 potential controls declined
                                                     to be contacted by returning a postcard to “opt out” of the study; of the remaining potentially
                                                     eligible controls who were contacted, 67% were eligible and enrolled in the study. The
                                                     eligibility criteria and the reasons for non-enrollment of eligible cases are described elsewhere
                                                     (21).

                                                     Over 95% of study participants provided a blood specimen at study enrollment. NECC
                                                     researchers separated the heparinized blood samples into plasma, red blood cell, and buffy coat
                                                     (white blood cell) components, extracted DNA from the buffy coat using Qiagen DNA
                                                     extraction (Qiagen Inc., Valencia, CA), and stored the extracted DNA in freezers at a
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                                                     temperature of -80°C.

                                    Nurses' Health Study
                                                     In 1976, 121,701 female registered nurses between the ages of 30 and 55 responded to a mailed
                                                     questionnaire about known and suspected risk factors for disease, leading to the establishment
                                                     of the Nurses' Health Study (NHS). Study participants completed follow-up questionnaires
                                                     every two years, providing information on new diagnoses of disease and updated information
                                                     on risk factors. Participation in the study has remained high throughout follow-up; between
                                                     1976 and 2004 the percentage of follow-up information obtained (questionnaire responses plus
                                                     deaths) was 95.3%. The corresponding follow-up percentages for women who provided a white
                                                     blood cell or cheek cell specimen were 98% and 99%, respectively. The Institutional Review
                                                     Board of Brigham and Women's Hospital, Boston, MA approved both the NHS and this
                                                     analysis, and all participants provided implied consent by completing and returning the baseline
                                                     questionnaire.

                                                     In 1989 and 1990, 32,826 participants submitted a blood sample for use in genetic and other
                                                     biomarker analyses. Details of the blood collection are described elsewhere (22). Between 2001
                                                     and 2004, 33,040 women without a blood specimen provided a buccal cell specimen. We used
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                                                     a mouthwash protocol to collect the buccal cell samples, based on evidence that this method
                                                     provides slightly higher DNA yield and quality, compared with collection using a cytobrush
                                                     (23). We extracted DNA from each specimen within one week of receipt using Qiagen DNA
                                                     extraction (Qiagen Inc., Valencia, CA), and stored the DNA at -80°C.

                                    NHS nested case-control study
                                                     We collected information on new diagnoses of ovarian cancer on each questionnaire, and we
                                                     also obtained information on deaths due to ovarian cancer through family members, the
                                                     National Death Index, and the U.S. Postal Service. We confirmed each diagnosis using methods
                                                     described previously (24). For this analysis, we included all cases with a DNA specimen
                                                     available from prior to diagnosis (incident cases), as well as cases who submitted a DNA
                                                     specimen within four years after diagnosis (prevalent cases). We included the prevalent cases
                                                     in the analysis due to the similarity of characteristics of these cases and the incident cases, and


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                                                  also because the interval of four years between diagnosis and DNA collection was less than
                                                  the average survival time of 65.7 months for the incident cases. All cases were diagnosed prior
                                                  to June 1, 2004 and had no history of a prior cancer, other than non-melanoma skin cancer.
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                                                  We randomly selected three controls per case from the study participants who gave a buccal
                                                  cell or blood specimen, who had not had a bilateral oophorectomy prior to the date of diagnosis
                                                  of the matched case, and who had no history of cancer, other than non-melanoma skin cancer,
                                                  as of the cycle of diagnosis of the case. We excluded 30 controls from the analysis due to
                                                  unavailability of genotyping data (n=28) or because the participant was later diagnosed with
                                                  ovarian cancer and was included in the analysis as a case (n=2). Cases and controls were
                                                  matched on month and year of birth, DNA type, and menopausal status at diagnosis. For the
                                                  blood collection, cases and controls were additionally matched on menopausal status and
                                                  postmenopausal hormone (PMH) use status at blood draw, month/year and time of day of blood
                                                  draw, and fasting status at blood draw, since these control selections were also used for analyses
                                                  of plasma hormones and other biomarkers (25).

                                 Exposure assessment
                                                  The phase 1 and 2 NECC questionnaires included multiple questions about regular use of
                                                  talcum, baby or deodorizing powder as an adult. Specific questions asked about type of use (as
                                                  a dusting powder to the genital area, sanitary napkins, underwear, or non-genital areas),
                                                  frequency of use, age at first use, number of years used, and brand of powder used. The 1982
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                                                  NHS questionnaire requested information on whether the participant had ever commonly
                                                  applied talcum, baby, or deodorizing powder to the perineal area (no, <once/week, 1-6 times/
                                                  week, or daily) or to sanitary napkins (yes/no). For this analysis, we defined regular genital
                                                  talc use as application of powder to the genital/perineal region at least once per week. We also
                                                  created a categorical variable for frequency of talc use, using the categories from the NHS
                                                  questionnaire.

                                 Genotyping methods
                                                  Genotyping was performed at the Dana Farber/Harvard Cancer Center High Throughput
                                                  Genotyping Core (for the NAT2 polymorphisms and NHS GSTM1 and GSTT1 gene deletions)
                                                  and the Molecular Epidemiology Research Laboratory at the Harvard School of Public Health
                                                  (for the NECC GSTM1 and GSTT1 gene deletions). All samples were genotyped for three single
                                                  nucleotide polymorphisms that identify the NAT2*5, NAT2*6, and NAT2*7 alleles. These
                                                  alleles account for over 99% of slow acetylator alleles in Caucasian populations (16,26). The
                                                  NAT2 I114T (rs1801280), R197Q (rs1799930), and G286E (rs1799931) polymorphisms were
                                                  genotyped using the 5' nuclease assay (Taqman) on the ABI PRISM 7900HT Sequence
                                                  Detection System (Applied Biosystems, Foster City, CA), in 384-well format. Individuals with
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                                                  two slow acetylator alleles were classified as NAT2 slow acetylators, while individuals with
                                                  zero or one slow acetylator allele were classified as rapid acetylators.

                                                  The NECC samples were genotyped for the GSTM1 and GSTT1 gene deletions using multiplex
                                                  polymerase chain reaction (PCR), and the PCR products were resolved on a 1.5% agarose gel.
                                                  The NHS samples were genotyped for the two gene deletions using Taqman realtime PCR in
                                                  384-well format. For both the multiplex and real-time PCR assays, individuals were considered
                                                  to have the GSTM1 or GSTT1 null genotype if no PCR product was present for the respective
                                                  gene; all other individuals were classified as GSTM1 or GSTT1 present.

                                                  All DNA samples were whole genome amplified prior to genotyping. Laboratory personnel
                                                  blinded to the case-control status of the samples performed all genotyping, and each plate
                                                  included blinded replicate samples for quality control purposes. The replicate samples were



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                                                  100% concordant for all genotypes except the NECC GSTM1 and GSTT1 gene deletions, which
                                                  were 98% and 95% concordant respectively.
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                                 Statistical analysis
                                                  We used a chi-square test to examine whether the NAT2 polymorphisms were in Hardy-
                                                  Weinberg equilibrium in each population, and also to examine the distribution of each genotype
                                                  by case-control status. We conducted all analyses separately in the NHS and NECC populations
                                                  using consistent exposure and covariate definitions and, after testing for heterogeneity in the
                                                  results, pooled the estimates using a random effects model (27). We used conditional (NHS)
                                                  and unconditional (NECC and NHS) logistic regression to model the multivariable-adjusted
                                                  odds ratio (as an estimate of the relative risk [RR]) and 95% confidence interval (CI) for the
                                                  main effect of genital talc use, the main effect of each gene, and each combined gene-talc
                                                  variable. We tested for a linear trend with increasing frequency of talc use by using a continuous
                                                  variable weighted by the midpoint of each frequency category, and we calculated the p-value
                                                  for trend using the Wald test. To assess effect modification by genotype, we used unconditional
                                                  logistic regression to model the association between talc use and ovarian cancer risk within
                                                  each genotype stratum, and we calculated the p-value for interaction using the chi-square test
                                                  for the difference between the log likelihoods for models with and without interaction terms
                                                  between regular genital talc use and genotype. In addition to the analyses of total ovarian
                                                  cancer, we examined associations with the serous invasive histologic subtype, based on
                                                  evidence from prior studies that risk of this subtype may be more strongly associated with talc
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                                                  use.

                                                  We adjusted all analyses for the matching factors, duration of oral contraceptive use, parity,
                                                  tubal ligation, body mass index (BMI), and duration of PMH use. Women with missing data
                                                  for the continuous covariates were assigned the median value of the covariate for their study
                                                  population. In the NHS, where covariate data are available from multiple questionnaire cycles,
                                                  we used the data from two cycles (two to four years) prior to the cycle of diagnosis for each
                                                  case and their matched controls, for consistency with the timeframe of the NECC covariate
                                                  data. We examined additional covariates as potential confounders, including physical activity,
                                                  smoking history, menopausal status, age at menopause, breastfeeding duration, and family
                                                  history of ovarian or breast cancer, but did not include them in the final model because they
                                                  did not substantially change our estimates. We performed all analyses using SAS version 9.1
                                                  (SAS Institute Inc., Cary, NC).

                                 RESULTS
                                                  Our study population included 1,175 cases and 1,202 frequency-matched controls from the
                                                  NECC and 210 cases and 600 matched controls from the NHS, for a total of 1,385 ovarian
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                                                  cancer cases and 1,802 controls. Of the NHS cases, 49 were prevalent and 161 were incident
                                                  with respect to the time of DNA collection. Characteristics of the NHS prevalent and incident
                                                  cases were generally similar, although a higher percentage of the prevalent cancers were
                                                  endometrioid (20% vs. 9%) and a lower percentage were invasive (76% vs. 86%). In the NECC,
                                                  618 cases had serous histology (53%), 450 were serous invasive (38%), 153 were mucinous
                                                  (13%), 172 were endometrioid (15%), and 232 had other/undifferentiated histology (20%). In
                                                  the NHS, 111 cases were serous (53%), 93 were serous invasive (44%), 23 were mucinous
                                                  (11%), 25 were endometrioid (12%), and 51 had other/poorly differentiated histology (24%).

                                                  Over 96% of the NECC participants and 98% of the NHS participants were of self-reported
                                                  European ancestry. In analyses restricted to these participants, the results were similar to those
                                                  for the entire study population; we therefore included all participants in our analyses to
                                                  maximize our sample size. The distributions of ovarian cancer risk factors were similar in the
                                                  NECC and NHS populations, although on average the NHS participants were older, had higher

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                                                  parity, and were more likely to have used PMH, in part due to differences in the NECC and
                                                  NHS age distributions (Table 1). Within each study population the cases and controls differed
                                                  with respect to the known risk factors for ovarian cancer. In addition, in the NECC the cases
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                                                  had higher mean BMI than the controls, and a larger percentage of the cases reported a history
                                                  of genital talc use. The NHS prevalent and incident cases had similar BMI, tubal ligation
                                                  history, duration of PMH use, duration of lactation, and genital talc use history; however, the
                                                  prevalent cases were, on average, slightly younger (60 vs. 62 years), less likely to be
                                                  postmenopausal (71% vs. 87%), and had lower parity (2.7 vs. 3.1 children), later age at
                                                  menarche (13.1 vs. 12.5 years), and a longer mean duration of oral contraceptive use (60 vs.
                                                  41 months; results not shown).

                                                  In the NECC, women with a history of regular genital talc use were older, had higher mean
                                                  BMI, were less likely to have ever used oral contraceptives, were more likely to be
                                                  postmenopausal, and were more likely to have used PMH (Table 2). Among parous women in
                                                  the NHS, the mean age at first birth was lower for regular talc users. In addition, NHS
                                                  participants who regularly used talc were less likely to have a history of smoking or tubal
                                                  ligation. There was no difference in the genotype frequencies by genital talc use history in
                                                  either study population.

                                                  All p-values for the tests for heterogeneity comparing the NECC and NHS results were greater
                                                  than 0.05. Talc use was associated with increased risk of ovarian cancer in both study
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                                                  populations, although the confidence intervals were wide in the NHS due to the limited sample
                                                  size (Table 3). In the pooled analysis, the relative risk for the association with regular genital
                                                  talc use was 1.36 (95% CI=1.14-1.63) for total ovarian cancer and 1.60 (95% CI=1.26-2.02)
                                                  for the serous invasive subtype. In addition, there were highly significant trends between
                                                  increasing frequency of talc use and risk of both total and serous invasive ovarian cancer in
                                                  the NECC (p-trend=0.002 for total and <0.001 for serous invasive ovarian cancer) and pooled
                                                  analyses (p-trend<0.001 for both total and serous invasive ovarian cancer). Regular genital talc
                                                  use was not significantly associated with risk of the endometrioid (RR=1.41, 95%
                                                  CI=0.97-2.05) or mucinous (RR=1.28, 95% CI=0.85-1.92) histologic subtypes in the pooled
                                                  analysis. In the NECC, use of talcum powder on non-genital body areas was unassociated with
                                                  ovarian cancer risk (multivariable-adjusted RR, also adjusted for genital talc use=0.91, 95%
                                                  CI=0.73-1.12).

                                                  Among the controls in each population, the genotype frequencies for the NAT2 polymorphisms
                                                  were in Hardy-Weinberg equilibrium and the distributions of the GSTM1 null, GSTT1 null,
                                                  and NAT2 slow acetylator genotypes were consistent with previous reports of Caucasian
                                                  populations (19,28,29). Comparing the prevalent and incident cases in the NHS, a
                                                  nonsignificantly higher percentage of the prevalent cases were NAT2 slow acetylators (67%
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                                                  vs. 56%), but the GSTM1 and GSTT1 genotype distributions did not differ for the prevalent
                                                  and incident cases (results not shown).

                                                  None of the genotypes examined were associated with ovarian cancer risk in the NECC or
                                                  pooled analyses (Table 4). In the NHS, individuals with the NAT2 slow acetylator genotype
                                                  had a significant 35% decrease in ovarian cancer risk (RR=0.65, 95% CI=0.45-0.95). The
                                                  combined GSTM1 null/NAT2 slow acetylator and GSTT1 null/NAT2 slow acetylator genotypes
                                                  were also inversely associated with risk in the NHS (RR=0.57, 95% CI=0.33-0.98 and
                                                  RR=0.51, 95% CI=0.26-0.99, respectively), when compared with the GSTM1 or GSTT1
                                                  present, NAT2 rapid acetylator genotype. However, these associations were no longer
                                                  statistically significant when pooled with the NECC estimates.

                                                  In analyses stratified by genotype, the association between regular genital talc use and risk of
                                                  total ovarian cancer was stronger among women with the GSTT1 null and combined GSTM1


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                                                  present/GSTT1 null genotypes (Table 5). In the pooled analysis, the relative risk for the
                                                  association with regular genital talc use was 2.1 (95% CI=1.4-3.2) for women with the
                                                  GSTT1 null genotype (p-interaction=0.03) and 2.8 (95% CI=1.6-5.0) for women with the
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                                                  GSTM1 present/GSTT1 null genotype (p-interaction=0.03). The association with the serous
                                                  invasive subtype was also stronger within these genotype strata, although the p-values for
                                                  interaction were not statistically significant. The pooled relative risk was 2.4 (95% CI=1.4-4.0)
                                                  for the GSTT1 null stratum and 4.8 (95% CI=2.1-11) for the combined GSTM1 present/
                                                  GSTT1 null stratum. The results were consistent in both study populations (results not shown),
                                                  although the p-values for interaction were statistically significant only in the pooled analysis.
                                                  There was also evidence of a stronger association between regular talc use and risk of serous
                                                  invasive cancer among women with the GSTM1 present genotype, but this interaction was not
                                                  statistically significant.

                                                  We additionally analyzed the association between combined gene-talc variables, compared to
                                                  a common referent group (wild-type genotype and no talc use), and risk of total and serous
                                                  invasive ovarian cancer. The results of these analyses were similar to the stratified results
                                                  presented in table 5, and are therefore included only as a supplementary table. We also
                                                  examined interactions between regular genital talc use and combined GSTM1/NAT2 and
                                                  GSTT1/NAT2 genotype (results not shown). The GSTT1 null/NAT2 slow acetylator genotype
                                                  seemed to increase the risk of total and serous invasive ovarian cancer associated with talc use.
                                                  However, these analyses were based on small numbers, especially for certain combinations of
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                                                  the genotype and talc variables, and none of the p-values for interaction were significant.

                                                  In analyses restricted to the NHS incident cases or the NHS cases and controls with a blood
                                                  specimen, the results were similar to those for the total NHS study population (results not
                                                  shown).

                                 DISCUSSION
                                                  These results provide additional support for a main effect of genital talc exposure on risk of
                                                  epithelial ovarian cancer. The presence of a significant trend between frequency of talc use
                                                  and risk of total and serous invasive ovarian cancer in the NECC and pooled analyses further
                                                  strengthens the evidence for an association, as most previous studies have not observed a dose-
                                                  response with increasing frequency or duration of talc use (1,5). The results of our gene-
                                                  environment analyses suggest that genes in detoxification pathways may be involved in the
                                                  biologic response to talc, and that the association between genital talc use and risk of ovarian
                                                  cancer may vary by genotype. In particular, women with the GSTT1 null genotype and the
                                                  combined GSTM1 present/GSTT1 null genotype had a stronger association between talc use
                                                  and ovarian cancer risk. The evidence for these interactions was consistent in two independent
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                                                  study populations, and the p-values for interaction were statistically significant in a pooled
                                                  analysis of the two populations. However, the direction of the interaction with combined
                                                  GSTM1/GSTT1 genotype was unexpected based on the known function of these genes.

                                                  Although prior analyses of the talc/ovarian cancer association in the NHS and the NECC have
                                                  been published, our study includes an additional 612 NECC cases and 679 NECC controls and
                                                  eight additional years of follow-up in the NHS (3,4). In the previous analysis of the NECC,
                                                  Cramer et al. observed a significant positive association between talc use and risk of both total
                                                  and serous invasive ovarian cancer. In addition, there was a significant trend with lifetime
                                                  number of talc applications, after excluding applications during non-ovulatory intervals (p-
                                                  trend=0.02), but no trend with duration or frequency of talc use (3). In the only prospective
                                                  study of this association, Gertig et al. reported a significant association between talc use and
                                                  risk of the serous invasive subtype in the NHS, but no association with risk of total ovarian
                                                  cancer (4). Our findings are consistent with the previous reports for these study populations,


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                                                  although our analysis differs from the prior studies in that we defined our primary exposure
                                                  variable as genital use of talc at least once per week, based on the assumption that habitual talc
                                                  use is more likely to be recalled accurately and more likely to be associated with ovarian cancer
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                                                  risk. Our findings are also consistent with meta-analyses of this association (1,30).

                                                  The controversy regarding the existence of an association between talc and ovarian cancer has
                                                  stemmed in part from the lack of a clear mechanism for the association. Although talc and
                                                  asbestos are chemically similar, their biologic effects may differ, since talc does not appear to
                                                  be a lung carcinogen (31). In addition, it is unclear whether talc applied to the perineum can
                                                  reach the ovaries, although some studies have demonstrated that inert particles can travel
                                                  through the female genital tract to the fallopian tubes and ovaries (32,33), and others have
                                                  found talc particles in ovarian tissue (34-37). Recent studies have suggested additional potential
                                                  mechanisms for an association between talc and ovarian cancer. Talc particles can induce an
                                                  inflammatory response in vivo, which may be important in ovarian cancer risk (38). Normal
                                                  ovarian cells treated with talc are more likely to undergo cell proliferation and neoplastic
                                                  transformation, and cellular generation of reactive oxygen species increases with increasing
                                                  exposure to talc (11). Recent studies by Cramer and colleagues also support the possibility of
                                                  an immune-mediated mechanism for an association between talc and ovarian cancer and
                                                  suggest that exposure of the lower genital tract to talc may be sufficient to cause changes, such
                                                  as production of heat shock proteins, accumulation of talc in pelvic lymph nodes, or decreased
                                                  levels of anti-MUC1 antibodies, that could increase ovarian cancer risk (39-41).
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                                                  Although no prior studies have examined gene-talc interactions, the indication of a possible
                                                  immune-related mechanism between talc and ovarian carcinogenesis and the evidence for
                                                  gene-asbestos interactions suggest that genes involved in detoxification and inflammatory
                                                  pathways could be important in the response to talc. Previous studies have indicated that
                                                  NAT2 and GSTM1 genotype may modify the association between asbestos exposure and risk
                                                  of malignant mesothelioma; however, not all studies have been consistent (7,8,42,43), and for
                                                  NAT2 the direction of the interaction differed in studies conducted in Finnish and Italian
                                                  populations (7,8,42,44). This suggests that interactions with these genes may be complex and
                                                  might depend on additional factors, such as the presence of other gene variants, the type of
                                                  asbestos, or the level of asbestos exposure (8).

                                                  The GSTM1 and GSTT1 genes produce enzymes that metabolize products of oxidative stress
                                                  and catalyze the detoxification of carcinogens and other xenobiotics (45). The GSTM1 deletion
                                                  and to a lesser extent the GSTT1 deletion may increase the risk of certain cancers; however,
                                                  our study and previous analyses do not support a direct association between the GSTM1 or
                                                  GSTT1 gene deletion and risk of ovarian cancer (13,17,28). While there is some overlap in
                                                  GST substrate specificity, there are also differences in the substrates metabolized by the
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                                                  GSTM1 and GSTT1 enzymes, which could help to explain the opposite direction of the
                                                  interactions we observed between talc use and GSTM1 and GSTT1 genotype (13,17,45). In
                                                  studies of pleural malignant mesothelioma, the GSTM1 null genotype was associated with
                                                  increased risk (7,8,42,43) while the GSTT1 null genotype was unassociated with risk of
                                                  malignant mesothelioma (8,42,43) but was associated with a significant decrease in risk of
                                                  asbestosis in one study (46), providing support that some functions of the GSTM1 and GSTT1
                                                  enzymes may differ. The direction of the associations between the GSTM1 and GSTT1 deletions
                                                  and risk of asbestos-related disease was opposite to the direction of the interactions with talc
                                                  observed in our study; this could potentially be due to differences in the chemical structures
                                                  of talc and asbestos or differences in the by-products produced during the biologic response to
                                                  talc and asbestos. The NAT2 enzyme catalyzes the transfer of an acetyl group to its substrates,
                                                  including carcinogens such as heterocyclic and aromatic amines, which can result in either
                                                  activation or deactivation of these substances (17,20). Approximately 60% of Caucasians have
                                                  two NAT2 slow acetylator alleles and consequently have decreased rates of acetylation, which


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                                                  can either increase or decrease the risk of certain cancers depending on the substrate and the
                                                  cancer site (17,20). To our knowledge, no previous studies have examined the association
                                                  between the NAT2 slow acetylator genotype and ovarian cancer risk. We did not observe strong
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                                                  evidence of a main effect of NAT2 genotype or an interaction between NAT2 genotype and talc
                                                  exposure.

                                                  The novelty of this analysis and the assessment of gene-talc interactions in two independent
                                                  study populations, one with a large number of cases and the other with prospective data on talc
                                                  use and ovarian cancer incidence, are strengths of this study. However, although the pooled
                                                  analysis included a large number of cases and controls, our power was still insufficient to detect
                                                  interactions with certain combinations of genes and for specific histologic subtypes. In
                                                  addition, while both study populations had extensive covariate data, the use of common
                                                  exposure and covariate definitions resulted in the loss of some detail, particularly for the NECC.
                                                  Information on talc use was only collected in 1982 in the NHS, so it is possible that some
                                                  participants were misclassified with respect to their talc use history. However, the number of
                                                  participants who began using talc after 1982, when the participants were between 36 and 61
                                                  years of age, is most likely small. Although we do not have data on age at initiation of talc use
                                                  in the NHS, in the NECC approximately 95% of controls with a history of regular genital talc
                                                  use reported first using talc before age 35. Recall or selection bias may have affected the results
                                                  of the NECC analyses, due to the retrospective study design. However, the consistency of the
                                                  NECC and NHS results suggests that biases related to study design were not a major problem,
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                                                  since, with the exception of the DNA for a subset of the cases, the NHS data were collected
                                                  prospectively. In addition, the exposure definition of genital talc use at least once per week
                                                  may have decreased the influence of recall bias in this analysis, since habitual talc use is likely
                                                  to be recalled more accurately than sporadic use.

                                                  In summary, our findings suggest that variants of the GSTM1 and GSTT1 genes may modify
                                                  the association between genital talc use and risk of total and serous invasive ovarian cancer.
                                                  However, additional research is needed to confirm these findings and to explore potential
                                                  mechanisms for these interactions, particularly for the stronger talc/ovarian cancer association
                                                  among women with the GSTM1 present/GSTT1 null genotype. If confirmed, these findings
                                                  would strengthen the evidence for the carcinogenicity of talc to the ovarian epithelium.

                                 Supplementary Table
                                                  Refer to Web version on PubMed Central for supplementary material.


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                                                                                          NIH-PA Author Manuscript                                                NIH-PA Author Manuscript                                             NIH-PA Author Manuscript
                                                                                                                                                                                            Table 1
                                                                                                                   Characteristics of ovarian cancer cases and controls in the New England Case-Control Study (NECC) and the Nurses' Health Study (NHS)

                                                                                                                                                                                            NECC                                                                   NHS‖
                                                                                            Characteristic
                                                                                                                                                                    Cases                   Controls                P**                    Cases                   Controls                   P**
                                                                                                                                                                                                                                                                                                       Gates et al.




                                                                                            N                                                                       1175                       1202                                         210                       600
                                                                                            Mean value (standard deviation)
                                                                                            Age in years*                                                           51 (13)                   51 (13)              0.37                     62 (8)                    62 (8)                  0.93
                                                                                            Parity among parous women                                              2.5 (1.3)                 2.8 (1.5)            <0.001                  3.0 (1.3)                 3.3 (1.5)                0.007
                                                                                            Duration oral contraceptive use (months)†                               52 (54)                   61 (55)             0.006                    46 (42)                   53 (49)                  0.22
                                                                                            Body mass index (kg/m2)                                               26.3 (6.3)                25.7 (5.5)             0.02                  25.7 (5.0)                25.7 (4.5)                 0.94
                                                                                            Duration PMH use (months)†                                              78 (86)                   74 (71)              0.64                    96 (84)                   85 (68)                  0.18
                                                                                            Duration of lactation (months)‡                                        3.4 (8.6)                5.9 (12.2)            <0.001                  2.9 (2.3)                 3.6 (2.5)                0.002
                                                                                            Percent of study population
                                                                                            Parous                                                                   68                         81                <0.001                     89                        93                     0.05
                                                                                            Ever user of oral contraceptives                                         48                         60                <0.001                     42                        45                     0.57
                                                                                            History of tubal ligation                                                14                         18                0.007                      14                        21                     0.02
                                                                                            Ever user of PMH                                                         17                         20                 0.14                      71                        63                     0.02
                                                                                            Family history of ovarian cancer                                         5.1                        2.8               0.004                      9.1                       3.7                   0.002
                                                                                            Any history of genital talc use                                          29                         24                0.003                      40                        39                     0.79
                                                                                            Regular genital talc use (>=once/week)                                   27                         20                <0.001                     29                        24                     0.15
                                                                                            Daily genital talc use                                                   16                         12                0.006                      18                        13                     0.08
                                                                                            Genotype frequencies, %
                                                                                            GSTM1 null                                                                51                        53                  0.42                     48                        52                    0.36
                                                                                            GSTT1 null                                                                21                        22                  0.85                     19                        21                    0.45
                                                                                            NAT2 slow acetylator§                                                     63                        64                  0.74                     59                        67                    0.05

                                                                                            *
                                                                                                Cases and controls in each study population were matched (NHS) or frequency-matched (NECC) on age
                                                                                                                                                                                                                                                                                                                                                        65998




                                                                                            †
                                                                                             Duration of oral contraceptive use and postmenopausal hormone (PMH) use among ever users
                                                                                            ‡
                                                                                             Total duration among parous women
                                                                                            §
                                                                                                NAT2 acetylation genotype based on analysis of three single nucleotide polymorphisms, I114T, R197Q, and G286E
                                                                                            ‖
                                                                                            In the NHS, duration of lactation was collected in 1986, family history of ovarian cancer was first collected in 1992, and history of genital talc use was collected in 1982; for variables collected on
                                                                                            multiple questionnaires, the value from two cycles (two to four years) prior to the date of diagnosis for each case was used for the case and their matched controls
                                                                                            **
                                                                                                 P-values calculated using proc ttest (continuous variables) or a chi-square test (binary variables)




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                                                                                                                                                                                                                                                                                                                      Case 3:16-md-02738-MAS-RLS Document 9888-8 Filed 05/29/19 Page 18 of 99 PageID:
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                                                                                                                                                                                             Table 2
                                                                                                                   Characteristics of participants in the New England Case-Control Study (NECC) and the Nurses' Health Study (NHS) by history of regular
                                                                                                                   genital talc use (at least once per week)

                                                                                                                                                                                         NECC                                                                     NHS§
                                                                                            Characteristic
                                                                                                                                                         No Regular Talc                                                          No Regular Talc
                                                                                                                                                                                     Regular Talc Use               P‖                                        Regular Talc Use                  P‖
                                                                                                                                                                                                                                                                                                        Gates et al.




                                                                                                                                                              Use                                                                      Use

                                                                                            Mean value (standard deviation)
                                                                                            Age in years                                                       50 (13)                     53 (12)                <0.001                 61 (8)                       62 (8)                   0.64
                                                                                            Parity among parous women                                         2.7 (1.4)                   2.7 (1.4)                0.64                3.2 (1.4)                    3.3 (1.5)                  0.40
                                                                                            Age at first birth among parous women                            25.0 (5.1)                  24.6 (4.9)                0.22               25.0 (3.5)                   24.4 (3.0)                  0.03
                                                                                            Duration oral contraceptive use (months)*                          58 (55)                     54 (54)                 0.24                 53 (49)                      43 (42)                   0.08
                                                                                            Body mass index (kg/m2)                                          25.7 (5.7)                  27.0 (6.4)               <0.001              25.6 (4.6)                   26.2 (4.8)                  0.13
                                                                                            Duration PMH use (months)*                                         75 (74)                     78 (86)                 0.68                 90 (74)                      83 (70)                   0.38
                                                                                            Duration of lactation (months)†                                  4.8 (10.8)                  4.3 (10.3)                0.38                3.5 (2.5)                    3.2 (2.4)                  0.20
                                                                                            Physical activity (hours/week)                                    2.8 (5.0)                   2.4 (3.8)                0.06                3.0 (2.3)                    3.1 (2.4)                  0.61
                                                                                            Percent of study population
                                                                                            Parous                                                              74                           75                    0.75                   93                          92                        0.81
                                                                                            Ever user of oral contraceptives                                    55                           50                    0.03                   44                          44                        0.96
                                                                                            History of tubal ligation                                           16                           16                    0.97                   22                          13                       0.008
                                                                                            Postmenopause                                                       45                           54                   <0.001                  81                          81                        0.86
                                                                                            Ever user of PMH                                                    17                           26                   <0.001                  66                          64                        0.73
                                                                                            Ever smoker                                                         53                           55                    0.35                   57                          47                        0.02
                                                                                            Family history of ovarian cancer                                    3.9                          4.1                   0.82                   4.5                         6.4                       0.31
                                                                                            Genotype frequencies, %
                                                                                            GSTM1 null                                                           52                          52                    0.72                   51                          49                       0.66
                                                                                            GSTT1 null                                                           21                          22                    0.59                   22                          17                       0.15
                                                                                            NAT2 slow acetylator‡                                                63                          66                    0.23                   65                          63                       0.58

                                                                                            *
                                                                                                                                                                                                                                                                                                                                                         65999




                                                                                                Duration of oral contraceptive use and postmenopausal hormone (PMH) use among ever users
                                                                                            †
                                                                                             Total duration among parous women
                                                                                            ‡
                                                                                             NAT2 acetylation genotype based on analysis of three single nucleotide polymorphisms, I114T, R197Q, and G286E
                                                                                            §
                                                                                             In the NHS, duration of lactation was collected in 1986, family history of ovarian cancer was first collected in 1992, and history of genital talc use was collected in 1982; for variables collected on
                                                                                            multiple questionnaires, the value from two cycles (two to four years) prior to the date of diagnosis for each case was used for the case and their matched controls
                                                                                            ‖
                                                                                                P-values calculated using proc ttest (continuous variables) or a chi-square test (binary variables)




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                                                                                                                                                                                                                                                                                                        Page 13
                                                                                                                                                                                                                                                                                                                       Case 3:16-md-02738-MAS-RLS Document 9888-8 Filed 05/29/19 Page 19 of 99 PageID:
                                                                                          NIH-PA Author Manuscript                                           NIH-PA Author Manuscript                                               NIH-PA Author Manuscript
                                                                                                                                                                                       Table 3
                                                                                                               Relative risks (RRs) and 95% confidence intervals (CIs) for the association between genital talc use and ovarian cancer risk in the New
                                                                                                               England Case-Control Study (NECC) and the Nurses' Health Study (NHS)

                                                                                                                                                          NECC†                                                                    NHS†                                             Pooled‡

                                                                                                                                Cases (%)             Ctrls (%)              RR (95% CI)                  Cases (%)           Ctrls (%)              RR (95% CI)                 RR (95% CI)
                                                                                                                                                                                                                                                                                                       Gates et al.




                                                                                            Total epithelial ovarian
                                                                                            cancer:
                                                                                            N*                                     1175                  1202                                                210                  600
                                                                                            Regular genital talc use
                                                                                            (>=once/week)
                                                                                            No                                  859 (73.2)            957 (79.7)               1.00 (ref.)                138 (70.8)          414 (76.0)               1.00 (ref.)                 1.00 (ref.)
                                                                                            Yes                                 314 (26.8)            244 (20.3)            1.40 (1.15, 1.70)              57 (29.2)          131 (24.0)            1.24 (0.83, 1.83)           1.36 (1.14, 1.63)
                                                                                            Frequency of genital talc
                                                                                            use
                                                                                            Never                               832 (70.9)            916 (76.3)               1.00 (ref.)                120 (61.5)          352 (64.6)               1.00 (ref.)                 1.00 (ref.)
                                                                                            <once/week                           27 (2.3)              41 (3.4)             0.72 (0.43, 1.19)               18 (9.2)           62 (11.4)            0.98 (0.54, 1.79)           0.82 (0.55, 1.20)
                                                                                            1-6 times/week                      123 (10.5)             96 (8.0)             1.33 (1.00, 1.79)              22 (11.3)           61 (11.2)            1.01 (0.57, 1.79)           1.26 (0.97, 1.63)
                                                                                            Daily                               191 (16.3)            148 (12.3)            1.41 (1.10, 1.79)              35 (18.0)           70 (12.8)            1.44 (0.88, 2.37)           1.41 (1.14, 1.76)
                                                                                            P-trend§                                                                              0.002                                                                   0.18                       <0.001
                                                                                            Serous invasive ovarian
                                                                                            cancer:
                                                                                            N*                                      450                  1202                                                93                   263
                                                                                            Regular genital talc use
                                                                                            (>=once/week)
                                                                                            No                                  310 (69.0)            957 (79.7)               1.00 (ref.)                60 (68.2)           177 (73.8)               1.00 (ref.)                 1.00 (ref.)
                                                                                            Yes                                 139 (31.0)            244 (20.3)            1.62 (1.26, 2.09)             28 (31.8)            63 (26.3)            1.48 (0.82, 2.68)           1.60 (1.26, 2.02)
                                                                                            Frequency of genital talc
                                                                                            use
                                                                                            Never                               299 (66.6)            916 (76.3)               1.00 (ref.)                54 (61.4)           151 (62.9)               1.00 (ref.)                 1.00 (ref.)
                                                                                                                                                                                                                                                                                                                                                        66000




                                                                                            <once/week                           11 (2.4)              41 (3.4)             0.65 (0.32, 1.33)              6 (6.8)             26 (10.8)            0.79 (0.29, 2.11)           0.70 (0.39, 1.24)
                                                                                            1-6 times/week                       56 (12.5)             96 (8.0)             1.56 (1.08, 2.26)             12 (13.6)            25 (10.4)            1.64 (0.71, 3.79)           1.58 (1.12, 2.21)
                                                                                            Daily                                83 (18.5)            148 (12.3)            1.61 (1.18, 2.20)             16 (18.2)            38 (15.8)            1.34 (0.65, 2.76)           1.56 (1.17, 2.08)
                                                                                            P-trend§                                                                             <0.001                                                                   0.29                       <0.001

                                                                                            *
                                                                                             Frequencies do not add up to total N due to missing data on talc use
                                                                                            †
                                                                                              Unconditional (NECC) and conditional (NHS) logistic regression adjusted for age, study center (NECC only), duration of oral contraceptive use (months), parity (continuous), tubal ligation, body mass
                                                                                            index (kg/m2, continuous), and duration of postmenopausal hormone use (months)
                                                                                            ‡
                                                                                             P-values for tests for heterogeneity comparing the NECC and NHS results were all >0.38




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                                                                                            §
                                                                                             Weighted by the midpoint of each category of genital talc use frequency and calculated using the Wald test
                                                                                                                                                                                                                                                                                                       Page 14
                                                                                                                                                                                                                                                                                                                      Case 3:16-md-02738-MAS-RLS Document 9888-8 Filed 05/29/19 Page 20 of 99 PageID:
                                                                                          NIH-PA Author Manuscript                                           NIH-PA Author Manuscript                                               NIH-PA Author Manuscript
                                                                                                                                                                                       Table 4
                                                                                                               Relative risks (RRs) and 95% confidence intervals (CIs) for the association between GSTM1, GSTT1, and NAT2 genotype and epithelial
                                                                                                               ovarian cancer risk in the New England Case-Control Study (NECC) and the Nurses' Health Study (NHS)

                                                                                                                                                                 NECC†                                                                NHS†                                           Pooled‡

                                                                                                                                        Cases (%)            Ctrls (%)             RR (95% CI)              Cases (%)             Ctrls (%)            RR (95% CI)                RR (95% CI)
                                                                                                                                                                                                                                                                                                       Gates et al.




                                                                                            N*                                             1175                  1202                                           210                  600
                                                                                            GSTM1 genotype
                                                                                            Present                                     573 (49.1)           567 (47.4)              1.00 (ref.)             102 (52.3)           268 (48.5)             1.00 (ref.)                1.00 (ref.)
                                                                                            Null                                        594 (50.9)           628 (52.6)           0.93 (0.79, 1.10)           93 (47.7)           285 (51.5)          0.83 (0.58, 1.17)          0.91 (0.78, 1.06)
                                                                                            GSTT1 genotype
                                                                                            Present                                     919 (78.8)           938 (78.5)              1.00 (ref.)             157 (81.3)           439 (78.8)             1.00 (ref.)                1.00 (ref.)
                                                                                            Null                                        247 (21.2)           257 (21.5)           0.98 (0.80, 1.21)           36 (18.7)           118 (21.2)          0.87 (0.57, 1.33)          0.96 (0.80, 1.16)
                                                                                            NAT2 genotype
                                                                                            Rapid/intermediate acetylator               387 (36.8)           405 (36.1)              1.00 (ref.)              77 (41.0)           182 (33.0)             1.00 (ref.)                1.00 (ref.)
                                                                                            Slow acetylator                             665 (63.2)           717 (63.9)           0.97 (0.81, 1.15)          111 (59.0)           369 (67.0)          0.65 (0.45, 0.95)          0.82 (0.57, 1.20)
                                                                                            Combined GSTM1/GSTT1 genotype
                                                                                            Both present                                445 (38.2)           430 (36.0)              1.00 (ref.)             81 (44.3)            206 (39.2)             1.00 (ref.)                1.00 (ref.)
                                                                                            M1 null, T1 present                         474 (40.7)           508 (42.5)           0.91 (0.76, 1.10)          68 (37.2)            208 (39.5)          0.82 (0.54, 1.22)          0.89 (0.75, 1.06)
                                                                                            M1 present, T1 null                         128 (11.0)           137 (11.5)           0.94 (0.71, 1.24)           17 (9.3)              49 (9.3)          0.98 (0.52, 1.84)          0.94 (0.73, 1.22)
                                                                                            Both null                                   119 (10.2)           120 (10.0)           0.94 (0.70, 1.26)           17 (9.3)             63 (12.0)          0.65 (0.34, 1.24)          0.88 (0.67, 1.15)
                                                                                            Combined GSTM1/NAT2 genotype
                                                                                            GSTM1 present, NAT2 rapid                   195 (18.6)           188 (16.9)              1.00 (ref.)             37 (21.0)             85 (16.4)             1.00 (ref.)                1.00 (ref.)
                                                                                            GSTM1 null, NAT2 rapid                      189 (18.1)           214 (19.2)           0.82 (0.61, 1.09)          35 (19.9)             91 (17.5)          0.96 (0.53, 1.74)          0.84 (0.65, 1.09)
                                                                                            GSTM1 present, NAT2 slow                    315 (30.1)           343 (30.7)           0.86 (0.66, 1.11)          56 (31.8)            161 (31.0)          0.87 (0.51, 1.50)          0.86 (0.68, 1.09)
                                                                                            GSTM1 null, NAT2 slow                       347 (33.2)           371 (33.2)           0.88 (0.68, 1.14)          48 (27.3)            183 (35.2)          0.57 (0.33, 0.98)          0.76 (0.50, 1.14)
                                                                                            Combined GSTT1/NAT2 genotype
                                                                                            GSTT1 present, NAT2 rapid                   296 (28.3)           312 (28.0)              1.00 (ref.)             52 (29.7)            144 (27.5)             1.00 (ref.)                1.00 (ref.)
                                                                                            GSTT1 null, NAT2 rapid                       88 (8.4)             90 (8.1)            1.03 (0.73, 1.45)           17 (9.7)              30 (5.7)          1.55 (0.76, 3.16)          1.11 (0.81, 1.52)
                                                                                            GSTT1 present, NAT2 slow                    519 (49.7)           562 (50.4)           0.97 (0.79, 1.19)          90 (51.4)            270 (51.6)          0.87 (0.57, 1.33)          0.95 (0.79, 1.14)
                                                                                            GSTT1 null, NAT2 slow                       142 (13.6)           152 (13.6)           0.98 (0.74, 1.31)           16 (9.1)             79 (15.1)          0.51 (0.26, 0.99)          0.76 (0.40, 1.43)
                                                                                                                                                                                                                                                                                                                                                        66001




                                                                                            *
                                                                                             Frequencies do not add up to total N due to missing genotype data
                                                                                            †
                                                                                              Unconditional (NECC) and conditional (NHS) logistic regression adjusted for age, study center (NECC only), duration of oral contraceptive use (months), parity (continuous), tubal ligation, body mass
                                                                                            index (kg/m2, continuous), and duration of postmenopausal hormone use (months)
                                                                                            ‡
                                                                                             P-values for tests for heterogeneity comparing the NECC and NHS results were all >0.06




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                                                                                                                                                                                                                                                                                                                      Case 3:16-md-02738-MAS-RLS Document 9888-8 Filed 05/29/19 Page 21 of 99 PageID:
                                                                                          NIH-PA Author Manuscript                                                 NIH-PA Author Manuscript                                             NIH-PA Author Manuscript
                                                                                                                                                                                             Table 5
                                                                                                                Pooled relative risks (RRs) and 95% confidence intervals (CIs) for the association between regular talc use and ovarian cancer risk,
                                                                                                                stratified by genotype, in the New England Case-Control Study (NECC) and the Nurses' Health Study (NHS)*†

                                                                                                                                                                                                                                              Cases and controls in pooled analysis
                                                                                                                                                   All cancers                     Serous invasive cancers
                                                                                                                                                                                                                                All cases                 Serous inv.                    Controls
                                                                                                                                                                                                                                                                                                           Gates et al.




                                                                                                                                              Regular talc use                          Regular talc use                   Regular talc                 Regular talc                Regular talc
                                                                                                                                         No                  Yes                   No                  Yes                No         Yes               No         Yes              No          Yes

                                                                                            Gene/stratum
                                                                                            GSTM1 genotype
                                                                                            Present (+)                               1.0 (ref.)             1.6 (1.2, 2.0)     1.0 (ref.)            2.0 (1.4, 2.8)      480               189        173           90            646              165
                                                                                            Null (-)                                  1.0 (ref.)             1.3 (1.0, 1.6)     1.0 (ref.)            1.4 (1.0, 1.9)      498               179        190           76            690              198
                                                                                            P-interaction§                                            0.13                                     0.08
                                                                                            GSTT1 genotype
                                                                                            Present (+)                               1.0 (ref.)             1.2 (1.0, 1.5)     1.0 (ref.)            1.5 (1.2, 2.0)      785               278        288          129           1035              301
                                                                                            Null (-)                                  1.0 (ref.)             2.1 (1.4, 3.2)     1.0 (ref.)            2.4 (1.4, 4.0)      194                87         71           38            300               67
                                                                                            P-interaction§                                            0.03                                     0.18
                                                                                            NAT2 genotype
                                                                                            Rapid/intermediate acetylator             1.0 (ref.)             1.5 (1.1, 2.0)     1.0 (ref.)            1.9 (1.2, 2.8)      330               128        123           57            459              113
                                                                                            Slow acetylator                           1.0 (ref.)             1.4 (1.1, 1.8)     1.0 (ref.)            1.6 (1.2, 2.1)      552               217        204           96            819              233
                                                                                            P-interaction§                                            0.60                                     0.58
                                                                                            GSTM1/GSTT1 genotype‡
                                                                                            GSTM1+, GSTT1 +                           1.0 (ref.)             1.4 (1.0, 1.8)     1.0 (ref.)            1.7 (1.2, 2.5)      378               142        136           68            479              140
                                                                                            GSTM1-, GSTT1+                            1.0 (ref.)             1.2 (0.9, 1.5)     1.0 (ref.)            1.4 (0.9, 1.9)      400               135        151           60            541              154
                                                                                            GSTM1+, GSTT1-                            1.0 (ref.)             2.8 (1.6, 5.0)     1.0 (ref.)            4.8 (2.1, 11)        98                47         34           22            158               24
                                                                                            GSTM1-, GSTT1-                            1.0 (ref.)             1.6 (0.9, 2.9)     1.0 (ref.)            1.4 (0.6, 3.1)       94                40         36           16            138               41
                                                                                            P-interaction§                                            0.03                                     0.09

                                                                                            *
                                                                                                                                                                                                                                                                                                                                                            66002




                                                                                             NECC: unconditional logistic regression adjusted for age, study center, duration of oral contraceptive use (months), parity (continuous), tubal ligation, body mass index (kg/m2, continuous), and duration
                                                                                            of postmenopausal hormone use (months); NHS: unconditional logistic regression adjusted for age in months, menopausal status at diagnosis (post, pre/dubious), DNA source, duration of oral contraceptive
                                                                                            use (months), parity (continuous), tubal ligation, body mass index (kg/m2, continuous), and duration of postmenopausal hormone use (months)
                                                                                            †
                                                                                             P-values for tests for heterogeneity comparing the NECC and NHS results were all >0.36
                                                                                            ‡
                                                                                             NHS analysis adjusted for age, menopausal status at diagnosis, and DNA source only, to improve stability of estimates
                                                                                            §
                                                                                             P-values for interaction based on likelihood ratio test comparing unconditional logistic regression models with and without gene-talc interaction terms




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                                                                                                                                                                                                                                                                                                                          Case 3:16-md-02738-MAS-RLS Document 9888-8 Filed 05/29/19 Page 22 of 99 PageID:
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                                  66003




                       Exhibit 53
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             American Journal of Epidemiology                                                                                              Vol. 171, No. 1
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Original Contribution

Risk Factors for Epithelial Ovarian Cancer by Histologic Subtype




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          Previous epidemiologic studies suggest that the major histologic subtypes of epithelial ovarian cancer may have
       different risk factor proﬁles; however, no known prospective study has systematically examined differences in risk by
       subtype. The authors used Cox proportional hazards regression, stratiﬁed by histologic subtype and time period, to
       examine the association between ovarian cancer risk factors and incidence of serous invasive, endometrioid, and
       mucinous ovarian cancers in the US Nurses’ Health Study (1976–2006) and Nurses’ Health Study II (1989–2005). For
       each exposure, they calculated P-heterogeneity using a likelihood ratio test comparing models with separate estimates
       for the 3 subtypes versus a single estimate across subtypes. Analysis included 221,866 women and 721 cases with the
       histologies of interest (496 serous invasive, 139 endometrioid, 86 mucinous). In analyses of reproductive/hormonal
       exposures, the associations with age, duration of breastfeeding, age at natural menopause, and duration of estrogen
       use differed signiﬁcantly by subtype (all P-heterogeneity 0.05). The associations with several nonreproductive ex-
       posures also appeared to vary by subtype, but only the association with smoking differed signiﬁcantly (P-heterogeneity ¼
       0.03). Results suggest that associations with several ovarian cancer risk factors vary by subtype, and these differences
       are consistent with known similarities between each major histologic subtype and its normal tissue counterpart.

       adenocarcinoma, mucinous; carcinoma, endometrioid; cystadenocarcinoma, serous; histology; ovarian neoplasms



Abbreviations: AUC, area under the receiver operating characteristic curve; CI, conﬁdence interval; NHS, Nurses’ Health Study;
NHSII, Nurses’ Health Study II; RR, incidence rate ratio.



   Epithelial ovarian cancers often are analyzed as a single                       lished. In addition, most prior studies analyzed each subtype
outcome in epidemiologic studies, despite evidence of dif-                         separately and did not report a statistical test comparing
ferences in their natural history, morphology, and gene/pro-                       results across subtypes. We therefore used polytomous re-
tein expression (1–4). The most common histologic subtypes                         gression models to examine the association between known
of epithelial ovarian cancer each resemble a different normal                      and suspected risk factors for ovarian cancer and incidence
tissue in morphology and gene expression (4, 5), and pre-                          of the serous invasive, endometrioid, and mucinous sub-
vious studies suggest their etiology may differ as well. In                        types in the Nurses’ Health Study (NHS) and Nurses’ Health
a pooled analysis of 10 case-control studies, oral contracep-                      Study II (NHSII).
tive use and parity were inversely associated with all sub-
types, whereas associations with nonreproductive exposures,
particularly body mass index and smoking, differed by sub-                         MATERIALS AND METHODS
type (6). Other studies have reported differences in associa-                      Study population
tions with both reproductive and nonreproductive exposures
for mucinous versus nonmucinous cancers (7–12).                                      The NHS was established in 1976 and the NHSII in 1989
   Although these studies suggest that some associations                           among 121,700 US female registered nurses aged 30–55
differ by subtype, the data are inconsistent (6–10, 13, 14),                       years and 116,430 US female registered nurses aged
and no known comprehensive, prospective analysis of dif-                           25–42 years, respectively. Participants completed an initial
ferences in risk factors by histologic subtype has been pub-                       questionnaire and biennial follow-up questionnaires,

                                                                             45                                       Am J Epidemiol 2010;171:45–53
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providing information on lifestyle factors and disease diag-    women from the analysis. Participants contributed person-
noses. Follow-up is high in both cohorts; we obtained 95.2%     time only for follow-up periods for which data were com-
of the total possible person-years through June 2006 in the     plete. Furthermore, we excluded person-time (0.3% of the
NHS and 93.6% through June 2005 in the NHSII. The               total) when any continuous variable had an outlying value,
Committee on the Use of Human Subjects in Research at           using the generalized extreme studentized deviate many-
Brigham and Women’s Hospital, Boston, Massachusetts,            outlier detection approach (18).
approved both studies.                                             In analyses of reproductive/hormonal exposures, we mod-
                                                                eled age, parity among parous women, duration of breast-
Exposure data                                                   feeding, duration of oral contraceptive use, age at natural
                                                                menopause, and duration of postmenopausal use of un-
   We obtained information on exposures of interest from        opposed estrogens as continuous variables to minimize the
the biennial questionnaires. At baseline, participants re-      number of parameters in the model. We used binary vari-
ported their birth date, age at menarche, and height. We        ables to model menopausal status (postmenopause vs. pre-
requested information on parity, oral contraceptive use,        menopause/perimenopause), cohort (NHS vs. NHSII), and
tubal ligation, hysterectomy/oophorectomy, menopausal           parity, tubal ligation, and hysterectomy without bilateral
status, age at menopause, postmenopausal hormone use,           oophorectomy (yes/no). Because of evidence of a nonlinear
weight, physical activity, smoking status, and family history   association with age, we used a spline with a single knot at
of breast/ovarian cancer on multiple questionnaires during      age 50 years to estimate linear associations with age sepa-
follow-up. In our analysis, we updated values for these co-     rately for women younger than age 50 years versus 50 years




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variates when new data were available and otherwise carried     of age or older.
forward values from the previous cycle. We requested data          In an alternative analysis, we modeled ovulatory years
on total duration of breastfeeding across all pregnancies in    and duration of menopause instead of age, parity, duration
1986 (NHS) and 1993 (NHSII) and on duration of breast-          of oral contraceptive use, and age at natural menopause. We
feeding for each child in 1997 (NHSII only). Information on     calculated ovulatory years as current age (if premenopausal)
frequency of genital talc use was collected in 1982 (NHS        or age at natural menopause minus age at menarche, years of
only).                                                          oral contraceptive use, and parity (1 year per pregnancy),
                                                                and we included a separate variable for total duration of
Identiﬁcation of ovarian cancer cases                           breastfeeding. We calculated duration of menopause as
                                                                current age minus age at natural menopause for postmeno-
   We collected information on new ovarian cancer diag-         pausal women, and we coded premenopausal/perimeno-
noses on each questionnaire. For all reported cases, as well    pausal women as 0. For women with an unknown age at
as deaths due to ovarian cancer identified through family       natural menopause because of hysterectomy before meno-
members, the National Death Index (15, 16), or the US           pause, we excluded person-time after hysterectomy.
Postal Service, we obtained medical records related to the         For the nonreproductive exposures, we modeled body
diagnosis. A gynecologic pathologist (J. H.) blinded to ex-     mass index (weight (kg)/height (m)2) and physical activity
posure status reviewed the medical records to confirm the       (cumulative average metabolic equivalent task-hours/week)
diagnosis, stage, histologic type/subtype, and invasiveness     continuously, regular genital talc use (once/week vs.
(17). Our analysis included cases of epithelial ovarian can-    <once/week) and family history of breast/ovarian cancer
cer (n ¼ 885) and primary peritoneal cancer (n ¼ 39) con-       (yes/no) as binary variables, and smoking status as 2 indi-
firmed by pathology report review and diagnosed between         cator variables for past or current (vs. never) smoking. Met-
baseline and June 2006 (NHS) or 2005 (NHSII).                   abolic equivalent task-hours captures both duration and
                                                                intensity of activity (3 metabolic equivalent task-hours is
Statistical analysis                                            equivalent to walking 2–2.9 mph for 1 hour (1 mile ¼ 1.6
                                                                km)), and cumulative average levels better reflect long-term
   Participants accrued person-time from the return date of     activity and minimize within-person variation. In the NHS,
the baseline questionnaire until the date of ovarian cancer     data on metabolic equivalent task-hours were not available
diagnosis, diagnosis of any other cancer (excluding non-        until 1986; we therefore assigned all participants 0 activity
melanoma skin cancer), bilateral oophorectomy, pelvic           from 1976 to 1986 and secondarily evaluated the association
irradiation, death, or the end of follow-up. At baseline, we    with physical activity with follow-up beginning in 1986.
excluded women with bilateral oophorectomy (NHS:                   We used Cox proportional hazards regression, stratified
n ¼ 7,669; NHSII: n ¼ 2,229), menopause due to pelvic           by time period, to model the incidence rate ratio and 95%
irradiation (NHS: n ¼ 99; NHSII: n ¼ 30), or cancer other       confidence interval of epithelial ovarian cancer for each
than nonmelanoma skin cancer (NHS: n ¼ 3,314; NHSII:            exposure in the NHS and NHSII combined. We then re-
n ¼ 1,050). In addition, we excluded women with missing         stricted the analysis to cases with serous invasive/poorly
data on any exposure of interest except breastfeeding dura-     differentiated, endometrioid, or mucinous histology and
tion, talc use, and family history of ovarian cancer, which     used Cox proportional hazards regression, stratified by type
were not collected at baseline, and age at natural meno-        of outcome and time period, to allow for different associa-
pause, which was missing for women with a hysterectomy          tions by histologic subtype (19). We used data augmenta-
before menopause. We included missing indicators for these      tion, such that each participant had a separate observation
4 exposures in our models to avoid excluding too many           for each subtype. We coded the event variable as 1 (failed) if

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                                                                             Risk of Ovarian Cancer by Histologic Subtype 47


the participant was diagnosed with the histologic subtype          invasive cases were slightly older, had higher parity, and
corresponding to that data row and as 0 otherwise; cases           were more physically active than endometrioid/mucinous
were censored for other subtypes at the time of diagnosis.         cases. Endometrioid cases had a longer mean duration of
    We compared a model that assumed different associa-            estrogen use (NHS only) and a higher mean body mass in-
tions for all exposures by histologic subtype (full model)         dex (NHSII only), were less likely to be parous (NHS only)
with a model with a single estimate across subtypes for            or to have smoked, and were more likely to have a family
one exposure at a time (reduced model). We calculated the          history of breast cancer. Mucinous cases had a shorter mean
P-heterogeneity using a likelihood ratio test, with the degrees    duration of estrogen use (NHS only) and breastfeeding and
of freedom equal to the difference between the numbers of          were less physically active, less likely to have had a hyster-
parameters in the 2 models. Using a stepwise-down approach,        ectomy, and were more likely to have regularly used talc or
we set exposures with a nonsignificant P-heterogeneity to          to currently smoke (NHS only).
have a single estimate across subtypes, so that the final model       The associations with age (P-heterogeneity <0.001), du-
estimated 3 separate associations for exposures that differed      ration of breastfeeding (P-heterogeneity ¼ 0.03), age at nat-
significantly by subtype and a single estimate for all other       ural menopause (P-heterogeneity ¼ 0.05), and duration of
exposures. All P values were 2-sided and were considered           estrogen use (P-heterogeneity ¼ 0.009) differed signifi-
statistically significant if 0.05.                                cantly by subtype, whereas other exposures (e.g., oral contra-
    We evaluated goodness of fit by calculating the area under     ceptive use) exhibited similar associations across the
the receiver operating characteristic curve (AUC) for all          3 subtypes (Table 2). Age among women less than 50 years
cancers and stratified by subtype. For each observation,           was more strongly associated with serous invasive (incidence




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we determined a risk score using parameter estimates from          rate ratio (RR) ¼ 1.15 per year, 95% confidence interval
the model, and we used the risk scores to calculate the            (CI): 1.10, 1.19) and endometrioid (RR ¼ 1.12 per year,
Wilcoxon rank sum test statistic W by 5-year age group t.          95% CI: 1.06, 1.17) tumors than mucinous tumors. Among
We calculated the Mann-Whitney Ut ¼ Wt  mt ðm2t þ 1Þ and          women aged 50 years or older, age was associated with a mod-
                                                                   est increase in risk of serous invasive cancers, was associated
ĥt ¼ mUt nt t , where ĥt is the probability that a random case
                                                                   with a modest decrease in risk of endometrioid tumors, and
has a higher risk score than a random control within age           was unassociated with mucinous cancers. Duration of breast-
group t. We calculated the variance of ĥt under the alterna-      feeding was inversely associated with all 3 subtypes, but the
tive hypothesis (20), and we calculated the overall AUC as         association was strongest for mucinous tumors (RR ¼ 0.43
the weighted average of ĥt across t with weights ¼ 1/var(ĥt ).   per year). Age at natural menopause was positively associated
    We did not have adequate power to examine associations         with the endometrioid subtype only (RR ¼ 1.13 per year,
with clear-cell cancers separately because of the small num-       95% CI: 1.04, 1.22). Duration of estrogen use was associated
ber of cases (n ¼ 48). However, we evaluated differences           with a strong increase in risk of endometrioid cancers
between serous versus nonserous (endometrioid/mucinous/            (RR ¼ 1.87 per 5-year increase, 95% CI: 1.52, 2.31) and
clear-cell) and mucinous versus nonmucinous (serous/endo-          a weaker increase in risk of the other subtypes.
metrioid/clear-cell) cancers. In secondary analyses, we               Although not statistically significant, there was some ev-
examined differences between all 4 subtypes for the repro-         idence of heterogeneity by subtype for parity, tubal ligation,
ductive exposures only.                                            and hysterectomy; the inverse association for oral contra-
                                                                   ceptive use was similar across subtypes. A first birth was
RESULTS                                                            associated with a borderline significant decrease in risk of
                                                                   serous invasive and endometrioid cancers but was unasso-
   Our analysis included 221,866 women with 924 incident           ciated with mucinous tumors. Each additional birth signif-
cases of confirmed epithelial ovarian cancer (NHS: 108,870         icantly decreased risk of the endometrioid subtype only
women and 797 cases; NHSII: 112,996 women and 127                  (RR ¼ 0.85, 95% CI: 0.74, 0.99). In general, tubal ligation
cases). Of the cases of cancer, 496 were serous invasive           and hysterectomy were more strongly inversely associated
(54%), 139 were endometrioid (15%), and 86 were mucin-             with endometrioid and mucinous cancers.
ous (9%). The remaining 203 cases of cancer included 48               In an alternative reproductive model with ovulatory years
clear cell (5% of total), 71 noninvasive serous (8%), 21           and duration of menopause, associations with number of
carcinosarcoma (2%), 17 mixed (2%), and 46 other/un-               ovulatory years (P-heterogeneity ¼ 0.04), duration of men-
known (5%).                                                        opause (P-heterogeneity <0.001), and duration of breast-
   In general, baseline characteristics of cases versus non-       feeding (P-heterogeneity ¼ 0.03) differed significantly by
cases were similar to those expected based on previous             subtype (Table 3). Each 1-year increase in the number of
studies of known risk factors (Table 1). NHSII participants        ovulatory years was associated with a significant 8% in-
were younger than NHS participants and were more likely to         crease in risk of serous invasive and endometrioid tumors
have used oral contraceptives or have had a tubal ligation,        but only a 3% increase in risk of mucinous tumors.
were less likely to be parous or to smoke, were more phys-            Building on the final reproductive model, the associations
ically active, and had lower mean parity but a longer mean         with several nonreproductive exposures appeared to differ
duration of breastfeeding among parous women.                      by subtype, but only smoking differed significantly
   When we compared baseline characteristics of women              (P-heterogeneity ¼ 0.03) (Table 4). Past smoking was as-
subsequently diagnosed with a serous invasive, endome-             sociated with decreased risk of endometrioid tumors (RR ¼
trioid, or mucinous tumor (Table 1), we found that serous          0.59, 95% CI: 0.39, 0.90), whereas past/current smoking

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                                                            Case 3:16-md-02738-MAS-RLS Document 9888-8 Filed 05/29/19 Page 27 of 99 PageID:
                                                                                              66007
                                Table 1. Baseline Characteristics of Epithelial Ovarian Cancer Cases and Noncases Among 108,870 Women in the NHS in 1976 and 112,996 Women in the NHSII in 1989




                                                                                                                                                                                                                                         48
                                                                                                             NHS                                                                               NHSII




                                                                                                                                                                                                                                         Gates et al.
                                                                           Noncases      All Epithelial   Serous Invasive   Endometrioid   Mucinousa     Noncases          All Epithelial   Serous Invasive   Endometrioid   Mucinousa
                                                                         (n 5 108,073)    (n 5 797)          (n 5 451)       (n 5 115)      (n 5 69)   (n 5 112,869)        (n 5 127)          (n 5 45)         (n 5 24)      (n 5 17)

                                 Reproductive/hormonal
                                       characteristics
                                      Mean
                                        Age, years                           42              45                45              44            44             35                 37                38              36            35
                                        Duration of oral contraceptive       47              44                44              36            38             53                 49                39              62            57
                                         use, monthsb
                                        Duration of estrogen use,            34              44                43              75            20             15                  0                 0                0            0
                                         monthsb
                                        Parity among parous                   3.1             3.0               3.2              2.9          2.9            2.1                2.0               2.2              1.8          1.8
                                          women, no.
                                        Duration of breastfeeding,            6               4                 4                4            2             13                  8                11              10             7
                                         monthsc
                                        Ovulatory years, no.d                24              27                28              27            27             17                 20                21              18            17
                                      Percentage of the population
                                        Ever used oral contraceptives        48              38                35              38            43             83                 85                87              83            82
                                        Parous                               94              90                91              82            95             70                 63                67              67            53
                                        Tubal ligation                       13               8                 9                7           10             16                 13                18                4            6
                                        Hysterectomy                         13              14                18              10             6              4                  6                 7                8            0
                                 Other characteristics
                                      Mean
                                        Body mass index, kg/m2               24              24                24              24            23             24                 26                24              29            24
                                        Physical activity,                   13              14                15              13             9             21                 22                25              18            17
                                          MET-hours/weeke
                                      Percentage of the population
                                        Genital talc use >once/weekf         28              29                29              30            40
                                        Past smoker                          23              27                29              17            26             21                 22                23                8           20
                                        Current smoker                       33              31                29              33            44             13                 12                16                8           13
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                                        Family history of                     6               8                 7              12             8              6                 13                20              21             7
                                          breast cancer
                                        Family history of                     3               5                 6                0           19              2                  1                 4                0            0
                                          ovarian cancerg

                                  Abbreviations: MET, metabolic equivalent task; NHS, Nurses’ Health Study; NHSII, Nurses’ Health Study II.
                                  a
                                     Includes borderline and invasive tumors.
                                  b
                                     Among ever users of oral contraceptives or postmenopausal unopposed estrogens; in the NHSII, only 32 women had used unopposed estrogens at baseline.
                                  c
                                     Total duration among parous women in 1986 for the NHS and 1993 for the NHSII.
                                  d
                                     Current age (if premenopausal) or age at natural menopause minus (age at menarche þ duration of oral contraceptive use in years þ parity).
                                  e
                                     Physical activity from 1986 for the NHS and 1989 for the NHSII; 3 MET-hours is equivalent to walking at an average pace of 2.0–2.9 miles/hour for 1 hour (1 mile ¼ 1.6 km).
                                   f
                                     Use among NHS participants only; collected in 1982.
                                  g
                                     First collected in 1992 in the NHS and 1993 in the NHSII.



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                                                                                         Risk of Ovarian Cancer by Histologic Subtype 49


Table 2. Association Between Reproductive/Hormonal Exposures and Risk of Epithelial Ovarian Cancer, by Histologic Subtype, Among
108,870 Women in the NHS From 1976 to 2006 and 112,996 Women in the NHSII From 1989 to 2005a

                                          All Epithelial       Serous Invasive         Endometrioid              Mucinous
                                           (n 5 924)              (n 5 496)             (n 5 139)                (n 5 86)b       P-Heterogeneityc
                                       RR        95% CI       RR       95% CI       RR        95% CI       RR         95% CI

  Age among women <50 years,          1.11     1.09, 1.14    1.15    1.10, 1.19     1.12    1.06, 1.17    1.06      1.00, 1.12       <0.001
    (per 1-year increase)d
  Age among women 50 years,          1.02     1.01, 1.04    1.04    1.02, 1.06     0.97    0.94, 1.00    1.00      0.96, 1.04
    (per 1-year increase)e
  Parousf                             0.71     0.57, 0.89    0.73    0.53, 1.02     0.61    0.37, 1.03    1.17      0.56, 2.47         0.09
  Parity among parous womenf          0.94     0.89, 0.99    1.00    0.94, 1.06     0.85    0.74, 0.99    0.95      0.81, 1.13
  Breastfeeding (per 1-year           0.82     0.74, 0.91    0.84    0.73, 0.96     0.74    0.55, 1.00    0.43      0.25, 0.74         0.03
    increase)g
  Oral contraceptive use              0.84     0.75, 0.93    0.78    0.66, 0.91     0.77    0.58, 1.02    0.84      0.60, 1.17         0.91
    (per 5-year increase)
  Tubal ligation                      0.68     0.56, 0.84    0.83    0.63, 1.09     0.59    0.34, 1.02    0.50      0.25, 1.01         0.26
  Hysterectomy                        0.69     0.52, 0.91    0.86    0.61, 1.20     0.68    0.39, 1.17    0.45      0.20, 0.98         0.20
  Age at natural menopause            1.03     1.00, 1.05    1.02    0.99, 1.06     1.13    1.04, 1.22    1.01      0.93, 1.10         0.05




                                                                                                                                                      Downloaded from http://aje.oxfordjournals.org/ by guest on January 15, 2016
    (per 1-year increase)
  Estrogen use (per                   1.37     1.25, 1.50    1.28    1.14, 1.44     1.87    1.52, 2.31    1.31      0.89, 1.93         0.009
    5-year increase)h

  Abbreviations: CI, conﬁdence interval; NHS, Nurses’ Health Study; NHSII, Nurses’ Health Study II; RR, incidence rate ratio.
  a
     Estimates were adjusted for all variables in the table, plus cohort (NHS or NHSII), menopausal status (postmenopause vs. premenopause/
perimenopause), missing data on breastfeeding duration (yes/no) because of noncompletion of questionnaire, and missing age at natural men-
opause (yes/no) because of hysterectomy prior to menopause.
  b
     Includes borderline and invasive tumors.
  c
     P value from likelihood ratio test comparing, for each covariate, the model with separate estimates for the serous invasive, endometrioid, and
mucinous histologic subtypes with the model with a single estimate across the 3 subtypes.
  d
     RR for each 1-year increase in age prior to age 50 years.
  e
     RR for each 1-year increase in age at age 50 years or older.
   f
     Parous: RR for 1 versus 0 children; parity among parous women: RR for each additional child after the ﬁrst.
  g
     Breastfeeding duration ﬁrst collected in 1986 in the NHS and 1993 in the NHSII.
  h
     Duration of postmenopausal use of unopposed estrogens.




was associated with a nonsignificant increased risk of mu-                  cases (results not shown). In analyses of serous versus non-
cinous cancers. Body mass index was positively associated                   serous cancers, there were significant differences for the
with the endometrioid subtype (RR ¼ 1.18 per 5 kg/m2,                       associations with age, parity, tubal ligation, and duration
95% CI: 1.02, 1.38) but was unassociated with the other                     of breastfeeding but no differences for nonreproductive ex-
subtypes (P-heterogeneity ¼ 0.06). There also were nonsig-                  posures (results not shown). When mucinous cancers were
nificant positive associations between physical activity and                compared with nonmucinous cancers, the associations with
serous invasive cancers and between talc use and mucinous                   only age, duration of breastfeeding, and number of ovula-
tumors. The results for physical activity were unchanged                    tory years differed significantly (results not shown). When
when 1986 was used as the baseline (results not shown).                     we included clear-cell cancers in the reproductive model,
   For the association with all epithelial cancers, the AUC for             the associations with age, parity, duration of estrogen use,
the reproductive model (AUC ¼ 0.624) was slightly higher                    and duration of breastfeeding differed significantly across
than that for the ovulatory years model (AUC ¼ 0.617), in-                  the 4 subtypes (results not shown).
dicating that these models have similar discriminatory abil-
ity (Table 5). The goodness of fit for the reproductive model
was highest for the endometrioid subtype (AUC ¼ 0.714),                     DISCUSSION
intermediate for the mucinous subtype (AUC ¼ 0.678), and
lowest for the serous invasive subtype (AUC ¼ 0.614). Add-                     These results suggest that associations with several ovar-
ing the nonreproductive exposures improved the goodness                     ian cancer risk factors differ by histologic subtype. We ob-
of fit overall and for each subtype. Although the AUC for                   served significant heterogeneity across the serous invasive,
each model was based on a slightly different study popu-                    endometrioid, and mucinous subtypes for associations with
lation, the results were similar when we used the same                      both reproductive and nonreproductive exposures, including
population for all models (results not shown).                              age, duration of breastfeeding, duration of estrogen use, and
   All results were essentially unchanged when we restricted                smoking status. There was some evidence of heterogeneity
analyses to the NHS only or excluded primary peritoneal                     by subtype for several other exposures, including parity and

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Table 3. Association Between Ovulatory Years and Other Reproductive/Hormonal Exposures and Risk of Epithelial Ovarian Cancer, by
Histologic Subtype, Among 107,352 Women in the NHS From 1976 to 2006 and 112,632 Women in the NHSII From 1989 to 2005a,b

                                      All Epithelial        Serous Invasive              Endometrioid               Mucinousc
                                       (n 5 767)               (n 5 397)                  (n 5 118)                  (n 5 80)         P-Heterogeneityd
                                  RR          95% CI       RR         95% CI        RR          95% CI       RR          95% CI

  Ovulatory years (per           1.07       1.05, 1.08    1.08      1.06, 1.10      1.08      1.05, 1.11     1.03       1.00, 1.07          0.04
   1-year increase)e
  Duration of menopause          1.02       1.01, 1.04    1.04      1.02, 1.06      0.96      0.93, 0.99     1.00       0.97, 1.04         <0.001
    (per 1-year increase)
  Breastfeeding (per             0.80       0.71, 0.89    0.85      0.73, 0.98      0.68      0.49, 0.94     0.45       0.27, 0.77          0.03
    1-year increase)f
  Tubal ligation                 0.69       0.55, 0.85    0.86      0.65, 1.16      0.57      0.32, 1.00     0.51       0.25, 1.04          0.21
  Hysterectomy                   0.69       0.52, 0.92    0.77      0.53, 1.13      0.78      0.42, 1.44     0.57       0.23, 1.42          0.81
  Estrogen use (per              1.36       1.13, 1.64    1.45      1.16, 1.81      2.33      1.53, 3.53     0.93       0.38, 2.26          0.08
    5-year increase)g

  Abbreviations: CI, conﬁdence interval; NHS, Nurses’ Health Study; NHSII, Nurses’ Health Study II; RR, incidence rate ratio.
  a
     Estimates were adjusted for all variables in the table, plus cohort (NHS or NHSII), parous (yes/no), menopausal status (postmenopause vs.
premenopause/perimenopause), and missing data on breastfeeding duration (yes/no) because of noncompletion of questionnaire.




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  b
     Model excludes women with missing age at natural menopause because of hysterectomy prior to menopause.
   c
     Includes borderline and invasive tumors.
  d
     P value from likelihood ratio test comparing, for each covariate, the model with separate estimates for the serous invasive, endometrioid, and
mucinous histologic subtypes with the model with a single estimate across the 3 subtypes.
  e
     Current age (if premenopausal) or age at natural menopause minus (age at menarche þ duration of oral contraceptive use in years þ parity).
   f
     Breastfeeding duration ﬁrst collected in 1986 in the NHS and 1993 in the NHSII.
  g
     Duration of postmenopausal use of unopposed estrogens.


body mass index, but these differences were not statistically                    reported a statistical test of differences in risk across sub-
significant.                                                                     types. In a pooled analysis, parity and oral contraceptive use
   Previous epidemiologic studies have reported differences                      were inversely associated with all 4 major subtypes, al-
in the risk factors for each histologic subtype of ovarian                       though parity was most protective for endometrioid and
cancer, although most studies were retrospective and few                         clear-cell tumors, and breastfeeding was inversely

Table 4. Association Between Nonreproductive Exposures and Risk of Epithelial Ovarian Cancer, by Histologic Subtype, Among 108,446
Women in the NHS From 1976 to 2006 and 112,054 Women in the NHSII From 1989 to 2005a

                                    All Epithelial          Serous Invasive           Endometrioid                 Mucinousb
                                     (n 5 876)                 (n 5 468)                (n 5 134)                   (n 5 84)          P-Heterogeneityc
                                 RR           95% CI      RR         95% CI         RR         95% CI       RR           95% CI

  Body mass index (per           1.05       0.98, 1.12    0.97     0.88, 1.07      1.18      1.02, 1.38     0.90       0.72, 1.13           0.06
    5-kg/m2 increase)
  Activity (per 15-MET-          1.05       0.98, 1.13    1.08     0.98, 1.19      0.94      0.76, 1.16     0.82       0.61, 1.10           0.11
    hour/week increase)d
  Talc use (once/week           1.06       0.89, 1.28    1.06     0.84, 1.35      1.06      0.66, 1.69     1.50       0.84, 2.66           0.55
    vs. <once/week)e
  Past smoker                    1.05       0.91, 1.22    1.09     0.89, 1.34      0.59      0.39, 0.90     1.54       0.94, 2.53           0.03
  Current smoker                 1.11       0.92, 1.35    1.14     0.88, 1.49      0.93      0.59, 1.47     1.52       0.85, 2.74
  Family history of              1.29       1.07, 1.56    1.34     1.04, 1.73      1.94      1.24, 3.03     1.42       0.76, 2.63           0.38
    breast cancer
  Family history of              1.75       1.19, 2.57    1.85     1.13, 3.03      0.47      0.07, 3.39     4.50       1.76, 11.51          0.06
    ovarian cancerf

   Abbreviations: CI, conﬁdence interval; MET, metabolic equivalent task; NHS, Nurses’ Health Study; NHSII, Nurses’ Health Study II; RR,
incidence rate ratio.
   a
      Estimates were adjusted for all variables in the table, plus all covariates in the ﬁnal reproductive model (Table 2) and variables for missing data
on talc use or family history of ovarian cancer (yes/no).
   b
      Includes borderline and invasive tumors.
   c
      P value from likelihood ratio test comparing, for each covariate, the model with separate estimates for the serous invasive, endometrioid, and
mucinous histologic subtypes with the model with a single estimate across the 3 subtypes.
   d
      Cumulative average physical activity beginning in 1986 for the NHS and 1989 for the NHSII.
   e
      Information on regular genital talc use available for NHS participants only; collected in 1982.
    f
      Information on family history of ovarian cancer ﬁrst collected in 1992 in the NHS and 1993 in the NHSII.

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                                                                                      Risk of Ovarian Cancer by Histologic Subtype 51


Table 5. AUC for Total Epithelial Ovarian Cancer and Each Histologic Subtype Among Women in the NHS From 1976 to 2006 and the NHSII
From 1989 to 2005

                                              All Epithelial            Serous Invasive          Endometrioid               Mucinousa
                Model
                                         No. of Cases          AUC   No. of Cases    AUC    No. of Cases     AUC      No. of Cases      AUC

 Reproductive (Table 2)                      924           0.624         496        0.614       139         0.714          86           0.678
 Ovulatory years (Table 3)b                  767           0.617         397        0.616       118         0.703          80           0.650
 Reproductive þ nonreproductive              876           0.645         468        0.644       134         0.748          84           0.744
   exposures (Table 4)
 Ovulatory years þ nonreproductive           731           0.643         378        0.652       114         0.746          78           0.719
  exposuresb,c

  Abbreviations: AUC, area under the receiver operating characteristic curve; NHS, Nurses’ Health Study; NHSII, Nurses’ Health Study II.
  a
    Includes borderline and invasive tumors.
  b
    Excludes women with missing age at natural menopause because of hysterectomy prior to menopause.
  c
    Results from this model are not shown.


associated with the serous, endometrioid, and mucinous                     In addition, there are similarities in gene expression between
subtypes but was most protective for mucinous cancers                      each subtype and its corresponding normal tissue (5).




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(6). These results, as well as the pooled associations for                    The risk factor profiles we observed are consistent with
family history, body mass index, and smoking, were consis-                 evidence that each subtype resembles a different normal
tent with our study (6). Tubal ligation was inversely associ-              tissue. For example, parity, duration of breastfeeding, and
ated with serous and clear-cell cancers in the pooled                      smoking were inversely associated with risk of endome-
analysis (6), but other studies have reported inverse associ-              trioid tumors, whereas duration of estrogen use and body
ations for tubal ligation or hysterectomy and risk of endo-                mass index were positively associated with risk. This pattern
metrioid and/or mucinous tumors (8, 13, 14, 21). Age at                    of risk factors is similar to that for endometrial cancer,
menopause was associated with an increased risk of endo-                   which is influenced by estrogens and is positively associated
metrioid tumors in a small study (n ¼ 41 endometrioid                      with hormone-related exposures, most notably obesity and
cases) (22) but not in 2 other studies (7, 23), and estrogen               estrogen use (44). For the mucinous subtype, our results
use was more strongly positively associated with endome-                   suggest that exposure to carcinogens and other chemicals
trioid cancers in some (24–26) but not all (13, 27) previous               (e.g., tobacco smoke or talc) may increase risk, whereas
studies. Three studies of ovulatory years reported a positive              surgical procedures that decrease ovarian exposure to exog-
association with nonmucinous cancers but no association                    enous agents (e.g., tubal ligation or hysterectomy) may be
with the mucinous subtype (9, 10, 14), similar to our study.               protective. Although these results generally are not consis-
   Among the nonreproductive exposures, recent physical                    tent with known risk factors for colon or cervical cancer
activity was inversely associated with risk of all 4 histologic            (45, 46), evidence exists that smoking (47, 48) and exposure
subtypes in one study, although the association was statisti-              to certain chemicals (49–51) may increase risk of these
cally significant for serous cancers only (28). Similarly,                 cancers. The serous invasive subtype was associated with
another study noted inverse associations with risk of serous,              reproductive and hormonal exposures, including parity, du-
endometrioid, and mucinous tumors (29). However, pro-                      ration of oral contraceptive use, and duration of estrogen
spective studies, including ours (30), generally have ob-                  use. Limited data are available on risk factors for fallopian
served null or positive associations (31–33). Several                      tube carcinoma, although parity and tubal ligation appear to
previous studies of genital talc use, including an analysis                be protective (52). Information on the epidemiology of se-
in the NHS (34), observed a stronger positive association                  rous ovarian tumors may be informative for future research
with serous or serous invasive cancers (35–38), although                   of fallopian tube primary carcinomas.
2 studies reported no difference by subtype (39, 40) and 1                    Strengths of our study include the prospective data with
reported a positive association with mucinous tumors (38).                 repeated measures for most exposures and the large com-
Although our results generally are consistent with the exist-              bined study population. In addition, methods used in this
ing literature, apparent differences, such as those for talc               analysis allowed for estimation of separate associations with
use, may be due to the limited number of cases of endome-                  each subtype simultaneously, as well as formal tests for
trioid or mucinous histology.                                              differences across subtypes.
   At one time, it was believed that the majority of epithelial               Although our analysis included a large number of epithe-
ovarian cancers, regardless of histology, arose through trans-             lial cases, we had a limited number of cases with certain
formation of the ovarian surface epithelium. However, grow-                subtypes (e.g., clear-cell and noninvasive serous cancers).
ing evidence suggests a varied origin of these cancers; for                Furthermore, we classified histologic subtype based on a re-
example, high-grade serous carcinomas may arise in the dis-                view of pathology reports rather than a central pathology
tal fallopian tube (41–43). Morphologically, serous tumors                 review or immunostaining. Although this categorization
resemble normal fallopian tube epithelium, endometrioid tu-                likely resulted in some misclassification of histologic sub-
mors resemble normal endometrium, and mucinous tumors                      type, a validation study within the NHS found that histologic
resemble benign intestinal mucosa or cervical epithelium (4).              subtype based on central pathology review corresponded to

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                       Exhibit 54
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   Perineal Powder Use and Risk of Ovarian Cancer
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   Background         Case-control studies have reported an increased risk of ovarian cancer among talc users; however, the only
                      cohort study to date found no association except for an increase in serous invasive ovarian cancers. The purpose
                      of this analysis was to assess perineal powder use and risk of ovarian cancer prospectively in the Women’s Health




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                      Initiative Observational Study cohort.

      Methods         Perineal powder use was assessed at baseline by self-report regarding application to genitals, sanitary napkins,
                      or diaphragms and duration of use. The primary outcome was self-reported ovarian cancer centrally adjudicated
                      by physicians. Cox proportional hazard regression was used to estimate risk, adjusting for covariates, including
                      person-time until diagnosis of ovarian cancer (n = 429), death, loss to follow-up, or September 17, 2012. All statisti-
                      cal tests were two-sided.

        Results       Among 61 576 postmenopausal women, followed for a mean of 12.4 years without a history of cancer or bilateral
                      oophorectomy, 52.6% reported ever using perineal powder. Ever use of perineal powder (hazard ratio [HR]adj =
                      1.06, 95% confidence interval [CI] = 0.87 to 1.28) was not associated with risk of ovarian cancer compared with
                      never use. Individually, ever use of powder on the genitals (HRadj = 1.12, 95% CI = 0.92 to 1.36), sanitary napkins
                      (HRadj = 0.95, 95% CI = 0.76 to 1.20), or diaphragms (HRadj = 0.92, 95% CI = 0.68 to 1.23) was not associated with
                      risk of ovarian cancer compared with never use, nor were there associations with increasing durations of use.
                      Estimates did not differ when stratified by age or tubal ligation status.

    Conclusion        Based on our results, perineal powder use does not appear to influence ovarian cancer risk.

   		                 JNCI J Natl Cancer Inst (2014) 106(9): dju208 doi:10.1093/jnci/dju208



   In 2013, it is estimated that there will be 22 240 new cases of ovarian     of 1.40 (95% confidence interval [CI] = 1.29 to 1.52) for popula-
   cancer and 14 030 ovarian cancer deaths in the United States (US) alone     tion-based case-control, 1.12 (95% CI = 0.92 to 1.36) for hospital
   (1). Since the 1960s, there has been speculation that the use of perineal   based case-control, and 1.35 (95% CI = 1.26 to 1.46) for all case-
   powder is associated with ovarian cancer. In 2006, the International        control studies (2). More recently, a large pooled analysis found
   Agency for Research on Cancer (IARC) reviewed studies examining             that ever use of perineal powder increased epithelial ovarian cancer
   perineal powder use and ovarian cancer and classified talc as a possible    risk by 24% compared with non-use (OR = 1.24, 95% CI = 1.15 to
   carcinogen (2,3). The proportion of US women ever using talc pow-           1.33) (8). Increased risk was associated with invasive serous, endo-
   der on the perineum was estimated in 2001 to be approximately 40%           metrioid, clear cell, and borderline serous subtypes of epithelial
   (4), whereas 52% reported ever use of perineal powder in 1993–1998          ovarian cancer (8). However, when looking at the lifetime number
   within the Women’s Health Initiative (WHI) (5).                             of applications of perineal powder, there was no statistically sig-
       The primary proposed mechanism linking perineal powder                  nificant trend for increasing applications, attributed to difficulty
   use to ovarian cancer is an inflammatory response (6). Talc par-            in recalling details of frequency and duration of perineal powder
   ticulates from perineal application have been shown to migrate              use (8).
   to the ovaries (6), disrupting the surface ovarian epithelial tissue            To date there has only been one prospective study conducted
   leading to entrapment of the talc particles within inclusion cysts          examining perineal powder use and risk of ovarian cancer (9). In
   (7). Furthermore, tubal ligation and/or hysterectomy, which would           the Nurses’ Health Study (NHS) cohort, no overall association was
   eliminate the pathway of talc particulates to the ovaries, are associ-      found between ever use of perineal powder and epithelial ovarian
   ated with reduced ovarian cancer risk (6).                                  cancer (relative risk [RR] = 1.09, 95% CI = 0.86 to 1.37) or serous
       A meta-analysis examining the risk of ovarian cancer among              ovarian cancers (RR = 1.26, 95% CI = 0.94 to 1.69) (9). However,
   ever perineal powder users vs non-users showed odds ratios (ORs)            there was a 40% (95% CI = 1.02 to 1.91) increase in risk for serous


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 invasive ovarian cancer with ever perineal powder use, which com-        and duration was the maximum duration reported of any single
 prises 86% of serous ovarian cancers in this cohort (9).                 area of application, because we could not exclude the possibility
     Limitations of recall bias and misclassification make it difficult   that applications were concurrent. Lastly, all possible combinations
 to determine the true relationship between perineal powder (10),         of the three application areas were assessed.
 a commonly used cosmetic product, and ovarian cancer, a disease
 with poor survival and few known modifiable risk factors. The            Outcome Ascertainment
 prior prospective cohort study, which should not be affected by          Ovarian cancer cases were initially self-reported by participants in
 recall bias, had no information on duration of use limiting inter-       the WHI-OS on annual questionnaires. Medical records, includ-
 pretation. Here we expand on the available evidence by assessing         ing hospital discharge summaries and pathology reports, were
 perineal powder use and risk of ovarian cancer in the Women’s            requested for each self-reported case and adjudicated by a physi-
 Health Initiative Observational Study (WHI-OS). The WHI-OS               cian at the local Clinical Center and then centrally by the WHI’s
 is a large cohort that collected information on several application      Clinical Coordinating Center (11).
 areas of perineal powder use and their respective durations of use.
                                                                          Covariate Ascertainment
                                                                          Potential covariates considered included age, race, education, alco-
 Methods                                                                  hol servings per week, smoking status, metabolic equivalent (MET)
 Study Population                                                         hours per week of recreational physical activity, Body Mass Index
 The WHI-OS enrolled 93 676 women from 40 clinical centers                (BMI), and self-reported family history of ovarian or breast can-




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 across the United States from 1993 to 1998 (11). Women were eli-         cer. Reproductive factors considered were age at menarche, age at
 gible if they were aged 50 to 79 at enrollment, postmenopausal, and      menopause, age at first birth, age at last birth, parity, breastfeeding
 planned to reside in the area for at least three years (11). Women       duration, history of tubal ligation, history of hysterectomy, history
 were excluded from the WHI-OS if they were participating in              of irregular cycles, history of endometriosis, duration of oral con-
 another clinical trial, unlikely to survive three years due to medi-     traceptive use, and duration of postmenopausal hormone use. All
 cal conditions, or had conditions that would interfere with study        covariates were from baseline and were not updated.
 participation (11). Participants completed annual mailed question-
 naires to update information on risk factors and outcomes, includ-       Statistical Analysis
 ing ovarian cancer (11). Written informed consent was obtained           To estimate the association between perineal powder use and
 from participants, and all clinical centers were approved by their       ovarian cancer, proportional hazard regression models were used.
 respective institutional review boards (11). The current analysis        Participants contributed person-time until diagnosis of ovarian
 was approved by the University of Massachusetts, Amherst Human           cancer, death, loss to follow-up, or September 17, 2012, whichever
 Subjects Review Committee.                                               came first. Participants with other cancers were still considered at
    For this analysis, participants were additionally excluded if         risk for ovarian cancer and were not censored at the time of other
 they reported a bilateral oophorectomy or an unknown number              cancer diagnoses. Information on incident oophorectomy during
 of ovaries at baseline (n = 20 960), a history of any cancer at base-    follow-up was not available and thus participants were not cen-
 line except nonmelanoma skin cancer (n = 10 622), or were missing        sored in this analysis. The proportional hazards assumption was
 exposure or follow up information (n = 516). After applying the          tested using weighted Schoenfeld residuals.
 exclusion criteria, 61 576 participants with 429 adjudicated incident        Covariates were included in the adjusted model according to
 ovarian cancer cases remained.                                           purposeful selection, where covariates with Wald P values of .25
                                                                          or less in age-adjusted models were entered into an initial multi-
 Exposure Ascertainment                                                   variable model and then each covariate was subsequently tested
 Perineal powder use was assessed via self-report at baseline.            individually via likelihood ratio tests in order of decreasing Wald P
 Participants were asked, “Have you ever used powder on your pri-         values. Variables that had P values of .10 or less during the backwards
 vate parts (genital areas)?” Those who responded yes further indi-       elimination were kept in the model until a parsimonious model was
 cated the duration of use with the following possible responses:         obtained. Additional variables shown in previous literature (8,9) but
 less than 1 year, 1–4 years, 5–9 years, 10–19 years, or 20 or more       not statistically significant in our population were also included in
 years. For persons that reported ever use of a diaphragm, partici-       the final multivariable model. Lastly, family history of breast cancer
 pants were asked, “Did you ever use powder on your diaphragm?”           and personal history of endometriosis did not change estimates and
 and those who responded yes further indicated duration. The third        were not included in the final multivariable model.
 category evaluated was “Did you ever use powder on a sanitary                Models fitted included the following independent variables:
 napkin or pad?” with those responding yes also reporting dura-           1) combined ever perineal powder use, 2) ever powder use by
 tion. Each area of application variable was assessed dichotomously       application area (ie, applied to genitals, applied to diaphragm, or
 and the duration of use, collapsed into fewer categories because of      applied to sanitary napkins), 3) duration of use by application area,
 small numbers, was assessed categorically as never, 9 years or less,     and 4) application area combinations (ie, genital only, diaphragm
 or 10 or more years. A combined ever perineal powder variable and        only, sanitary napkin only, genital and sanitary napkin, genital and
 duration variable for any powder use was created; where ever use         diaphragm, diaphragm and sanitary napkin, and all three areas
 was defined as report of ever use of any of the three application        of application). For duration models, test for trend was used to
 categories, never was report of never use for all three categories,      evaluate linear trends across duration categories by modeling the

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  categories as a continuous variable in the multivariable regression              Table 1. Characteristics of postmenopausal women according to
  models.                                                                          perineal powder use status (n = 61 285): Women’s Health Initiative
                                                                                   Observational Study, 1993–2012
      Because powder particles may not reach the ovaries due to tubal
  ligation and because previous studies have shown a stronger asso-                                            Never perineal          Ever perineal
  ciation between powder use and ovarian cancer in women without                                                powder use             powder use
  tubal ligation (4), we separately examined women without tubal                   Characteristic, n (%)          n = 29 066             n = 32 219
  ligation. We also stratified by age at baseline, because older women             Race
  may have had more potential for exposure to talc contaminated                      White                        24 006 (82.6)         27 336 (84.8)
  with asbestos. Additionally, associations by ovarian cancer histo-                 Nonwhite                       4991 (17.2)          4811 (14.9)
  logical subtype were evaluated. All analyses were performed using                Body mass index category, kg/m2
                                                                                     <25.0                        13 056 (44.9)         12 461 (38.7)
  Stata v.12.1 (StataCorp, College Station, TX) and two-sided P val-
                                                                                     25.0–29.9                      9734 (33.5)         10 799 (33.5)
  ues of .05 or less were considered statistically significant.                      30.0 +                         5935 (20.4)          8571 (26.6)
                                                                                   Smoking status
                                                                                     Never                        15 347 (52.8)         15 621 (48.5)
  Results                                                                            Past                         11 481 (39.5)         14 339 (44.5)
                                                                                     Current                        1912 (6.6)           1881 (5.8)
  The average age of the participants at baseline was 63.3 years.
                                                                                   Duration of oral contraceptive use, y
  Participants were followed for a mean of 12.4 years; never powder                  Never                        17 877 (61.5)         17 954 (55.7)
  users were followed for a mean of 12.2 years (range = 0.12 to 17.9




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                                                                                     <5                             6241 (21.5)          7858 (24.4)
  years) and ever powder users were followed for a mean of 12.6 years                5 to <10                       2528 (8.7)           3270 (10.2)
  (range = 0.03 to 18.0). The majority of the participants were white                10 to <15                      1650 (5.7)           2125 (6.6)
                                                                                     15+                             760 (2.6)           1005 (3.1)
  (83.7%), had less than a college degree (56.1%), and were over-
                                                                                   Diaphragm use                  10 826 (37.3)         16 353 (50.8)
  weight/obese (57.2%). Approximately half (52.6%) of the popula-                  Tubal ligation                   4929 (17.0)          5901 (18.3)
  tion reported ever use of perineal powder. Ever powder users were                Hysterectomy                     6878 (23.7)          8285 (25.7)
  heavier (27.5 kg/m2 vs 26.5 kg/m2, P < .0001) and were more likely               Family history of ovarian         606 (2.1)             660 (2.1)
  to have used oral contraceptives (44% vs 36%, P < .0001) and/or                    cancer
                                                                                   Parity
  diaphragms (50.8% vs 37.3 %, P < .0001) than never users (Table 1).
                                                                                     0                              3687 (12.7)          3769 (11.7)
      Use of powder on the genitals was associated with a 12%                        1–2                            9773 (33.6)         11 585 (36.0)
  increase in the multivariable-adjusted hazard ratio of ovarian cancer              3–4                           11 101 (38.2)        12 609 (39.1)
  (HRadj = 1.12, 95% CI = 0.92 to 1.36), though this was not statistically           5+                             4365 (15.0)          4098 (12.7)
  significant (Table 2). Use of powder on sanitary napkins (HRadj = 0.95,          Age at last birth, y
                                                                                     Never had term                 6219 (21.4)          6260 (19.4)
  95% CI = 0.76 to 1.20) or diaphragms (HRadj = 0.92, 95% CI = 0.68
                                                                                     pregnancy
  to 1.23) also was not associated with risk. Duration of powder use on              < 20                            210 (0.7)             324 (1.0)
  the genitals, sanitary napkins, or on the diaphragm was not associated             20–29                          9143 (31.5)         11480 (35.6)
  with ovarian cancer; Ptrend for years of use: .67, .69, and .67 respectively.      30+                          13 011 (44.8)         13 668 (42.4)
  Combined ever powder use from any of the three application areas                 Duration of postmenopausal hormone use, y
                                                                                     Never                        13 381 (46.0)         13 880 (43.1)
  did not show an association with ovarian cancer risk (HRadj = 1.06,
                                                                                     <5                             6498 (22.4)          7546 (23.4)
  95% CI = 0.87 to 1.28). For combined duration of use, which was the                5 to <10                       3783 (13.0)          4567 (14.2)
  longest duration of use among the three areas of application, there                10 to <15                      2688 (9.3)           3128 (9.7)
  was no evidence of an association with risk of ovarian cancer [Ptrend for          15+                            2716 (9.3)           3097 (9.6)
  years of use: .77]. Use of powder on genitals, the most common appli-
  cation area, for 20 or more years was not associated with increased              50 to 59 years = 1.29, 95% CI = 0.91 to 1.82; HRadj for those 60 to
  risk of ovarian cancer compared with never users (HRadj = 1.10, 95%              69 years = 0.94, 95% CI = 0.70 to 1.26; and HRadj for those 70 to
  CI = 0.82 to 1.48). In a sensitivity analysis, invasive serous ovarian           79 years = 1.01, 95% CI = 0.68 to 1.48. When restricted to only
  cancer risk was not increased (HRadj = 0.96, 95% CI = 0.65 to 1.41),             whites or to those who had never used oral contraceptives, results
  even in women reporting durations of use greater than 10 years.                  were again unchanged.
      There was no evidence of an association between perineal pow-
  der use and ovarian cancer risk by category of application (Table 3).
  Combined ever powder use was not associated with individual                      Discussion
  subtypes of ovarian cancer (Table 4). The multivariable-adjusted                 In this large prospective study, ever perineal powder use was not
  hazard ratio for serous ovarian cancer was 1.16 (95% CI = 0.88                   associated with ovarian cancer risk, nor was it associated with ovar-
  to 1.53). Additionally, duration of combined ever powder use was                 ian cancer when assessed by area of application, duration of use,
  also not shown to be associated with any subtype of ovarian cancer               or ovarian cancer subtype. While many case-control studies have
  (results not shown).                                                             shown an approximately 24–40% increase in risk of ovarian cancer
      The associations of combined ever powder use and ovarian can-                (2,8) for powder users, we did not find evidence of this association
  cer did not statistically differ by tubal ligation status (results not           in our large, prospective analysis.
  shown). When stratified by age group at baseline, hazard estimates                  The meta-analysis of 20 case-control studies by Langseth and
  also did not statistically differ (Pinteraction = .37); HRadj for younger than   colleagues found a 35% increase in the odds of epithelial ovarian

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 Table 2. Age and multivariable-adjusted hazard ratios of ovarian cancer by area of perineal powder application (n = 61 576): Women’s
 Health Initiative Observational Study, 1993–2012

                                                                                    Age-adjusted HR                                 Multivariable HR*
 Variable                         No. of cases            Person-years                   (95% CI)                 Ptrend †               (95% CI)                 Ptrend †
 Powder use on genitals
   Never                        247                        457 855                  1.0 (referent)                .63               1.0 (referent)                .67
   Ever‡                        181                        304 867                  1.13 (0.93 to 1.37)                             1.12 (0.92 to 1.36)
   Less than 9 years            112                        173 118                  1.24 (0.99 to 1.55)                             1.23 (0.98 to 1.54)
   10 or more years              68                        129 647                  0.98 (0.75 to 1.29)                             0.98 (0.75 to 1.29)
 Powder use on sanitary napkins
   Never                        336                        590 351                  1.0 (referent)                .70               1.0 (referent)                .69
   Ever‡                         93                        172 712                  0.96 (0.76 to 1.21)                             0.95 (0.76 to 1.20)
   Less than 9 years             62                        114 305                  0.98 (0.75 to 1.28)                             0.96 (0.73 to 1.26)
   10 or more years              30                         56 174                  0.93 (0.64 to 1.35)                             0.95 (0.65 to 1.37)
 Powder use on diaphragm
   Never                        373                        661 239                  1.0 (referent)                .78               1.0 (referent)                .67
   Ever‡                         52                         97 714                  0.94 (0.70 to 1.25)                             0.92 (0.68 to 1.23)
   Less than 9 years             35                         67 468                  0.93 (0.66 to 1.32)                             0.91 (0.64 to 1.30)
   10 or more years              17                         29 202                  0.99 (0.61 to 1.60)                             0.95 (0.58 to 1.56)




                                                                                                                                                                             Downloaded from http://jnci.oxfordjournals.org/ by Tram Nguyen on October 13, 2014
 Combined ever powder use§
   Never                        197                        361 583                  1.0 (referent)                .67               1.0 (referent)                .77
   Ever‡                        232                        404 983                  1.07 (0.89 to 1.30)                             1.06 (0.87 to 1.28)
   Less than 9 years            135                        228 931                  1.12 (0.90 to 1.39)                             1.09 (0.88 to 1.36)
   10 or more years              97                        173 307                  1.03 (0.81 to 1.31)                             1.02 (0.80 to 1.30)

 * Adjusted for: Age (continuous), race (white, nonwhite, missing), oral contraceptive duration in years (never, <5, 5 to <10, 10 to <15, 15+, missing), hormone
   replacement therapy duration in years (never, <5, 5 to <10, 10 to <15, 15+, missing), family history (yes, no, missing), age (y) at last birth (never, <20, 20 to <30,
   30+, missing), body mass index in kg/m2 (<25.0, 25.0 to <30.0, 30.0+, missing), smoking (never, past, current, missing), tubal ligation (yes, no, missing), and parity
   (0, 1 to 2, 3 to 4, 5+, children, missing).
 † Hazard ratios (HRs) and 95% confidence intervals (CIs) were estimated in cox proportional hazard regression models; Ptrend was estimated by modeling categories
   as continuous. All statistical tests were two-sided.
 ‡ Person-years may not add up; duration information was missing for some.
 § Combined ever powder use is the longest duration of use among the applications to genitals, sanitary napkins, and diaphragms.


 Table 3. Age and multivariable-adjusted hazard ratios for ovarian cancer by combined categories of powder use (n = 61 576): Women’s
 Health Initiative Observational Study, 1993–2012

                                                                                                                     Age-adjusted HR*                Multivariable HR*
 Variable                                                           No. of cases            Person-years                     (95% CI)                      (95% CI)
 Powder Type Used
   No powder                                                             193                    355 523              1.0 (referent)                  1.0 (referent)
   Only genital powder                                                    96                    158 130              1.14 (0.90 to 1.46)             1.13 (0.88 to 1.45)
   Only diaphragm powder                                                  19                     42 367              0.82 (0.51 to 1.32)             0.80 (0.50 to 1.29)
   Only sanitary napkin powder                                            28                     50 051              1.04 (0.70 to 1.54)             1.01 (0.68 to 1.50)
   Genital and sanitary napkin powder                                     55                     96 173              1.09 (0.80 to 1.47)             1.08 (0.80 to 1.46)
   Genital and diaphragm powder                                           24                     29 858              1.49 (0.98 to 2.28)             1.45 (0.95 to 2.23)
   Diaphragm and sanitary napkin powder                                    4                      6858               1.06 (0.40 to 2.86)             1.02 (0.38 to 2.74)
   Genital, diaphragm, and sanitary napkin powder                          5                     18 331              0.51 (0.21 to 1.24)             0.50 (0.21 to 1.22)

 * Hazard ratios (HRs) and 95% confidence intervals (CIs) were estimated in cox proportional hazard regression models. All statistical tests were two-sided.
   Multivariable HR adjusted for: age (continuous), race (white, nonwhite, missing), oral contraceptive duration in years (never, <5, 5 to <10, 10 to <15, 15+, missing),
   hormone replacement therapy duration in years (never, <5, 5 to <10, 10 to <15, 15+, missing), family history (yes, no, missing), age (y) at last birth (never, <20, 20
   to <30, 30+, missing), body mass index in kg/m2 (<25.0, 25.0 to <30.0, 30.0+, missing), smoking (never, past, current, missing), tubal ligation (yes, no, missing),
   and parity (0, 1 to 2, 3 to 4, 5+, children missing).


 cancer among ever perineal powder users compared to never-users                       of perineal powder use, though they were able to capture both fre-
 (2), and the pooled analysis of eight case-control studies by Terry and               quency and duration (8), whereas we only had duration. Terry and
 colleagues found a 24% increase in the same group (8). Langseth and                   colleagues found elevated risks for invasive serous, borderline serous,
 colleagues did not assess dose-response or risk among subtypes of                     endometrioid, and clear cell subtypes of ovarian cancer (8), which
 ovarian cancer (2). Terry and colleagues assessed lifetime applications               we did not observe. One potential reason that case-control studies
 of perineal powder and found no statistically significant trend with                  have found slight increases in risk is the potential for an overestima-
 increasing lifetime applications (8). This corroborates our results                   tion of the true association due to recall bias, because the partici-
 that there was no statistically significant risk with increasing duration             pants are aware of their ovarian cancer status when reporting powder



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  Table 4. Age and multivariable-adjusted hazard ratios for combined ever powder use by subtype of ovarian cancer (n = 61 576): Women’s
  Health Initiative Observational Study, 1993–2012

                                                                                                             Age-adjusted HR*                             Multivariable HR*
  Variable                        No. of cases                         Person-years                                (95% CI)                                     (95% CI)
  Serous†
    Never                               87                                355 523                            1.0 (referent)                               1.0 (referent)
    Ever                               117                                404 983                            1.18 (0.89 to 1.56)                          1.16 (0.88 to 1.53)
  Serous Invasive
    Never                               80                                355 523                            1.0 (referent)                               1.0 (referent)
    Ever                               105                                404 983                            1.16 (0.87 to 1.55)                          1.13 (0.84 to 1.51)
  Mucinous
    Never                                12                               355 523                            1.0 (referent)                               1.0 (referent)
    Ever                                 13                               404 983                            0.98 (0.44 to 2.14)                          1.03 (0.47 to 2.27)
  Endometrioid
    Never                               13                                355 523                            1.0 (referent)                               1.0 (referent)
    Ever                                20                                404 983                            1.39 (0.69 to 2.79)                          1.29 (0.64 to 2.61)
  Other
    Never                               47                                355 523                            1.0 (referent)                               1.0 (referent)
    Ever                                54                                404 983                            1.04 (0.71 to 1.54)                          1.04 (0.70 to 1.54)




                                                                                                                                                                                    Downloaded from http://jnci.oxfordjournals.org/ by Tram Nguyen on October 13, 2014
  * Hazard ratios (HRs) and 95% confidence intervals (CIs) were estimated in cox proportional hazard regression models. All statistical tests were two-sided. Multivariable
    HR adjusted for: age (continuous), race (white, nonwhite, missing), oral contraceptive duration in years (never, <5, 5 to <10, 10 to <15, 15+, missing), hormone
    replacement therapy duration in years (never, <5, 5 to <10, 10 to <15, 15+, missing), family history (yes, no, missing), age (y) at last birth (never, <20, 20 to <30, 30+,
    missing), body mass index in kg/m2 (<25.0, 25.0 to <30.0, 30.0+, missing), smoking (never, past, current, missing), tubal ligation (yes, no, missing), and parity (0, 1 to 2,
    3 to 4, 5+, children missing).
  † Includes borderline cancers.


  exposure. The prospective nature of our study would eliminate the                        eliminates recall bias, it does not eliminate potential for nondif-
  potential for recall bias. Additionally, the case-control studies tended                 ferential misclassification of the exposure. Women still needed to
  to have a younger population than our study, which included both                         recall past perineal powder use and duration and thus may have
  premenopausal and postmenopausal ovarian cancers (2,8), whereas                          trouble recollecting specifics regarding the use of perineal powder,
  the WHI cohort consisted only of postmenopausal ovarian cancers.                         leading to a bias toward the null. Information regarding powder
  Ovarian cancer that occurs prior to menopause may have a different                       use was not collected after baseline, and there is potential for never
  etiology than ovarian cancer occurring afterwards.                                       users to begin using powder; however, this is unlikely because the
      We found similar results to that of the NHS, the only other                          women are postmenopausal, reducing need to use perineal powder
  prospective cohort, which had a similar sample size and number                           on diaphragms or sanitary napkins. We also had no specific data
  of ovarian cancer cases to our study. Ever use of perineal powder                        regarding the frequency of powder use in our sample. Frequency of
  did not appear to be associated with ovarian cancer in the NHS (9),                      use, as well as duration may influence ovarian cancer risk. We may
  similar to our findings. The results of Gertig and colleagues were                       have been comparing long-term infrequent users with short-term
  also null for use on the genitals and for use on sanitary napkins (9).                   frequent users. If we had frequency of use in addition to the dura-
  Additionally, neither our study nor the NHS found associations with                      tion, we could have looked at intensity of use, which may be more
  serous ovarian cancer, endometrioid, or mucinous ovarian cancers,                        accurate, and shown a dose response relationship. However, Terry
  although subgroup sample size may have reduced statistical power to                      and colleagues did not find a dose response relationship either
  test these associations. In contrast to our results, the study by Gertig                 when taking into account frequency and duration (8).
  and colleagues found a 40% increase in invasive serous ovarian can-                          When restricted to women without tubal ligation status, the
  cer among ever powder users compared with never powder users (9).                        estimates for the association between combined ever perineal pow-
      Strengths of our study included large sample size with a substan-                    der use and ovarian cancer were not increased. While some studies
  tial number of ovarian cancer cases, a prospective cohort design,                        have found stronger associations between powder use and ovarian
  good case ascertainment, and detailed information on most ovarian                        cancer in women that have not undergone a tubal ligation (4), the
  cancer risk factors. We also had information on duration of powder                       results from our study did not support this previous finding. The
  use, qualifiers not available in several earlier studies, including the                  pooled analysis (8) and the NHS cohort (9) also did not find evi-
  previous cohort study (2,8,9).                                                           dence of stronger associations in women without tubal ligations.
      One potential limitation of our analyses includes a lack of infor-                       While we had information on duration of use, it is unknown
  mation regarding oophorectomy after baseline, which would result                         during which years the perineal powder was used. Talc powder
  in the inclusion of some women not at risk for ovarian cancer in                         had potential for asbestos contamination (13) until 1976, when the
  the analytical cohort. However, the impact was likely to be minor,                       Cosmetic, Toiletry, and Fragrance Association required all cosmetic
  as a previous study in the WHI-OS had reported the number of                             talc products to be free of asbestos (14). Therefore, those using
  persons with incident bilateral oophorectomies to be less than 250                       powder prior to 1976 may have been potentially exposed to asbes-
  (out of more than 90 000 participants) during nearly eight years of                      tos, a known carcinogen. The pooled analysis and meta-analysis
  follow-up (12). While the prospective nature of the study design                         also included case-control studies not within the United States


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 (2,8), which potentially have different regulations regarding per-                       characteristics of participants and reliability of baseline measures. Ann
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 include exposure to contaminated perineal powder (2). However,
                                                                                          conservation with hysterectomy: cardiovascular disease, hip fracture, and
 risk estimates in more recent studies are similar to earlier studies                     cancer in the Women’s Health Initiative Observational Study. Archives of
 (2), reducing the likelihood that confounding by asbestos is driv-                       Internal Medicine. 2011;171(8):760–768.
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 could have been exposed longer to perineal powder with potential                         ders: mineral and chemical characterization. J Toxicol Environ Health.
                                                                                          1976;2(2):255–284.
 contamination compared with younger women, we did not see sta-
                                                                                      14. Cosmetic Ingredient Review. Safety Assessment of Talc as Used in
 tistically significant differences in risk when stratified by age group,                 Cosmetics [updated April 12, 2013]. Available at: http://www.cir-safety.
 further suggesting asbestos contamination is not a likely explanation.                   org/sites/default/files/talc032013rep.pdf. Accessed September 5, 2013.
     The WHI-OS queried general perineal powder use rather
 than talc powder use, and we had no specific information regard-                    Funding
 ing the content of talc in products used, which the previous                        The WHI programs is funded by the National Heart, Lung, and Blood
                                                                                     Institute, National Institutes of Health, US Department of Health and Human
 literature reviewed by IARC suggested to be the possible car-
                                                                                     Services through contracts HHSN268201100046C, HHSN268201100001C,
 cinogen of concern (2). However, the NHS cohort and most                            HHSN268201100002C, HHSN268201100003C, HHSN268201100004C.
 studies included within the pooled analyses asked about general
 perineal powder use as well (2,8,9). In summary, perineal powder                    Notes
 use did not appear to be associated with ovarian cancer risk in




                                                                                                                                                                      Downloaded from http://jnci.oxfordjournals.org/ by Tram Nguyen on October 13, 2014
                                                                                       WHI Investigators:
 this large sample of postmenopausal women, even with use for                          Program Office: (National Heart, Lung, and Blood Institute, Bethesda, MD)
 long durations.                                                                     Jacques Rossouw, Shari Ludlam, Dale Burwen, Joan McGowan, Leslie Ford, and
                                                                                     Nancy Geller.
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                       Exhibit 55
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                        Douching, Talc Use, and Risk of Ovarian Cancer
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                        Abstract
                             Background—Douching was recently reported to be associated with elevated levels of urinary
                             metabolites of endocrine disrupting phthalates, but there is no literature on douching in relation to
                             ovarian cancer. Numerous case-control studies of genital talc use have reported an increased risk
                             of ovarian cancer, but prospective cohort studies have not uniformly confirmed this association.
                             Behavioral correlation between talc use and douching could produce confounding.

                             Methods—The Sister Study (2003–2009) enrolled and followed 50,884 women in the US and
                             Puerto Rico who had a sister diagnosed with breast cancer. At baseline participants were asked
                             about douching and talc use during the previous 12 months. During follow-up (median of 6.6
                             years) 154 participants reported a diagnosis of ovarian cancer. We computed adjusted hazard ratios
                             (HR) and 95% confidence intervals (CI) for ovarian cancer risk using the Cox proportional hazards
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                             model.

                             Results—There was little association between baseline perineal talc use and subsequent ovarian
                             cancer (HR: 0.73 CI: 0.44, 1.2). Douching was more common among talc users (OR: 2.1 CI: 2.0,
                             2.3), and douching at baseline was associated with increased subsequent risk of ovarian cancer
                             (HR: 1.9 CI: 1.2, 2.8).

                             Conclusions—Douching but not talc use was associated with increased risk of ovarian cancer in
                             the Sister Study.

                        Keywords
                             ovarian cancer; talc; douching; phthalates
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                        Introduction
                                         Cancer of the ovary is the most lethal gynecological cancer in women, and its etiologies
                                         remain poorly understood. In 2015, there were an estimated 21,290 new cases and 14,180
                                         ovarian cancer deaths among women in the United States (1). Family history of ovarian or
                                         breast cancer is a major risk factor. Nulliparity is also associated with increased risk of



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                                        ovarian cancer, whereas tubal ligation and oral contraceptive use are reportedly associated
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                                        with reduced risk (2).

                                        Genital talc use and douching could plausibly introduce particles and toxicants into the
                                        upper reproductive tract and increase the risk of cancers and infections. Talc particles have
                                        been found embedded in cervical and ovarian tumors (3). Some douching products are
                                        known to contain phthalates, which disrupt endocrine pathways and could influence ovarian
                                        cancer risk through hormone disruption (4). A recent analysis of data from the National
                                        Health and Nutrition Examination Survey found an association between douching and
                                        urinary concentrations of phthalates (5). Douching has also been associated with adverse
                                        health effects and reproductive problems such as pelvic inflammatory disease and ectopic
                                        pregnancy (6), as well as decreased fertility (7).

                                        To the best of our knowledge, no existing studies have investigated the association between
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                                        douching and ovarian cancer, but talc use was associated with ovarian cancer in many case-
                                        control studies (8–13). A meta-analysis of 14 population-based, case-control studies (14)
                                        and a large, pooled case-control analysis (15) both reported positive associations between
                                        genital talc use (ever vs. never) and ovarian cancer. The only prospective studies to examine
                                        talc and ovarian cancer (16, 17) found no strong associations overall, but one observed
                                        increased risk for invasive serous ovarian cancer, specifically (17). In this study we
                                        investigate the association between ovarian cancer and both douching and talc use, using
                                        prospective data from the Sister Study cohort.


                         Methods
                                        The Sister Study, launched in 2003, enrolled 50,884 women across the United States and
                                        Puerto Rico. Enrollees were aged 35 to 74 years and had never had breast cancer but each
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                                        had a full or half-sister who had been diagnosed with breast cancer. More than one sister per
                                        family could participate.

                                        After excluding participants who had bilateral oophorectomies (N=9,023) or ovarian cancer
                                        (N=167) prior to enrollment or who had no follow-up information (N=40), we included
                                        41,654 participants in this analysis. As of July 2014 (median follow-up 6.5 years), 154
                                        incident ovarian cancer cases had occurred. We included tumors of the ovary (N=135),
                                        fallopian tubes (N=7), peritoneum (N=4), or of uncertain origin but likely from one of the
                                        three aforementioned primary sites (N=8). The Institutional Review Boards of the National
                                        Institute of Environmental Health Sciences and the Copernicus Group approved this study
                                        and all participants provided written consent.
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                                        Participants completed computer-assisted telephone interviews, which included questions
                                        about reproductive history (including any oophorectomies), health conditions, and lifestyle
                                        factors. Participants also completed a self-administered questionnaire about personal care
                                        products used in the 12 months prior to enrollment, which included questions about
                                        frequency of douching and about genital talc use in the form of powder or spray applied to a
                                        sanitary napkin, underwear, diaphragm, cervical cap, or vaginal area. Response categories
                                        were: did not use, used less than once a month, used 1–3 times per month, 1–5 times per



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                                        week, or more than 5 times per week. Because most members of the cohort reported not
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                                        douching and not using talc, we used dichotomous use/nonuse variables for analysis.

                                        Updated information on oophorectomies was collected in follow-up questionnaires
                                        administered every 2–3 years. We ascertained information on any new cancers via an annual
                                        health update and the follow-up questionnaires and were able to confirm 96 of the ovarian
                                        cancer cases using medical records (N=87) or death certificate/National Death Index data
                                        (N=9). For the remaining 58 cases, we relied on information provided by the participant
                                        herself (N=52) or her next of kin (N=6). Among women with available medical records who
                                        self-reported ovarian cancer, 90% were confirmed.

                                        There were five eligible cases with an unknown exact age at diagnosis. For them, we
                                        imputed an age midway between their last ovarian cancer-free follow-up interview and their
                                        age at the time we were notified of the diagnosis (or death). Although we did not genotype
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                                        women directly for BRCA1 or BRCA2 mutations, we asked each woman in her baseline
                                        interview whether she had ever been tested and, if so, what the result of those tests were. For
                                        the purposes of this analysis, a woman was treated as BRCA1/2 mutation positive if 1) she
                                        had a positive test or 2) she had a sister with a known positive test and she had no known
                                        negative test.

                         Statistical Analyses
                                        We computed adjusted hazard ratios (HR) and 95% confidence intervals (CI) for the
                                        association of talc use and douching with ovarian cancer risk using Cox proportional hazards
                                        models, with age as the primary time scale. Follow-up lasted from age at baseline until age
                                        at diagnosis of ovarian cancer. Follow-up time was censored at their age of bilateral
                                        oophorectomy after baseline, death, or last contact. Because some participants had sisters
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                                        who also enrolled in the cohort, we used generalized estimating equation methods to
                                        calculate robust variances to account for family clustering. We evaluated proportionality
                                        assumptions of the Cox model by assessing the improvement in goodness-of-fit provided by
                                        including an age-by-factor interaction term.

                                        In addition to the main effect, we evaluated the joint effect of both douching and using talc.
                                        We classified participants into four categories: neither exposure, talc use exclusively,
                                        douching exclusively, or both exposures. We also carried out a number of stratified analyses.
                                        We stratified by reproductive factors such as menopausal status, parity, hysterectomy, and
                                        tubal ligation to explore possible effect modification (10, 13). We tested for differences
                                        across strata using the p-value for an exposure-by-modifier interaction term.

                                        We selected potential confounders or effect modifiers of the association between ovarian
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                                        cancer and the exposures of interest in this analysis a priori based on assumed causal
                                        relationships among the covariates (18), and included: patency (yes/no blockage of
                                        reproductive tract by tubal ligation or hysterectomy), menopausal status (pre- or
                                        postmenopausal), duration of oral contraceptive use (none, <2 years, 2–<10 years, 10 or
                                        more years), parity (yes/no), race (non-Hispanic white, non-Hispanic black, Hispanic or
                                        other), and body mass index (BMI; <25, 25–29.9, or >30 kg/m2), all of which were fixed at
                                        baseline levels.


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                                        We conducted six sensitivity analyses. In the first, we restricted to the 96 cases confirmed by
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                                        medical record or death certificate/National Death Index data. For our second sensitivity
                                        analysis we looked for evidence of etiologic heterogeneity by further restricting this pool to
                                        medically confirmed cases with serous ovarian cancer (N=49). For our third sensitivity
                                        analysis, we included all 154 eligible ovarian cancer cases as well as 5 additional cases that
                                        had unknown ages at diagnosis and pre-baseline oophorectomies (N=159 cases total). We
                                        did this to examine the influence of our assumptions about the relative timing of their
                                        oophorectomies versus their ovarian cancer diagnoses. We further examined the influence of
                                        imputing age at diagnosis in our fourth sensitivity analysis by excluding the 5 cases with
                                        imputed diagnosis ages but intact ovaries (N=149 cases total). For our fifth sensitivity
                                        analysis, we excluded participants from families known to carry BRCA mutations (N=347
                                        exclusions, including 10 cases) since the lifetime risk of ovarian cancer for individuals with
                                        a BRCA1/2 mutation is substantially higher (19) and the etiology may be different. Lastly,
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                                        we conducted analyses excluding the first year of follow-up, to minimize the possibility that
                                        symptoms of undiagnosed ovarian cancer were leading participants to use douche or talc. All
                                        analyses were performed using SAS 9.3 (SAS Institute Inc., Cary, NC) and using the Sister
                                        Study data release version 4.1.


                         Results
                                        Table 1 summarizes characteristics of cases and non-cases at baseline. Most participants
                                        were non-Hispanic white (84%), and most were postmenopausal (56%). Women who later
                                        became cases were somewhat older (mean 57.8 versus 54.8), more often white, and more
                                        often nulliparous. Cases were also more likely to have a first-degree family history of
                                        ovarian cancer and more than one first-degree relative with breast cancer. They were also
                                        more likely to carry a deleterious mutation in BRCA1 or BRCA2. While ever/never use of
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                                        oral contraceptive was similar across cases and non-cases, the distribution of duration of use
                                        differed. More non-cases (26%) than cases (16%) had used oral contraceptive for more than
                                        10 years. Compared to women who neither douched nor used talc, women who douched
                                        were more likely to be non-Hispanic black (23% vs. 6%) and to have less than a college
                                        degree (62% vs. 44%) and women who used talc were more likely to have a BMI over 30
                                        kg/m2 (41% vs. 25%; eTable).

                                        Douching in the 12 months prior to study enrollment was reported by 13% of non-cases and
                                        20% of cases (Table 2). Talc use in the 12 months prior to study enrollment was reported by
                                        14% of non-cases and 12% of cases. Only 7 cases (5%) reported both douching and talc use.

                                        Ever douching during the 12 months prior to study entry was associated with increased
                                        ovarian cancer risk (adjusted HR: 1.8, 95% CI: 1.2, 2.8; Table 2). By contrast, talc use
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                                        during the 12 months prior to study entry was associated with reduced risk after the same
                                        confounder adjustments (HR: 0.73 CI: 0.44, 1.2) and there was a negligible change in the
                                        estimated effect with additional adjustment for douching (HR: 0.70 CI: 0.42, 1.1). We
                                        observed no proportional hazards assumption violations for any of the examined models.

                                        Douching with no talc use was also associated with increased risk of ovarian cancer
                                        compared with use of neither talc nor douching (adjusted HR: 1.9 CI: 1.2, 2.9), which is


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                                        similar to the overall effect estimate of douching. There was an inverse association between
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                                        exclusive talc use and ovarian cancer, and a positive association for douching and talc use
                                        combined (HR: 1.8, CI: 0.81, 3.9). There was no evidence for interaction on a multiplicative
                                        (p=0.39) or additive (p=0.72) scale.

                                        To explore effect modification, we performed analyses stratified by a number of
                                        reproductive factors including tubal ligation status, hysterectomy status, menopause status,
                                        and parity (Figure). We also stratified by patency to see if blockage of access to the ovaries
                                        by either tubal ligation or hysterectomy might modify the association between ovarian
                                        cancer and douching or talc use. For all stratifications, there were no modifications of effect
                                        estimates for either douching or talc use (all heterogeneity p-values >0.05).

                                        HRs for talc use differed little in the first five sensitivity analyses, showing a HR change no
                                        greater than 0.04. By contrast, exclusion of ovarian cancers without medical record or death
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                                        certificate confirmation (by censoring their follow-up at the reported diagnosis age)
                                        attenuated the association between douching and ovarian cancer (HR: 1.1, CI: 0.62, 2.1).
                                        Likewise, restriction to medically confirmed serous ovarian cancer also attenuated effect
                                        estimates (HR: 1.4 CI: 0.64, 3.2). However, ovarian cancer cases who had reported that they
                                        douched were substantially less likely to have a medical record available (40%) than ovarian
                                        cases who did not douche (69%), suggesting that medical records were informatively
                                        missing, biasing results based on the restricted analysis. There was very little change in
                                        douching effect estimates when excluding the five cases with uncertain diagnosis dates or
                                        including the five women reporting oophorectomies before the diagnosis of ovarian cancer.
                                        Exclusion of known positive BRCA1/2 families slightly strengthened the association
                                        between douching and ovarian cancer (HR: 1.9, CI: 1.3, 2.9). In our sixth sensitivity
                                        analysis, exclusion of the first year of follow-up time resulted in negligible changes in the
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                                        HRs for douching and talc use (HR: 1.8, CI: 1.2, 2.8 and HR: 0.86, CI: 0.52, 1.4
                                        respectively).


                         Discussion
                                        In this large prospective cohort, which gave rise to 154 incident cases of ovarian cancer,
                                        there was a positive association between douching and incident ovarian cancer. Talc use was
                                        associated with a slight reduction of ovarian cancer risk. Our study of ovarian cancer
                                        grouped together all cancers designated as ovarian (88%), fallopian (5%), peritoneal (3%),
                                        or those designated as uncertain but either ovarian, fallopian, or peritoneal (5%). With recent
                                        literature suggesting that most cancers classified as ovarian likely originated in the fallopian
                                        tubes (20), we felt that this grouping was appropriate.
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                                        Interest in talc as a carcinogen arose because of its chemical similarity to asbestos, which
                                        has been previously linked to ovarian cancer (21). One challenge with studying talc is that
                                        the chemical formulation of talc has changed over time (9), and not all powders contain the
                                        mineral talc (e.g. cornstarch-based products). Previous case-control studies have noted
                                        evidence for a positive association (8–13), with some evidence that the effect is strongest in
                                        premenopausal women (13). Given these results, the biological plausibility, the rarity of the
                                        exposure, and imprecision of estimates, we cannot exclude a small increase in risk


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                                        associated with talc use, despite our inverse findings. Then again, with the exception of the
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                                        finding that talc use was positively associated with serous ovarian cancer in the Nurses’
                                        Health Study (17), the prospective studies have not provided evidence supporting an
                                        association between talc use and ovarian cancer overall (17) or between talc use and ovarian
                                        cancer overall among post-menopausal women (16).

                                        The numbers for the Sister Study as a whole given in Table 2 reveal an odds ratio of 2.1 (CI:
                                        2.0, 2.3) for douching in relation to talc use. Thus, the two practices are correlated. If
                                        douching is a risk factor for ovarian cancer, some of the earlier reports on talc could have
                                        been subject to confounding bias. However, the one case-control study that did include
                                        douching as a covariate still observed a positive association between talc use and ovarian
                                        cancer risk (8). Another factor that may contribute to our null findings is that we categorized
                                        the exposure based on the 12 months prior to enrollment as a dichotomous ever/never factor
                                        rather than a quantitative measure of total applications, as has been done in previous studies.
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                                        Because Sister Study participants all have a first-degree family history of breast cancer, they
                                        are more likely than the general population to develop ovarian cancer (estimated observed/
                                        expected number of cases = 1.6 based on SEER rates). We also note that, by design, we
                                        excluded women with a previous history of breast cancer, thereby discounting some
                                        individuals who were at increased risk for ovarian cancer. While these selective factors may
                                        limit generalizability, there is no clear mechanism by which they would bias the estimated
                                        effect of talc use or douching on ovarian cancer.

                                        Our review of the literature suggests that our study is the first to examine the association
                                        between douching and ovarian cancer. This association could reflect uncontrolled
                                        confounding by behavioral factors we have not captured well. For example, women may be
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                                        more likely to douche if they are prone to infections or other reproductive health problems
                                        that could themselves be related to ovarian cancer.

                                        If the association is causal, it could be related to the recently reported positive association
                                        between douching and higher urinary levels of phthalate metabolites observed in National
                                        Health and Nutrition Examination Survey participants (5). Phthalates are endocrine-
                                        disrupting chemicals and may be harmful to the fallopian tubes or the ovaries (22). In an
                                        animal study, exposure to di-(2-ethylhexyl) phthalate at 500 and 2,000 mg/kg demonstrated
                                        ovarian toxicity through decreased progesterone and increased apoptosis in granulosa cells
                                        (23). Further, ovarian cancer cell lines have been found to increase cell proliferation and to
                                        up-regulate cell-cycle regulatory genes following treatment with di-n-butyl phthalate (24).
                                        We did not collect detailed information about specific products used in douching, so we are
                                        unable to estimate exposure to individual phthalates.
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                                        Douching could also force tissue, menstrual fluids, or foreign materials up the reproductive
                                        tract, resulting in inflammation (e.g. pelvic inflammatory disease (6)) or infection of the
                                        fallopian tubes or ovaries themselves. This inflammation and infection could also contribute
                                        to ovarian cancer risk, as supported by the observed positive association between pelvic
                                        inflammatory disease and ovarian cancer (25).




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                                        If the association is causal and related to the transfer of xenobiotics into the upper
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                                        reproductive tract, we would expect to see a stronger association in women with both a
                                        uterus and patent fallopian tubes. However, the evidence in our data appeared to be driven by
                                        the subcohort of women with hysterectomy and/or tubal ligation (Figure).

                                        Since our study was prospective in nature, it is robust to potential differential reporting bias
                                        as exposures are recorded prior to development of cancer. Another important strength of the
                                        study was that we controlled for many potentially confounding factors.

                                        An important limitation of our study is that we collected douching and talc information on
                                        individuals for the year prior to study entry and have not accounted for the latency of ovarian
                                        cancer, which is likely to be long (26). If latency is 15 to 20 years, douching habits at
                                        baseline do not accurately reflect the period of risk, although women who douched at
                                        baseline are likely to have been douching for a substantial amount of time before that as
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                                        well. Also, given that there have been health advisories against douching because of its other
                                        potential risks, participants who douched in the past may have stopped douching and would
                                        be misclassified. Thus, the relative risk for douching in relation to ovarian cancer could be
                                        underestimated. Future studies that ascertain a complete history of douching are warranted.

                                        Although the baseline questionnaire did ask women about their use of douche and talc
                                        between the ages 10 and 13, very few women responded yes to douching (2%), and we were
                                        unable to make use of those data. By contrast, talc use during ages 10–13 had a prevalence
                                        of 18% in the cohort, but there was no detectable effect of pre-pubertal talc use on risk (HR:
                                        1.1 CI: 0.74, 1.7).

                                        Exposure information was very complete, with only 832 participants (2%) missing the
                                        personal care products questionnaire entirely, and an additional 655 and 1,188 missing data
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                                        for the questions about douching or talc use, respectively. However, for approximately 37%
                                        of cases we have not yet received medical records to confirm the diagnosis. We found that
                                        medical record retrieval was differential by exposure, with a lower proportion with medical
                                        records among women who douched than among women who did not. This informative
                                        missingness mathematically contributed to the substantial attenuation in the HR estimate for
                                        the association between vaginal douching and ovarian cancer when we restricted to cases
                                        with medical record confirmation. Medical record retrieval for ovarian cancer began only
                                        recently, and women with cancers diagnosed early in follow-up are more likely to be missing
                                        medical record information. Some of the unconfirmed diagnoses may be confirmed later via
                                        medical records or the National Death Index.

                                        In this large, prospective study, we did not observe an association between recent talc use
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                                        and ovarian cancer risk, but did find a strong positive association between douching and
                                        ovarian cancer risk.


                         Supplementary Material
                                        Refer to Web version on PubMed Central for supplementary material.




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                         Abbreviations
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                                          BMI            body mass index

                                          CI             confidence interval

                                          HR             hazard ratio


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                                        Figure.
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                                        Effect estimates of douching and talc use in the Sister Study when stratified by multiple
                                        reproductive factor, adjusted for race, body mass index, parity, duration of oral contraceptive
                                        use, baseline menopause status, and patency. The reported heterogeneity p-values are for
                                        tests of an exposure-by-modifier interaction term.
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                                                                                    TABLE 1

                      Baseline characteristics of the Sister Study cohort (2003–2009)a
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                                                              Non-Cases     Ovarian Cancer Cases
                                                              (N=41,500)          (N=154)

                       Race; N (%)
                         Non-Hispanic White                   34,745 (84)         138 (90)
                         Non-Hispanic Black                     3,598 (9)           9 (6)
                         Hispanic                               2,076 (5)           5 (3)
                         Other                                  1,068 (2)           2 (1)
                       Education; N (%)
                         High school or less                   6,001 (14)          24 (15)
                         Some college                         13,556 (33)          49 (32)
                         Bachelor’s degree                    11,579 (28)          46 (30)
                         Graduate degree                      10,354 (25)          35 (23)
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                       BMI; N (%)
                         <25.0 kg/m2                          16,610 (40)          51 (33)

                         25–29.9 kg/m2                        13,012 (31)          51 (33)

                         ≥ 30 kg/m2                           11,866 (29)          52 (34)
                       Menopausal Status; N (%)
                         Premenopausal                        15,238 (37)          40 (26)
                         Hysterectomy with ovaries retained     2,996 (7)           8 (5)
                         Postmenopausal                       23,239 (56)         106 (69)
                       Hysterectomy; N (%)
                         No                                   34,481 (83)         120 (78)
                         Yes                                   6,995 (17)          34 (22)
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                       Tubal Ligation; N (%)
                         No                                   29,511 (71)         115 (75)
                         Yes                                  11,973 (29)          39 (25)
                       Oral Contraception
                       Duration of Use; N (%)
                         None                                  6,452 (16)          25 (16)
                         <2 years                              6,382 (15)          37 (24)
                         2–10 years                           17,769 (43)          67 (44)
                         10 years or more                     10,865 (26)          25 (16)
                       Parity; N (%)
                         No live births                        7,657 (18)          37 (24)
                         1 or more live births                33,816 (82)         116 (76)
                       First Degree Family History of
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                         Ovarian Cancer; N (%)
                            No                                40,149 (97)         138 (90)
                            >1 first-degree relative            1,322 (3)          16 (10)
                         Breast Cancer; N (%)




                                                  Epidemiology. Author manuscript; available in PMC 2016 December 07.
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                                                                 Non-Cases      Ovarian Cancer Cases
                                                                 (N=41,500)           (N=154)
                              1 affected sister                  31,291 (75)            109 (71)
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                              >1 sister or sister+mom            10,207 (25)            45 (29)
                          BRCA1/2 mutation status; N (%)
                            No known mutation                    41,163 (99)            144 (94)
                            Known mutation                         337 (1)               10 (6)

                      Missing values: Race (13 non-cases), education (10 non-cases), BMI (12 non-cases), menopausal status (27 non-cases), tubal ligation (16 non-
                      cases), hysterectomy (24 non-cases), oral contraception use (32 non-cases), parity (1 case, 27 non-cases), ovarian cancer family history (29 non-
                      cases), breast cancer family history (2 non-cases).
                      a
                       Excludes women who were diagnosed with ovarian cancer before completion of the baseline interview (N=167), women who had a bilateral
                      oophorectomy before the baseline interview (N=9,005), and women lost to follow-up (N=40).
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                                                  Epidemiology. Author manuscript; available in PMC 2016 December 07.
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                                                                                          TABLE 2

                      Exposure prevalence and hazard ratios for their associations with ovarian cancer in the Sister Study
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                                                      Non-cases      Ovarian cases     Fully Adjusted Hazard Ratioa
                                                      N=41,500          N=154

                       Douching past 12 months
                          No                          34,653 (87)       121 (80)                     1.00
                          Yes                         5,364 (13)         30 (20)                1.84 (1.2, 2.8)
                       Talc use past 12 months
                          No                          33,770 (86)       130 (88)                     1.00
                          Yes                         5,718 (14)         17 (12)                0.73 (0.44, 1.2)
                       Douched and used talcum powder past 12 months
                          Neither                     29,596 (76)       106 (72)                     1.00
                          Talc use/no douching        4,399 (11)         10 (7)                 0.60 (0.31, 1.1)
                          Douching/no talc use        3,936 (10)         23 (16)                 1.9 (1.2, 2.9)
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                          Both                         1,237 (3)          7 (5)                 1.8 (0.81, 3.9)

                      Missing values: Douching (3 cases, 1,483 non-cases), talc use (7 cases, 2,012 non-cases)

                      Adjusted for race, body mass index, parity, duration of oral contraceptive use, baseline menopause status, and patency.
                      a
                       Adjusted for race, body mass index, parity, duration of oral contraceptive use, baseline menopause status, and patency. The reported heterogeneity
                      p-values are for tests of an exposure by modifier interaction term.
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                                                  Epidemiology. Author manuscript; available in PMC 2016 December 07.
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                       Exhibit 56
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                   Draft Screening Assessment

                                 Talc
                             (Mg3H2(SiO3)4)



       Chemical Abstracts Service Registry Number
                      14807-96-6




         Environment and Climate Change Canada
                     Health Canada




                            December 2018




                                       i


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Synopsis
Pursuant to section 74 of the Canadian Environmental Protection Act, 1999 (CEPA), the
Minister of the Environment and the Minister of Health have conducted a screening
assessment of talc. The Chemical Abstracts Service Registry Number (CAS RN1) for
talc is 14807-96-6. This substance is among those substances identified as priorities for
assessment as it met categorization criteria under subsection 73(1) of CEPA.

Talc is a naturally occurring mineral. According to information reported under section 71
of CEPA and publically available information, in 2011 talc was manufactured in Canada
in quantities ranging between 50 to 75 million kg, and in 2016, approximately 100 million
kg of talc was imported. In Canada talc is used in adhesives and sealants; automotive,
aircraft, and transportation applications; building and construction materials; ceramics;
electrical and electronics; textiles; floor coverings; ink, toner, and colourants; lubricants
and greases; oil and natural gas extraction applications; paints and coatings; paper and
paper products, mixtures, and manufactured items; plastic and rubber materials; toys,
playground, and sporting equipment; and in water treatment. The major uses in Canada
align with major global uses of talc. Talc is an ingredient in self-care products and is a
permitted food additive. In North America, approximately 3 to 4 % of the talc produced
and sold is used in cosmetics. High-purity talc is used in cosmetics, while lower-grade
talc is used in commercial applications.

The ecological risk of talc was characterized using the Ecological Risk Classification of
Inorganic Substances (ERC-I) approach. The ERC-I is a risk-based approach that
employs multiple metrics, considering both hazard and exposure in a weight of
evidence. Hazard characterization in ERC-I included a survey of past predicted no-
effect concentrations (PNECs) and water quality guidelines, or the derivation of new
PNEC values when required. Exposure profiling in ERC-I considered two approaches:
predictive modelling using a generic near-field exposure model for each substance, and
an analysis of measured concentrations collected by federal and provincial water quality
monitoring programs. Modelled and measured predicted environment concentrations
(PECs) were compared to PNECs, and multiple statistical metrics were computed and
compared to decision criteria to classify the potential for causing harm to the
environment. The ERC-I identified talc as having a low potential to cause ecological
harm.

Considering all available lines of evidence presented in this draft screening assessment,
there is a low risk of harm to the environment from talc. It is proposed to conclude that
talc does not meet the criteria under paragraphs 64(a) or (b) of CEPA as it is not
entering the environment in a quantity or concentration or under conditions that have or


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may have an immediate or long-term harmful effect on the environment or its biological
diversity or that constitute or may constitute a danger to the environment on which life
depends.

Talc has been reviewed internationally by other organizations, including the
International Agency for Research on Cancer (IARC) and the Danish Environmental
Protection Agency. These assessments informed the human health risk assessment.

No critical health effects were identified via the oral or dermal routes of exposure. As
such, oral exposure to talc resulting from food intake and self-care products is not of
concern. Inhalation exposure from industrial and commercial uses of talc was not
identified to be of concern for human health given the limited number of sites producing
and processing talc in Canada. Rather, the focus of the assessment is on inhalation and
perineal exposure to certain self-care products containing cosmetic- or pharmaceutical-
grade talc.

With respect to inhalation exposure, non-cancer lung effects were identified as a critical
health effect for risk characterization on the basis of United States National Toxicology
Program studies conducted with rats and mice exposed to cosmetic-grade talc. There is
potential for inhalation exposure to talc powder during the use of certain self-care
products (e.g., cosmetics, natural health products, non-prescription drugs formulated as
loose powders). Self-care products formulated as pressed powders (e.g., face makeup)
are not of concern. Margins of exposure between air concentrations following the use of
dry hair shampoo and critical lung effects observed in animal studies are considered
adequate to address uncertainties in the health effects and exposure databases.
Margins of exposure between air concentrations following the use of loose powders
(e.g., body powder, baby powder, face powder, foot powder) and critical lung effect
levels observed in animal studies are considered potentially inadequate to address
uncertainties in the health effects and exposure databases.

The meta-analyses of the available human studies in the peer-reviewed literature
indicate a consistent and statistically significant positive association between perineal
exposure to talc and ovarian cancer. Further, available data are indicative of a causal
effect. Given that there is potential for perineal exposure to talc from the use of various
self-care products (e.g., body powder, baby powder, diaper and rash creams, genital
antiperspirants and deodorants, body wipes, bath bombs), a potential concern for
human health has been identified.

Based on the available information, it is proposed that there is potential for harm to
human health in Canada at current levels of exposure. Therefore, on the basis of the
information presented in this draft screening assessment, it is proposed to conclude that
talc meets the criteria under paragraph 64(c) of CEPA as it is entering or may enter the
environment in a quantity or concentration or under conditions that constitute or may
constitute a danger in Canada to human life or health.




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 It is therefore proposed to conclude that talc meets one of the criteria set out in section
 64 of CEPA.

 Talc is proposed to meet the persistence criteria but not the bioaccumulation criteria as
 set out in the Persistence and Bioaccumulation Regulations of CEPA.




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Draft Screening Assessment - Talc



   Introduction
Pursuant to section 74 of the Canadian Environmental Protection Act, 1999 (CEPA)
(Canada 1999), the Minister of the Environment and the Minister of Health have
conducted a screening assessment of talc to determine whether this substance
presents or may present a risk to the environment or to human health. This substance
was identified as a priority for assessment as it met categorization criteria under
subsection 73(1) of CEPA (ECCC, HC [modified 2017]).

The ecological risk of talc was characterized using the Ecological Risk Classification of
Inorganic Substances (ERC-I) approach (ECCC 2018). The ERC-I is a risk-based
approach that employs multiple metrics, considering both hazard and exposure in a
weight of evidence. Hazard characterization in ERC-I included a survey of past
predicted no-effect concentrations (PNECs) and water quality guidelines, or the
derivation of a new PNEC value when required. Exposure profiling in ERC-I considered
two approaches: predictive modelling using a generic near-field exposure model for
each substance, and an analysis of measured concentrations collected by federal and
provincial water quality monitoring programs. Modelled and measured predicted
environmental concentrations (PECs) were compared to PNECs, and multiple statistical
metrics were computed and compared to decision criteria to classify the potential for
causing harm to the environment.

With respect to human health, this draft screening assessment includes the
consideration of information on chemical properties, environmental fate, hazards, uses,
and exposures, including additional information submitted by stakeholders. Relevant
data were identified up to August 2018. Empirical data from key studies, as well as
results from models, were used to reach proposed conclusions. Talc has been reviewed
internationally through the International Agency for Research on Cancer (IARC)
Monographs Programme, United States Environmental Protection Agency (U.S. EPA),
the Joint Food and Agriculture Organization of the United Nations (FAO) and the World
Health Organization (WHO) Expert Committee on Food Additives (JECFA) and the
Danish Environmental Protection Agency (Danish EPA). Talc was also assessed by the
Permanent Senate Commission for the Investigation of Health Hazards of Chemical
Compounds in the Work Area (MAK-Commission) in Germany and the Cosmetic
Ingredient Review (CIR) Expert Panel. These evaluations and reviews were used to
inform the health effects characterization in this screening assessment. This
assessment focuses on health effects associated with cosmetic-grade talc and not on
potential impurities, such as asbestos. Engineered nanomaterials composed of or
containing talc are not explicitly considered in this assessment.

This draft screening assessment was prepared by staff in the CEPA Risk Assessment
Program at Health Canada and Environment and Climate Change Canada and the
Consumer Product Safety Directorate at Health Canada and incorporates input from
other programs within these departments. The ecological portion of the assessment is
based on the ERC-I document (published May 11, 2018), which was subject to an
external peer review and a 60-day public comment period. The human health portion of

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this assessment has undergone external peer review and/or consultation. Comments on
the technical portions relevant to human health were received from Ms. Lopez, Ms.
Super, and Ms. Jeney of Tetra Tech. Although external comments were taken into
consideration, the final content and outcome of the screening assessment remain the
responsibility of Health Canada and Environment and Climate Change Canada.

This draft screening assessment focuses on information critical to determining whether
substances meet the criteria as set out in section 64 of CEPA by examining scientific
information and incorporating a weight of evidence approach and precaution.2 This draft
screening assessment presents the critical information and considerations on which the
proposed conclusion is based.

    Identity of substance
Talc (CAS RN3 14807-96-6) is one of the softest naturally occurring minerals, made up
of magnesium, silicon, and oxygen (ChemIDplus 1993-). The term talc refers to both the
pure mineral and a wide variety of soft, talc-containing rocks that are mined and used
for a variety of applications (Kogel et al. 2006). Relatively pure talc ore is also referred
to as steatite, and soapstone refers to impure, massive talc rock (Fiume et al. 2015).

The mineral talc is composed of triple-sheet crystalline units, consisting of two silicate
sheets composed of SiO4 tetrahedra joined by edge-link MgO4(OH)2 (Zazenski et al.
1995). These layers, held together loosely via van der Waals forces, slide over one
another easily, giving talc its slippery feel and accounting for its softness (Fiume et al.
2015). The size of an individual talc platelet (i.e., a few thousand elementary sheets)
can vary from approximately 1 µm to over 100 µm, depending on the conditions of
formation of the deposit (Eurotalc 2017). The individual platelet size determines the
lamellarity of a sample of talc. Highly lamellar talc will have large individual platelets,
whereas microcrystalline talc will have small platelets. Other inorganics in place of
magnesium and silicon are common in talc; for example, aluminum and iron may
substitute for silicon in the tetrahedral sites, or manganese may substitute for
magnesium in the octahedral positions (Zazenski et al. 1995).



2 A determination of whether one or more of the criteria of section 64 of CEPA are met is based upon an assessment

of potential risks to the environment and/or to human health associated with exposures in the general environment.
For humans, this includes, but is not limited to, exposures from ambient and indoor air, drinking water, foodstuffs, and
products available to consumers. A conclusion under CEPA is not relevant to, nor does it preclude, an assessment
against the hazard criteria specified in the Hazardous Products Regulations, which are part of the regulatory
framework for the Workplace Hazardous Materials Information System for products intended for workplace use.
Similarly, a conclusion on the basis of the criteria contained in section 64 of CEPA does not preclude actions being
taken under other sections of CEPA or other acts.

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Commercially exploited talc contains 20 to 99 % of the pure mineral (Kogel et al. 2006).
Some of the most common minerals that occur with talc are carbonates (e.g., dolomite,
calcite, magnesite) and chlorite (i.e., magnesium aluminum silicate) (CIR 2013). Less
common minerals include quartz, mica, iron oxides, pyrite, serpentine, and amphibole.
Selective mining, ore processing, and beneficiation can remove many of the impurities
(Kogel et al. 2006). There is a trend towards upgrading and higher-purity talc; however,
many applications require the properties of the minerals associated with talc (Kogel et
al. 2006). The purity of the source talc will influence its uses.

There are different grades of talc that refer to the purity (presence of other minerals).
Pharmaceutical-grade talc conforms to the United States Pharmacopeia (USP)
specifications (or similar specifications); these specifications require the absence of
asbestos and set limits on iron, lead, calcium, and aluminum (USP 2011). As per
B.01.045 of the Food and Drug Regulations, when used as a food additive talc must
comply with Food Chemical Codex specifications or the Combined Compendium of
Food Additive Specifications, prepared by the Joint FAO/WHO Expert Committee on
Food Additives, and must be free from asbestos (FAO 2006).

Cosmetic-grade talc should comply with USP standards that require a limit of 20 ppm
lead and an absence of asbestos (Fiume et al. 2015). Historically, some talc source
materials were contaminated with asbestos; however, in 1976 the Cosmetic Toiletry
Fragrance Association (CTFA) set purity standards for cosmetic-grade talc (Fiume et al.
2015). In Canada, the Prohibition of Asbestos and Products Containing Asbestos
Regulations to be made under CEPA 1999 will prohibit asbestos above trace levels in
consumer products, including cosmetics. Health effect studies on cosmetic-grade talc
cited in this assessment were considered to be free of asbestos.

Talc is milled to different particle sizes for specific commercial applications. Most talc for
cosmetics and pharmaceuticals are pure 200-mesh roller-milled talc (Kogel et al. 2006).
In 200-mesh talc (preferred for body powder and deodorants), the particle size
distribution allows 95 to 99 % of the product to pass through a 200-mesh (74 µm)
screen (Zazenski et al. 1995; Kogel et al. 2006). The finer 325-mesh talc is also used in
cosmetic-, pharmaceutical-, and food-grade formulations, where 95 to 99 % of the
product passes through a 325-mesh (44 µm) screen.

   Physical and chemical properties
A summary of physical and chemical properties of talc is presented in




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Table 3-1. Talc is hydrophobic and lipophilic (Kogel et al. 2006).




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Table 3-1. Experimental physical and chemical property values (at standard
temperature) for talc
 Property                                 Range              Key reference
 Physical state                       solid, powder            HSDB 2005
 Melting point (°C)                        1500               Eurotalc 2017
                                        approx. 0,         OSHA 1999; NIOSH
 Vapour pressure (mm Hg)
                                    negligible at 20°C             2014
 Water solubility (mg/L)                insoluble              HSDB   2005
 Specific gravity (unitless)            2.58–3.83              HSDB 2005


    Sources and Uses
Talc is a naturally occurring mineral, and there are deposits of talc in most provinces of
Canada (Kogel et al. 2006). Currently, there is one producing mine (open-pit) and
concentrator facility in Canada, in Penhorwood Township near Timmins, Ontario, and
one micronizing facility in Timmins (Kogel et al. 2006; MAC 2016; NPRI 2018). The talc
ore from the mine is approximately 45 % pure, with magnesite, magnetite, chlorite, and
serpentine as the major impurities (Kogel et al. 2006). After beneficiation, this mine and
micronizing facility produces talc primarily for the paper, plastics, paint, and ceramic
sectors (Kogel et al. 2006). In 2017, China was the largest producer of talc, followed by
India, Brazil, Mexico, and Korea (USGS 2018). The major uses of talc globally include
paper, plastics, paint, ceramics, putties, and cosmetics (USGS 2000; Kogel et al. 2006;
EuroTalc 2017; USGS 2018) and are aligned with Canadian uses.

On the basis of information submitted pursuant to a CEPA section 71 survey for the
year 2011, talc was reported to be manufactured and imported in Canada at quantities
ranging from 50 to 75 million kg (EC 2013).4 According to the Canadian International
Merchandise Trade (CIMT) database, in 2016, 99 549 000 kg of natural steatite and
talc, crushed or powdered (Harmonized System, HS code 252620) and 4 656 000 kg of
natural steatite and talc, not crushed, not powdered (HS code 252610) were imported
into Canada (CIMT 2017).

According to information reported pursuant to a CEPA section 71 survey, results from
voluntary stakeholder engagement (ECCC, HC 2017), and a search of websites from
talc producers, manufactured or imported talc is used in Canada in: adhesives and
sealants; automotive, aircraft, and transportation applications; building and construction
materials (e.g., wood and engineered wood); ceramics; electrical and electronics;
textiles; floor coverings; ink, toner, and colourants; lubricants and greases; oil and
natural gas extraction applications; paints and coatings; paper and paper products,



4 Values reflect quantities reported in response to the survey conducted under section 71 of CEPA (EC

2013). See survey for specific inclusions and exclusions (schedules 2 and 3).


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mixtures, or manufactured items; plastic and rubber materials; toys, playground, and
sporting equipment; and in water treatment.

Talc is a formulant in pest control products registered in Canada (Health Canada 2010,
Personal communication, email from the Pest Management Regulatory Agency, Health
Canada to the Risk Management Bureau, Health Canada, dated March 29, 2017;
unreferenced).

Additionally, in Canada talc is on the List of Permitted Food Additives with Other
Accepted Uses for limited uses in a small number of foods (Health Canada [modified
2017]). Talc can be used as a coating agent on dried legumes and rice and as a filler
and dusting powder for chewing gum as per the List of Permitted Food Additives with
Other Accepted Uses, incorporated by reference into its respective Marketing
Authorization issued under the Food and Drugs Act. It may be present in food
packaging materials and in incidental additives5 used in food processing establishments
(email from the Food Directorate, Health Canada, to Existing Substances Risk
Assessment Bureau, Health Canada, dated March 31, 2017; unreferenced).

Talc is present in approximately 8500 self-care products.6 Talc is marketed or approved
as a non-medicinal ingredient in approximately 1600 human and veterinary drug
products in Canada, including approximately 150 over-the-counter (OTC) or non-
prescription products (email from the Therapeutic Products Directorate, Health Canada,
to the Existing Substances Risk Assessment Bureau, Health Canada, dated March 20,
2017; unreferenced). Talc is listed in the Natural Health Products Ingredients Database
(NHPID [modified 2018]) with a medicinal role and classified as a natural health product
(NHP) substance falling under item 7 (a mineral) of Schedule 1 to the Natural Health
Products Regulations and with a non-medicinal role (NHPID [modified 2018]). Talc is
listed in the Licensed Natural Health Products Database (LNHPD) as being present as a
medicinal or non-medicinal ingredient, in currently licensed natural health products in
Canada (LNHPD [modified 2018]). Talc is present as a medicinal or a non-medicinal
ingredient in approximately 2000 active licensed NHPs. Talc is listed as a medicinal
ingredient in diaper rash products in concentrations ranging from 45 to 100 % in the
Diaper Rash Monograph (Heath Canada 2007); however, there are no diaper rash
products listed in the LNHPD containing talc as a medicinal ingredient (LNHPD
[modified 2018]). Talc is permitted as a medicinal ingredient in the monograph for
Traditional Chinese Medicine Ingredients (Health Canada 2015).




5 While not defined under the Food and Drugs Act (FDA), incidental additives may be regarded, for administrative

purposes, as those substances that are used in food processing plants and that may potentially become adventitious
residues in foods (e.g., cleaners, sanitizers).

6 Self-care products are products available for purchase without a prescription from a doctor, and fall into one of three

broad categories: cosmetics, natural health products, and non-prescription drugs.


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Based on notifications submitted under the Cosmetic Regulations to Health Canada,
talc is an ingredient in approximately 6500 cosmetic products in Canada (dated April 5,
2017, emails from the Consumer Product Safety Directorate, Health Canada, to the
Existing Substances Risk Assessment Bureau, Health Canada; unreferenced). Talc is
considered a restricted ingredient in cosmetics.7 The Cosmetic Ingredient Hotlist entry
for cosmetics containing talc in powder form intended to be used on infants and children
indicates that product labels should display text to the effect of “keep out of the reach of
children” and “keep powder away from child’s face to avoid inhalation that can cause
breathing problems.” High-purity talc (fewer impurities of other minerals) is used in
cosmetics, while lower-grade talc is used in the many commercial applications
mentioned above. In North America, approximately 3 to 4 % of the talc produced and
sold is used in cosmetics (Kogel et al. 2006; USGS 2018).

Condoms and medical gloves are regulated as Class II medical devices in Canada
under the Medical Devices Regulations and may be sources of exposure if talc is
present as a dry lubricant. However, a 1998 study did not find talc in a small survey of
condoms tested in Canada (Douglas et al. 1998). Condom standards require dry
lubricants to be bioabsorbable, such as starch and calcium carbonate (WHO, UNFPA,
FHI 2013). Starch is more commonly used as dry powder lubricant on condoms
(Douglas et al. 1998). There was also a shift from the use of talc as a dry lubricant on
medical patient examination gloves to cornstarch in the 1980s (Lundberg et al. 1997). In
2016, the U.S. Food and Drug Administration banned powdered patient examination
gloves (United States 2016).

    Potential to cause ecological harm
      Characterization of ecological risk

The ecological risk of talc was characterized using the Ecological Risk Classification of
Inorganic Substances (ERC-I). The ERC-I is a risk-based approach that employs
multiple metrics that consider both hazard and exposure in a weight of evidence.
Hazard characterization in ERC-I included a survey of past domestic and international
assessment PNECs and water quality guidelines. When no suitable existing PNEC or
water quality guideline was found, hazard endpoint data were collected and, dependent
on data availability, either a species sensitivity distribution (SSD) or an assessment
factor (AF) approach was taken to derive a new PNEC value. In the case of talc, hazard
endpoint data from the Organisation for Economic Co-operation and Development



7 Talc is described as a restricted ingredient on the List of Prohibited and Restricted Cosmetic Ingredients (more

commonly referred to as the Cosmetic Ingredient Hotlist or simply the Hotlist), an administrative tool that Health
Canada uses to communicate to manufacturers and others that certain substances may contravene the general
prohibition found in section 16 of the Food and Drugs Act (FDA), or may contravene one or more provisions of the
Cosmetic Regulations. Section 16 of the FDA states that "no person shall sell any cosmetic that has in or on it any
substance that may cause injury to the health of the user." In addition, the Hotlist includes certain substances that
may make it unlikely for a product to be classified as a cosmetic under the FDA (Health Canada [modified 2018]).


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Screening Information Dataset (SIDS) for synthetic amorphous silicates (OECD 2004)
were identified for read across (ECCC, HC 2017) and an AF approach was used to
derive a PNEC value of 40 mg/L.

Exposure profiling in ERC-I considered two approaches: predictive modelling using a
generic near-field exposure model, and an analysis of measured concentrations
collected by federal and provincial water quality monitoring programs. The generic near-
field exposure model used input data, when available, from the National Pollutant
Release Inventory (NPRI), the DSL–Inventory Update (DSL-IU), international trade data
from the Canada Border Services Agency (CBSA), and third-party market research
reports to generate PECs. In the case of talc, input data from the DSL-IU and CBSA
were available.

Modelled PECs were compared to PNECs, and statistical metrics considering both the
frequency and magnitude of exceedances were computed and compared to decision
criteria to classify the potential for ecological risk as presented in ECCC (2018). The
results are summarized in Table 5-1. The ERC-I identified talc as being of low
ecological concern.

Table 5-1. Ecological risk classification of inorganics results for talc
    Monitoring      Monitoring Modelling Modelling Modelling               Overall
(total/extractable) (dissolved) (DSL-IU)          (NPRI)    (CBSA)       ERC-I score
        NA               NA            Low          NA         Low          Low
Abbreviations: NA, Not Available.

   Potential to cause harm to human health
     Health effects assessment

Talc was previously reviewed internationally by the IARC, and an IARC monograph is
available (IARC 2010). Additionally, talc was reviewed by the United States
Environmental Protection Agency (U.S. EPA), the Joint FAO/WHO Expert Committee
on Food Additives (JECFA), the Permanent Senate Commission for the Investigation of
Health Hazards of Chemical Compounds in the Work Area (MAK-Commission) in
Germany, and the Danish Environmental Protection Agency (Danish EPA) (U.S. EPA
1992; JECFA 2006; MAK‐Commission 2012; Danish EPA 2016). Talc’s safety in
cosmetic uses was also assessed by the CIR Expert Panel (CIR 2013; Fiume et al.
2015).

A literature search was conducted from the year prior to the most recent assessment
(the 2016 Danish EPA review), i.e., from January 2015 to January 2018. No health
effects studies that could impact the non-cancer risk characterization (i.e., result in
different critical endpoints or lower points of departure than those stated in existing
reviews and assessments) for oral, dermal, or inhalation exposures were identified. For
perineal exposures, recently published literature was identified and considered in the
assessment.

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The health effects of talc are outlined by route of exposure in the following sections.

Toxicokinetics

Talc is poorly absorbed via the oral route of exposure. Following gavage administration
of radiolabelled talc to rodents, the majority of the administered dose (AD) remained in
the gastrointestinal (GI) tract and was eliminated and recovered in the faeces (≥ 95.8 %
of AD) within three to four days of dosing (Wehner et al. 1977a; Phillips et al. 1978).
Less than 2 % of the AD was recovered in the urine; however, this was mainly attributed
to contamination from faeces during collection, with true absorption and urinary
clearance expected to be even lower. At 24 hours post administration, less than 2 % of
the AD remained in the carcass of hamsters; no radioactivity was detected in mouse
carcasses at this time point. In rats and guinea pigs, only trace amounts of radioactivity
remained in the GI tract at 10 days post administration.

As an insoluble solid, talc is not expected to be absorbed when applied to healthy and
intact skin. There are no indications of dermal absorption following talc exposure (MAK‐
Commission 2012).

Inhalable talc particles (<10 µm) are eliminated from the respiratory tract via mucociliary
clearance. In female Syrian hamsters that were administered aerosolized neutron-
activated cosmetic talc at concentrations of 40 to 75 mg/m3 (95% pure; MMAD 6.4 to
6.9 µm) over a 2-hour exposure period, 6 to 8 % of the AD was deposited into the
alveoli (Wehner et al. 1977b). The biological half-life following a single exposure was
estimated to be between 7 and 10 days, with complete alveolar clearance after 4
months. There was no translocation of talc from the respiratory tract to the liver,
kidneys, ovaries, or other parts of the body. Lung clearance was noted to be longer in
other species. The Danish EPA (2016) noted that talc, including the respirable fraction
(< 4 µm), is not absorbed following inhalation, but is retained in the lung tissue. They
further stated that lung burdens were proportional to respired concentrations, and
clearance became impaired with increasing exposures. Pulmonary retention half-lives
for talc particles in the lungs of rats from a chronic inhalation study were estimated to be
as long as 300 days (Oberdorster 1995). Other authors (Pickrell 1989; MAK‐
Commission 2012) noted similar findings indicating that with repeat exposures, alveolar
clearance in rats may be impaired at concentrations of only 2 mg talc/m 3 air.

Talc particles have been observed and detected in the ovaries of humans (Heller et al.
1996a, 1996b), and perineal exposure to talc has also been associated with a presence
of talc in lymph nodes and ovaries of women diagnosed with ovarian cancer (Heller et
al. 1996b; Cramer et al. 2007). Migration of talc particles from the vagina to the ovaries
has been identified as a plausible explanation of these findings (Henderson et al.,
1986), and retrograde movement of talc particles in humans through the reproductive
tract to the ovaries has been suggested (Heller et al. 1996b; Cramer et al. 2007). Inert
particles with the same size as talc (5 to 40 μm in diameter) and placed in the vagina
can be transported to the upper genital tract (Egli and Newton 1961; De Boer 1972;
Venter and Iturralde 1979).

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According to a review by the MAK-Commission (2012), there are no indications of
metabolism via typical degradation pathways from which toxicologically relevant
degradation products may develop.

Health Effects

Oral route of exposure

Talc was considered be of low concern with respect to human health via oral exposure.
Repeated-dose testing with talc in animals did not produce any adverse effects via oral
exposure with respect to repeated-dose toxicity, carcinogenicity,
reproductive/developmental toxicity, or mutagenicity (Gibel et al. 1976; Wagner et al.
1977; NTP 1993; IARC 2010; Danish EPA 2016).

Talc has not been shown to produce adverse effects when ingested orally; as a result,
the use of talc in various tablet formulations was not considered hazardous via the
ingestion route (Hollinger 1990; U.S. EPA 1992).

In addition, the Commission of the European Communities’ report on Dietary Food
Additive Intake in the European Union identified talc as having an Acceptable Daily
Intake (ADI) of “not-specified.” The JECFA has also assessed talc and assigned an ADI
as “not specified” due to the lack of toxicity from oral exposure. The substance was
considered not to be a hazard to human health at oral intake levels noted in total diet
surveys, which represent the majority of the sources of oral exposure for this substance
(IARC 1987; EU [modified 2001]). Furthermore, talc is considered as “generally
recognized as safe” when used as a food additive in the United States (U.S. FDA GRAS
list) without being subject to pre-market approval requirements (U.S. FDA 2015; 2016).

Dermal route of exposure

There are limited data available on repeated-dose studies via dermal exposure to talc
(Danish EPA 2016). In the available literature, only one repeated-dose dermal toxicity
study was identified (Wadaan 2009). Severe limitations were noted for this study,
including a lack of information on the test substance and the dose applied, as well as a
lack of detail regarding the test animals. Skin dryness and erosion were noted; however,
application sites were shaved, indicating that talc may have been applied to broken skin.
As such, the results of this study were not considered appropriate to inform the
characterization of health effects via dermal exposure. Additionally, there were no
indications of irritation, sensitization, or dermal absorption following exposure to
unabraded and/or non-diseased skin (MAK‐Commission 2012). A three-day occlusive
application of pharmaceutical-grade talc did not show any signs of irritation in 5 human
volunteers (Frosch and Kligman 1976, as reported in MAK‐Commission 2012).

Case reports, however, do indicate that the application of talc to diseased or broken
skin can cause the formation of granulomas, particularly if the talc particles have a large
diameter (MAK‐Commission 2012; CIR 2013; Fiume et al. 2015). Granulomas have

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been observed in the umbilical regions of infants, in the testes, on the vocal cords, in
the urinary tract, and during phlebectomies following contact with talc-powdered surgical
gloves (Ramlet 1991, Simsek et al. 1992, as reported in MAK‐Commission 2012). As a
result, the CIR concluded that “talc should not be used on skin where the epidermal
barrier is removed or on skin that has greater than first degree burns.”

Although dermal contact with talc is expected from the use of various products available
to consumers, talc is a solid powder that is insoluble in water (Table 3-1). As a result, it
cannot readily penetrate intact skin, and therefore systemic absorption through the skin
is not expected. Consistent with other international regulatory and advisory bodies
(Danish EPA, U.S. EPA, MAK-Commission, U.S. FDA, and JECFA), a dermal health
effects endpoint has not been identified for talc.

Inhalation route of exposure

Human studies

The Danish EPA (2016) noted that talc is not absorbed via inhalation. Rather, particles
are retained in the lung, and lung burdens increase proportionally with exposure
concentrations or frequency. The report detailed epidemiological data that noted
mortalities in workers due to lung diseases, following exposures to talc. However, it was
stated that there was no increase in the lung cancer rate in talc millers in the absence of
exposure to carcinogens. A recent meta-analysis by Chang and colleagues (2017)
reported a positive association with lung cancer in workers exposed to talc; however,
co-exposure to other hazardous materials in the workplace and smoking were not
adequately accounted for.

The chronic inhalation of talc leads to lung function disorders and fibrotic changes in
humans. Since talc particles are persistent, particles accumulate in human lung tissue.
This accumulation may lead to both an impairment of the self-purification function
(reduced ability to fight infections) and inflammatory changes and fibrosis. Talc particles
may be enclosed in a foreign-body granuloma as the result of an inflammatory reaction.
The immobility of the macrophages, which is restricted by the phagocytized talc
particles, leads to changes in the function of these cells and subsequently to chronic
inflammatory reactions (Gibbs et al. 1992).

In humans, there are reports of pure talc-induced pneumoconiosis or talcosis following
inhalation exposure to talc. Talcosis has been reported to occur in miners, millers,
rubber workers, and other occupational groups exposed to talc without asbestos or
silica (Vallyathan and Craighead 1981; Feigin 1986; Gibbs et al. 1992; Akira et al.
2007). Specifically, a recent longitudinal survey of French and Austrian talc workers
found that the prevalence of small radiological opacities and decreases in lung function
parameters were related to cumulative exposure. The mean estimated talc dust
concentration during the mean duration of follow-up (14.5 years) was 1.46 mg/m3 (Wild
et al. 2008). Case reports indicate that patients present with non-specific complaints,
including progressive exertional dyspnea, dry or productive cough, with indications of

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lung lesions (Marchiori et al. 2010; Frank and Jorge 2011). Talcosis has been shown to
occur in children and adults, with symptoms that developed shortly after acute to short-
term exposure or up to 10 years later (Patarino et al. 2010; Shakoor et al. 2011).
Inhalation of talc has been known to cause pulmonary effects, even following single
acute exposures, as reported in a 10-year-old child who had a history of a single
exposure to talc at two years of age (Cruthirds et al. 1977). Another case report detailed
a seven-year-old child who developed asthma and reduced lung function after a single
exposure event (Gould and Barnardo, 1972). Additionally, a 52-year-old woman who
used baby talcum powder regularly at least twice a day (usually after bathing for
personal hygiene and habitually applying it to her bed sheets nightly) for 20 years was
reported to have dyspnea, along with a persistent dry cough and unintentional rapid
weight loss. A radiographic exam noted evidence of interstitial lung disease with fibrosis
(Frank and Jorge 2011).

Other relevant case reports include the case of a 55-year-old woman, occupationally
exposed to talc as a dusting agent on packed rubber balls from 1958 to 1968, who was
reported to develop dyspnea during the first five years after exposure (Tukiainen et al.
1984); and a 62-year-old woman occupationally exposed to talc for five years who was
reported to have progressive lung fibrosis for more than 40 years (Gysbrechts et al.
1998).

Animal studies

In a repeated-exposure study conducted by the U.S. National Toxicology Program
(NTP), groups of F334/N rats were exposed to aerosolized talc via the inhalation route
of exposure. Test animals were exposed for 6 hours per day, 5 days per week, for up to
113 weeks (males) or up to 122 weeks (females) to aerosols of 0, 6, or 18 mg/m 3 talc
(49 or 50 males per group, 50 females per group) (NTP 1993). Mean body weights of
rats exposed to 18 mg/m3 talc were slightly lower than those of controls after week 65.
No clinical observations were attributed to talc exposure. Absolute and relative lung
weights of male and female rats exposed to 18 mg/m 3 talc were significantly greater
than those of controls. Inhalation exposure produced a spectrum of inflammatory,
reparative, and proliferative processes in the lungs. Granulatomous inflammation, which
was evident as early as 6 months (first histopathological examination), occurred in
nearly all exposed rats, and the severity increased with exposure duration and
concentration. Hyperplasia of the alveolar epithelium and interstitial fibrosis occurred in
or near the foci of inflammation in many exposed rats, while squamous metaplasia of
the alveolar epithelium and squamous cysts were also occasionally seen.
Accumulations of macrophages (histiocytes), most containing talc particles, were found
in the peribronchial lymphoid tissue of the lung and in the bronchial and mediastinal
Iymph nodes. In exposed male and female rats, there was a concentration-related
impairment of respiratory function, beginning at 11 months, which increased in severity
with increasing exposure duration. The impairment was characterized by reductions in
lung volume (total lung capacity, vital capacity, and forced vital capacity), lung
compliance, gas exchange efficiency (carbon monoxide diffusing capacity), and non-
uniform intrapulmonary gas distribution (NTP 1993).

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In female rats at 18 mg/m3 talc, the incidences of alveolar/bronchiolar adenoma,
carcinoma, and adenoma or carcinoma (combined) were significantly greater than those
of controls (NTP 1993). The incidences of lung neoplasms in exposed male rats were
similar to those in controls. Adrenal medulla pheochromocytomas (benign, malignant, or
complex [combined]) occurred with a significant positive trend in male and female rats,
and the incidences in the 18 mg/m3 talc groups were significantly greater than those of
controls (NTP 1993).

The NTP (1993) concluded that there was some evidence of carcinogenic activity of talc
in male rats on the basis of an increased incidence of benign or malignant
pheochromocytomas of the adrenal gland. The NTP also concluded that there was clear
evidence of carcinogenic activity of talc in female rats on the basis of increased
incidences of alveolar/bronchiolar adenomas and carcinomas of the lung and benign or
malignant pheochromocytomas of the adrenal gland.

In a subsequent symposium, experts from the NTP, along with academic, industry, and
government experts re-examined the results of the chronic inhalation studies. The
general consensus from the expert panel was that the highest dose tested (18 mg/m3)
exceeded the Maximum Tolerated Dose (MTD) and as such, the neoplasms noted were
not relevant to human health risk assessment (Carr 1995). A similar conclusion was
rendered by Warheit et al. (2016). In addition, the Danish EPA (2016) and the MAK-
Commission attributed lung tumours in female rats to the general particle effect of
granular biopersistent dusts, which manifests as tumours in rodents only, and not the
specific effect of the talc particles. They also attributed the pheochromocytomas to an
increase in cell proliferation due to hypoxia, which was considered to be a high-dose
effect (MAK-Commission, 2012).

A chronic, repeated-exposure study was conducted in B6C3F1 mice via the inhalation
route of exposure (NTP 1993). Test animals were exposed for 6 hours per day, 5 days
per week, for up to 104 weeks to aerosols of 0, 6, or 18 mg/m3 talc (47 to 49 males per
group, 48 to 50 females per group). Survival and final mean body weights of male and
female mice exposed to talc were similar to those of the controls. There were no clinical
findings attributed to talc exposure. Inhalation exposure of mice to talc at both
concentrations was associated with chronic active inflammation and the accumulation of
macrophages, which contained talc, in the lung. In contrast to rats, hyperplasia of the
alveolar epithelium, squamous metaplasia, or interstitial fibrosis were not associated
with the inflammatory response in mice, and the incidences of lung neoplasms in
exposed and control groups of mice were similar. Accumulations of macrophages
(histiocytes) containing talc particles were also present in the bronchial Iymph node.
The critical-effect level and corresponding health effects endpoint was a lowest
observed adverse effect concentration (LOAEC) of 6 mg/m3 for non-cancer lung effects
(NTP 1993).

Doses used in the NTP chronic studies were selected on the basis of the results of a 4-
week inhalation study (1993) in which rats and mice were exposed to talc at 0, 2, 6, or
18 mg/m3, 6 hours a day, 5 days a week. Lung burdens were noted to be increased in a

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dose-dependent manner, with overload noted by the study authors at 6 and 18 mg/m 3 in
rats but not at any dose in mice. In both species (mice and rats), a minor macrophage
infiltration of lung tissue was the only health effect noted in the high-dose animals, while
animals in the mid- and low-dose groups were without treatment-related effects.

In a review of the NTP studies, Oberdorster (1995) revisited the lung deposition data
and particle accumulation kinetics in the lungs of rats and mice in those studies,
demonstrating that impaired clearance and lung overload was reached at 6 mg/m 3 and
above, for both sexes, in rats and mice.

A no-observed adverse effect concentration (NOAEC) of 2 mg/m3 was derived from the
4-week study, on the basis of increased lung burden and impaired clearance at a
LOAEC of 6 mg/m3 following 4-weeks of dosing, which led to non-cancer lung lesions at
this concentration when the duration of dosing was extended. Granulatomous
inflammation and alveolar epithelial hyperplasia were noted at a 6 month interim
sacrifice in the chronic rat inhalation study, with interstitial fibrosis and impaired lung
function noted in some animals at 11 months. As noted previously, following a single
exposure in rats, the biological half-life for ciliary clearance was between 7 and 10 days,
indicating that previous exposure would not have cleared prior to subsequent
exposures, leading to a build-up in lung tissue. A re-examination of the NTP lung
burden data by Oberdorster (1995) estimated that lung retention half-lives of talc
particles were between 250 and 300 days in the rat chronic study. On the basis of this
information, it was considered relevant to combine the NTP studies for the derivation of
an appropriate point of departure for lung effects associated with repeated inhalation
exposures.

The Danish EPA (2016) used the LOAEC of 6 mg/m3 from the chronic NTP studies
(mice and rats) and a NOAEC of 1.5 mg/m3 for talc-induced non-cancer lung effects in
the longitudinal survey of French and Austrian talc workers (Wild et al. 2008) to
establish a health-based quality criterion for ambient air (QCair) of 0.004 mg/m3.8

While human occupational studies and case studies are available, these studies do not
provide accurate measures of exposure for use in risk characterization. However,
human studies do note a similar range of lung effects and disease as animal models. As
such, results from the animal studies noted above were selected for the non-cancer risk
characterization. On the basis of the NTP studies with rats and mice exposed to
cosmetic-grade talc, a NOAEC of 2 mg/m3 for non-cancer lung effects is considered to
be appropriate for the inhalation route of exposure for short- or long-term use (given the
long half-life and slow lung clearance of talc from the lungs, even episodic exposures
would be expected to increase lung load). The NOAEC of 2 mg/m3 was adjusted
according to U.S. EPA guidance on inhalation risk assessment for a comparison with



8 The health-based quality criterion in ambient air (QC
                                                           air) is a reference concentration that refers to the maximum
permissible contribution to air from industrial sources.


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exposure estimates (U.S. EPA 1994, 2009).9 The adjusted NOAEC for non-cancer
effects is 0.36 mg/m3.

Perineal exposure to talc

The IARC has classified perineal use of talc-based body powder as “possibly
carcinogenic to humans” (Group 2B) on the basis of limited evidence in humans. The
analyzed case-control studies found a modest but consistent increase in risk, although
bias and confounders could not be ruled out. The IARC Working Group concluded that,
taken together, the epidemiological studies provide limited evidence in humans of an
association between perineal use of talc-based body powder and an increased risk of
ovarian cancer, although a minority of the Working Group considered the evidence
inadequate because the exposure-response was inconsistent and the cohort analyzed
did not support an association (IARC 2010).

The CIR Expert Panel (2013) determined that there is no causative relationship
between cosmetic use of talc in the perineal area and ovarian cancer, and further
concluded that talc is safe in the practices of use and concentration described in the
CIR safety assessment. Issues noted by the CIR included a lack of consistent
statistically significant positive associations across all studies; small risk ratio estimates;
a failure to rule out other plausible explanations such as bias, confounders, and
exposure misclassifications; and a lack of evidence from studies of occupational
exposures and animal bioassays (CIR 2013; Fiume et al. 2015).

Animal studies

Rodents are poor experimental models for perineal studies for a number of reasons.
Ovulation in rodents occurs only or mainly during the breeding season, and rodent
ovaries are variously enclosed in an ovarian bursa in comparison to human ovaries.
Ovarian epithelial tumours are also rare in these animals (Taher et al. 2018). Ovarian
tumours do occur in some strains of mice and rats; however, the low incidence and/or
the length of time required for the appearance of tumours renders them poorly feasible
for experimental studies of ovarian carcinogenesis (Vanderhyden et al. 2003). On
account of the limitations detailed above, in addition to the challenges posed by
exposing animals via the perineal route, animal data are very limited; one single-dose
study and one short-term repeated-dose study were available (Hamilton et al. 1984;



9 This adjustment was made according to guidance and equations outlined in the U.S. EPA Supplemental Guidance

for Inhalation Risk Assessment (US EPA 2009) and the U.S. EPA Methods for Derivation of Inhalation Reference
Concentrations and Application of Inhalation Dosimetry (U.S. EPA 1994). Adjustment of duration to a continuous
exposure scenario is done through the use of Equation 1 from U.S. EPA 2009 where the NOAEL[ADJ] = E × D × W,
whereby the NOAEL[ADJ] (mg/m3) = the no-observed adverse effect level (NOAEL) adjusted for the duration of the
experimental regimen; E (mg/m3) = the NOAEL or analogous exposure level observed in the experimental study;
D (h/h) = the number of hours exposed/24 hours; and W (days/days) = the number of days of exposure/7 days. The
NOAEC[ADJ] = 2 mg/m3 × 6h/24h × 5d/7d = 0.36 mg/m3


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Keskin et al. 2009). No chronic or carcinogenicity animal studies on perineal exposure
of talc were located in the literature.

A single injection of talc (in saline) into the bursa around the ovaries of rats showed
foreign-body granulomas with confirmation of the presence of talc (Hamilton et al.
1984). Daily perineal or intravaginal application of talc (in saline) to rats for 3 months
produced evidence of foreign-body reaction and infections; in addition, an increase in
the number of inflammatory cells were found in all genital tissues. While no cancer or
pre-cancer effects were observed, Keskin and colleagues (2009) noted that the study
duration may have been too short to note these types of effects.

Human studies

Several meta-analyses of available epidemiological data have been published; some
very recently (Huncharek et al. 2003; Langseth et al. 2008; Terry et al. 2013; Berge et
al. 2018; Penninkilampi and Eslick 2018; Taher et al. 2018). These studies have
consistently reported a positive association with ovarian cancer and perineal talc
exposure. Taher and colleagues (2018) identified 27 studies (24 case-control and 3
cohort) for a meta-analysis; ever versus never perineal use of talc and the risk of
ovarian cancer resulted in a statistically significant pooled odds ratio (OR) of 1.28 (see
Table 6-1). Other published meta-analyses have demonstrated similar results, with ORs
ranging from 1.22 to 1.35 (Huncharek et al. 2003; Langseth et al. 2008; Terry et al.
2013; Berge et al. 2018; Penninkilampi and Eslick 2018).


Table 6-1. Available human epidemiological studies investigating the association
of perineal use of talc and ovarian cancer (Taher et al. 2018, in preparation)
            Total sample
  Study                          Study
             size (no. of                       OR [95% CI]           Reference
   type                       conclusion
               cases)
                                Possible
  Case-
              686 (235)      association in     Not included       Booth et al. 1989
  control
                               subgroup
  Case-                         Positive                           Chang and Risch
             1014 (450)                       1.42 [1.08, 1.87]
  control                     association                               1997
                                Positive
  Case-
              336 (112)      association in     Not included       Chen et al. 1992
  control
                               subgroup
  Case-                         Positive
              735 (313)                       1.60 [1.10, 2.33]    Cook et al. 1997
  control                     association
  Case-                         Positive                             Cramer et al.
              430 (215)                       1.92 [1.27, 2.90]
  control                     association                               1982
  Case-                         Positive                             Cramer et al.
             4141 (2041)                      1.32 [1.15, 1.51]
  control                     association                               2016
  Case-                         Positive
             3187 (1385)                      1.36 [1.14, 1.62]    Gates et al. 2008
  control                     association

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              Total sample
  Study                                Study
               size (no. of                           OR [95% CI]           Reference
   type                              conclusion
                 cases)
  Case-                                                                    Godard et al.
                305 (153)           No association   2.49 [0.94, 6.60]
  control                                                                     1998
  Case-                               Positive
               1684 (824)                            1.30 [1.10, 1.54]   Green et al. 1997
  control                            association
  Case-                                                                  Harlow and Weiss
                274 (116)           No association   1.10 [0.70, 1.73]
  control                                                                      1989
                                       Positive
  Case-
                474 (235)           association in   1.50 [1.00, 2.25]   Harlow et al. 1992
  control
                                      subgroup
  Case-
                306 (135)           No association   0.70 [0.40, 1.22]   Hartge et al. 1983
  control
  Case-                               Positive
               2704 (902)                            1.40 [1.16, 1.69]   Kurta et al. 2012
  control                            association
  Case-                                                                    Langseth and
                 225 (46)           No association   1.15 [0.41, 3.23]
  control                                                                 Kjaerheim 2004
                                       Positive
  Case-
               3085 (1576)          association in   1.17 [1.01, 1.36]   Merritt et al. 2008
  control
                                      subgroup
                                       Positive
  Case-
               1354 (249)           association in   1.37 [1.02, 1.84]    Mills et al. 2004
  control
                                      subgroup
  Case-                                                                   Moorman et al.
               2143 (1086)          No association   1.06 [0.85, 1.32]
  control                                                                     2009
                                       Positive
  Case-
               2134 (767)           association in   1.50 [1.10, 2.05]   Ness et al. 2000
  control
                                      subgroup
  Case-                               Possible                           Rosenblatt et al.
                 123 (77)                            1.00 [0.20, 5.00]
  control                            association                               1992
  Case-                               Possible                           Rosenblatt et al.
               2125 (812)                            1.27 [0.97, 1.66]
  control                            association                               2011
  Case-                                Positive                          Schildkraut et al.
               1329 (584)                            1.44 [1.11, 1.87]
  control                            association                               2016
  Case-                                                                   Tzonou et al.
                389 (189)           No association   1.05 [0.28, 3.94]
  control                                                                      1993
  Case-                               Possible                           Whittemore et al.
                727 (188)                            1.45 [0.81, 2.60]
  control                            association                               1988
  Case-
               1155 (462)           No association   1.00 [0.80, 1.25]   Wong et al. 1999
  control
  Case-                               Positive
               1297 (609)                            1.53 [1.13, 2.07]    Wu et al. 2009
  control                            association
  Case-                               Positive
               4092 (1701)                           1.46 [1.27, 1.68]    Wu et al. 2015
  control                           association in

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               Total sample
  Study                                    Study
                size (no. of                            OR [95% CI]           Reference
   type                                  conclusion
                  cases)
                                       subgroup
                                       Possible
  Cohort       108870 (797)          association in     Not included       Gates et al. 2010
                                       subgroup
                                       Possible
  Cohort        78630 (307)          association in    1.09 [0.86, 1.38]   Gertig et al. 2000
                                       subgroup
                                                                            Gonzalez et al.
  Cohort        41654 (154)          No association    0.73 [0.44, 1.21]
                                                                                2016
                                                                            Houghton et al.
  Cohort        61285 (429)          No association    1.12 [0.92, 1.36]
                                                                                2014
Abbreviation: CI, confidence interval.

Mode of action

The etiology of most ovarian tumours, in general, has not been well established. There
are a number of different tumour types with characteristic histologic features, distinctive
molecular signatures, and disease trajectories. Moreover, these tumours are
heterogeneous, and they can arise from different tissues of the female reproductive
tract, including the fallopian tube epithelium (National Academy of Sciences,
Engineering, and Medicine 2016).

With respect to talc specifically, local chronic irritation leading to an inflammatory
response is one possible mechanism of tumour progression that is frequently
hypothesized (Muscat and Huncharek 2008; Penninkilampi and Eslick 2018; Taher et
al. 2018). It is known that persistent indications of inflammation (including C-reactive
protein, tumour necrosis factor, and other inflammatory markers) are detected in the
blood of women prior to a diagnosis of ovarian tumours (Trabert et al. 2014). Increases
in the number of inflammatory cells were found in all genital tissues of rats intravaginally
exposed to talc for 3 months (Keskin et al. 2009). There is support for an association of
inflammation and increased risk of ovarian cancer (National Academy of Sciences,
Engineering and Medicine 2016; Rasmussen et al. 2017).

Talc particles were detected in the ovaries of rats that received intrauterine instillations
of talc, and to a lesser extent in those that were dosed intravaginally with talc
(Henderson et al. 1986). No translocation of talc into the ovaries was detected after
single or multiple intravaginal applications of talc to rabbits (Phillips et al. 1978) or to
monkeys (Wehner et al. 1986).

Talc particles were identified in 10 of 13 human ovarian tumours but were also found in
5 of 12 “normal” ovarian tissues removed from patients with breast cancer (Henderson
et al. 1971). Ovaries from 24 patients undergoing incidental oophorectomy were
examined; 12 women reported frequent perineal talc use, and the other 12 women were

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non-users. Talc particles were detected in all 24 cases (both ever- and non-users)
(Heller et al. 1996b). Wehner (2002) attributed the talc in the never users to (a) possible
sample contamination, because some studies using negative controls resulted in
particle counts similar to the test sample; and/or (b) possible false positives due to the
use of a single radioactive tracer. To explain why talc is present in the never users,
Heller and colleagues (1996b) hypothesized that talc use during diapering could
contribute to the ovarian particle burden.

Translocation of other inert particles, similar in size to talc, has also been studied. A
study in monkeys did not show any translocation of carbon black particles when a
suspension was placed in the vaginal posterior fornix (Wehner et al. 1985). However,
retrograde migration was detected when rabbits were administered a lubricant powder
intravaginally (Edelstam et al. 1997). Other authors have noted similar transportation of
particles to the upper genital tract (Egli and Newton 1961; De Boer 1972; Venter and
Iturralde 1979). There are also some indications that particles can migrate from the
vagina to the upper reproductive tract in humans (Egli and Newton 1961; Venter and
Iturralde 1979; Heller et al. 1996a,b), and perineal exposure to talc has also been
associated with a presence of talc in the lymph nodes and ovaries of women diagnosed
with ovarian cancer (Heller et al. 1996a,b; Cramer et al. 2007).

Another possible mode of action that is hypothesized in the scientific literature is
immune-mediated. It has been suggested that talc particles need not reach the ovaries
but only need to reach the lower genital tract where talc could trigger changes (such as
the production of heat shock proteins and/or decreased levels of antibodies) that could
contribute to ovarian cancer (Cramer et al. 2005; Muscat et al. 2005). Human mucin 1
(MUC1) is expressed in high levels by ovarian cancer. Mucins are proteins involved in
the formation of mucous barriers on epithelial surfaces (Gendler and Spicer 1995). Anti-
MUC1 antibodies may have a protective effect; patients generate immunity against
MUC1 produced by their tumours (Cramer et al. 2005). The Cramer et al. (2005) study
used an enzyme-linked immunosorbent assay to measure anti-MUC1 antibody in
women (controls; n = 721) to determine the factors that predict the presence of
antibodies. It was found that the use of talc in the perineal area was associated with
significantly decreased levels of antibodies to MUC1 (Cramer et al. 2005).

The most recent meta-analysis (Taher et al. 2018) employed the Hill criteria (Hill 1965)
to assess the epidemiological evidence of a causal relationship. The Hill considerations
are a set of factors (i.e., strength, consistency, specificity, temporality, biological
gradient, biological plausibility, and coherence). These considerations form a framework
for evaluating evidence in humans to help determine whether observed associations
are causal (Hill 1965; Cogliano et al. 2004; US EPA 2005; Health Canada 2011; Fedak
et al. 2015). Each factor, as reported in Taher et al. (2018), is elaborated upon below.

Strength: Of the 30 epidemiological studies examined by Taher et al. (2018), 15 case-
control studies reported a positive association with statistical significance; 6 of these 15
had an OR of 1.5 or greater. Similarly, Penninkilampi and Eslick (2018) and Berge and
colleagues (2018) each assessed 27 epidemiological studies and respectively

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determined 14 and 13 case-control studies as reporting a positive association with
statistical significance. In both cases, 5 of these studies had an OR of 1.5 or greater.
Terry and colleagues (2013) only pooled 8 case-control studies; 5 of the 8 (63%) had a
statistically significant positive association.

The individual cohort studies did not show a statistically significant association between
perineal talc use and ovarian cancer (Berge et al 2018; Penninkilampi and Eslick 2018;
Taher et al 2018). However, there was a positive association, with statistical
significance, specific to invasive serous-type ovarian cancer in the cohort studies (OR =
1.25) (Penninkilampi and Eslick 2018). Given the long latency for ovarian cancer, the
follow-up periods may not have been sufficient to capture all the cases for the individual
cohort studies. Also, given the rarity of ovarian cancer, many of the available human
studies may not be sufficiently powered to detect a low OR. Sample sizes were not
large enough to detect a 20 to 30 % increase in risk; a group of over 200 000 women
would need to be followed for over 10 years in order to detect a 20% (above
background) increased risk with statistical significance (Narod 2016). With larger
sample sizes, more individual studies may have demonstrated stronger associations.

Consistency: Several meta-analyses conducted over the past 15 years calculated
similar ORs and resulted in similar conclusions; that there is a small yet consistent and
statistically significant increased risk for ovarian cancer with perineal talc use
(Huncharek et al. 2003; Langseth et al. 2008; Terry et al. 2013; Berge et al. 2018;
Penninkilampi and Eslick 2018; Taher et al 2018). The epidemiological studies
examined in these meta-analyses were conducted over different periods in time (across
more than four decades), among different ethnicities, and spanned many geographical
areas worldwide (Taher et al. 2018).

Specificity: Although there are many other risk factors for ovarian cancer (e.g.,
increased age, family history of cancer, obesity, nulliparity) (National Academy of
Sciences, Engineering, and Medicine 2016), perineal talc exposure is specifically
associated with cancer of the ovary and not other organs (Taher et al. 2018).

Temporality: In all case-control studies reporting positive outcomes, the participants
recalled that exposure to talc preceded the reported outcome. However, in the cohort
studies (reporting a lack of positive association), it is not known whether the follow-up
period was adequate to detect a potential association between perineal talc exposure
and ovarian cancer (Taher et al. 2018).

Biological gradient: There is a lack of an available exposure-effect relationship in the
human epidemiological data. Many of the studies only assessed a single-dose level
(ever versus never users). Furthermore, data with respect to the types of powder used
by subjects or the amounts applied were not presented, and therefore a relationship
between the concentration/dose of talc in the powder and the incidence of ovarian
cancer could not be investigated. Taher and colleagues (2018) isolated seven studies
that provided some evidence of increased risk of ovarian cancer with increasing
perineal applications of talc; however, none demonstrated both a clear dose-response

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trend and statistical significance (Whittemore et al. 1988; Harlow et al. 1992; Mills et al.
2004; Wu et al. 2009; Rosenblatt et al. 2011; Cramer et al. 2016; Schildkraut et al.
2016).

Biological plausibility: Particles of talc are hypothesized to migrate into the pelvis and
ovarian tissue, causing irritation and inflammation. The presence of talc in the ovaries
has been documented (Heller et al. 1996b). This evidence of retrograde transport
supports the biologic plausibility of the association between perineal talc application and
ovarian exposure; however, the specific mechanism(s) and cascade of molecular
events by which talc might cause ovarian cancer have not been identified (Taher et al.
2018).

Coherence: Multiple case-control studies reported a lower risk of ovarian cancer in
women who underwent pelvic surgery or tubal ligation (which disrupts the pathway and
movement of talc from the lower to the upper genital tract) and suppressed ovulation (as
cited by Taher et al. 2018: Cramer et al. 1982, 2016; Whittemore et al. 1988; Rosenblatt
et al. 1992; Green et al. 1997; Wong et al. 1999; Mills et al. 2004). As noted in
Penninkilampi and Eslick (2018), the main reductions in cancer incidence with tubal
ligation were for serous and endometrial tumour types but not for mucinous or clear-cell
tumours. Thus, tubal ligation is only effective in reducing the incidence of the same
tumour types noted to be associated with perineal talc use.

The most recent meta-analysis detailed above (Taher et al. 2018), and consistent with
the Hill criteria, suggests a small but consistent statistically significant positive
association between ovarian cancer and perineal exposure to talc. Further, available
data are indicative of a causal effect. A clear point of departure could not be derived
from the available literature; consequently, hazard characterization is qualitative in
nature.

     Exposure assessment

This exposure assessment focuses on routes of exposure where critical effects have
been identified; namely, non-cancer lung effects following inhalation of insoluble
respirable particles of talc, and an association with ovarian cancer following perineal
exposure to talc.

6.2.1 Environmental media, food and drinking water

Talc is a naturally occurring mineral, and there are several deposits in Canada (Kogel et
al. 2006). Currently, there is one operating open-pit mine and concentrator along with an
operating mill (MAC 2016); however, no talc concentration data in ambient air or around
open-pit talc mines and processing facilities have been reported. Although particulate
matter (PM) information for inhalable and respirable particles is available in the vicinity
of these facilities (NPRI 2018), these data were not used in the exposure assessment
as PM released from facilities is expected to contain a mixture of substances, hence the
concentration would not reflect talc exposure from this source. However, given the

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limited number of industrial and commercial sites producing and processing talc in
Canada, talc exposure from ambient air is not expected to be significant.

Talc is insoluble in water (Table 3-1) and is expected to settle out during water
treatment; exposure to the general population from drinking water is not expected.

There is potential for oral exposure resulting from the use of talc as a food additive;
however, exposure from these uses is expected to be minimal (email from the Food
Directorate, Health Canada, to the Existing Substances Risk Assessment Bureau,
Health Canada, dated February 27, 2018; unreferenced). Exposure from the use of talc
as a component in food packaging materials is expected to be negligible (email from the
Food Directorate, Health Canada, to the Existing Substances Risk Assessment Bureau,
Health Canada, dated February 27, 2018; unreferenced). Exposure from the oral route
was not quantified because no critical health effects from the oral route of exposure
have been identified. The JECFA has assigned an ADI of “not specified” for talc on the
basis of low toxicity, and talc is “generally recognized as safe” as a food additive in the
United States (JECFA 2006; U.S. FDA 2015).

6.2.2 Products available to consumers

Talc is present in approximately 8500 self-care products in Canada, including
approximately 200 non-prescription drug products, approximately 2000 natural health
products, and approximately 6500 cosmetic products. In addition, there are
approximately 1300 prescription drugs containing talc. There is potential for oral
exposure resulting from the use of self-care products and non-OTC drugs (including
prescription, controlled substances, and ethical drugs) as a medicinal and non-
medicinal ingredient containing talc. However, exposure from the oral route was not
quantified as no critical health effects from the oral route of exposure have been
identified.

There is the potential for dermal contact with talc from the use of self-care products.
Systemic exposure resulting from dermal contact with talc is expected to be negligible
as it is not expected that talc will be absorbed on the basis of its physical-chemical
characteristics as an insoluble solid particle. In addition, a dermal health effect endpoint
has not been identified for talc.

Notifications submitted under the Cosmetic Regulations to Health Canada for talc, the
LNHPD (modified 2018), the Drug Product Database (DPD), voluntary information
submitted to Environment and Climate Change Canada and Health Canada (ECCC, HC
2017), publicly available databases and websites (e.g., Household Products Database
1993-; CPCat 2014; CPID 2017), and material safety and technical datasheets were
used to identify products where there is: (a) the potential for inhalation of insoluble
respirable talc, and (b) the potential exposure to the perineal region. These products
and associated exposures are presented below.



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No inhalation or perineal exposures were identified with respect to the major
commercial or industrial uses of talc in paper, plastics, ceramics, and putties.

Inhalation exposure

For inhalation exposure, potential exposures were focused on products that were
formulated as loose powders and were available to consumers, which included
approximately 400 self-care products (primarily cosmetics). Products formulated as
pressed powders, which comprise the majority of cosmetics containing talc
(approximately 4000 products) were not identified as a potential source of exposure of
concern because the formation of a “dust cloud” available for inhalation is not expected
during the use of these products. Available information of interest were self-care
products marketed as cosmetics, NHPs, or non-prescription drugs that are intended for
application to the body, face, feet, buttocks (babies), and hair (e.g., dry hair shampoo).
Concentrations of talc range from less than 10 to 100 % in these types of products.

In order to determine if talc loose-powder self-care products contain respirable particles,
Health Canada measured the particle size distribution of three products (one baby
powder and two adult body powder products) containing high concentrations of talc
(>90%) available in Canada (Rasmussen 2017). Using an Aerodynamic Particle Sizer,
the particle size distribution for the three products ranged from < 0.5 µm to 8 µm, with
median particle sizes ranging from 1.7 to 2 µm. Thus, all of the particles were within the
inhalable range (< 10 µm), and the median particle size was within the respirable range
(< 4 µm). Number concentrations measured using a scanning mobility particle sizer
indicated that the proportion of nano-sized particles (<100 nm) was small (< 10 %) to
negligible, depending on the product.

Several studies were conducted by the cosmetic industry in the 1970s to provide data
required to assess the safety of talc powder products and generate air concentrations
(Aylott et al. 1979; Russell et al. 1979). These studies demonstrated that during the use
of face, baby, and adult powders, there are quantifiable concentrations of respirable talc
particles available for inhalation exposure. In 1978, Aylott and colleagues determined
mean respirable air concentrations of 0.48 to 1.9 mg/m3 of talc (< 7 µm) over 5 minutes
for loose face powder, adult dusting powder, baby dusting powder, and micronized adult
dusting powder. That same year, concentrations of talc (< 10 µm) of 0.19 mg/m3 and
2.03 mg/m3, respectively, were determined near the infant breathing zone during a
simulation of routine application of talcum powder during diapering, and in the breathing
zone of adults during the application of talcum powder to their body (Russell et al.
1979). In both of these studies, the highest air concentrations were associated with the
adult application of talcum powder to their bodies over infant diapering and application
of loose facial powder. There are uncertainties with the calculated talc concentrations
determined from these studies due to limitations in the collection and analysis of talc
concentrations on the basis of the use of older equipment, older sampling methods, and
older talc products.



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In 2017, a study assessing the health risk from the use of cosmetic talc from historical
products was published (Anderson et al. 2017). This study included examining historical
talc products from the 1960s and 1970s to characterize airborne respirable dust
concentrations during the use of these products. To quantify respirable talc
concentrations in the breathing zone, Anderson and colleagues (2017) designed a study
where 5 volunteers were asked to apply historical talc products as they typically would
in a bathroom setting. Cyclone air sampling devices were attached to the breathing
zone of each volunteer. Each exposure simulation consisted of 8 application events, at
six-minute intervals, for a total sampling duration of 48 minutes. This study design
ensured that the sample mass on the sampling filter was large enough for quantification
and accuracy, but it was not expected that during the typical use of a talc body powder
that individuals apply talc every six minutes over a 48-minute window. Average talc
concentrations over the 48-minute exposure simulation were calculated using the total
measured mass (from 8 applications over 48 minutes) and the air volume over the
entire 48-minute sampling period. Respirable talc concentrations ranged from 0.26 to
5.03 mg/m3, and the average was 1.46 mg/m3. The average air concentration by subject
ranged from 0.44 to 3.28 mg/m3. Respirable talc concentrations were more variable
between subjects than within subjects, suggesting that individual behaviour has a strong
influence in airborne concentrations.

In 2018, Health Canada conducted a small study in order to measure the air
concentrations of particles in the breathing zone of adult volunteer subjects while they
were applying talc-containing self-care products (Rasmussen 2018). Continuous, direct-
reading, personal breathing-zone monitors (positioned beside the nose) measured
average particulate matter of aerodynamic diameter of 4 μm or less (PM4)
concentrations of 0.48 ± 0.18 mg/m3 and 1.80 ± 0.82 mg/m3 for volunteers applying
body powder and loose face powder, respectively. Subjects repeated the application in
triplicate. These average concentrations fall within the range of concentrations
measured by Anderson and colleagues (2017). In this study, the application of loose
face powder resulted in the highest average air concentration in the immediate vicinity
of the nose.

Several exposure scenarios were derived to characterize inhalation exposure to talc
particles from the use of self-care products; namely, the use of baby, body, face, and
foot powders (loose formulations), and dry hair shampoo. Average air concentrations by
subject from Anderson et al. 2017 were combined with the body and face replicates
from Rasmussen 2018 to obtain an overall average air concentration of 1.36 ±
0.97 mg/m3. This value was used to estimate adjusted air concentrations for self-care
products based on the highest concentration of talc present in these products. The
results are summarized in Table 6-2. The inputs for each of these scenarios are outlined
in Appendix A.

Table 6-2. Inhalation exposure estimates to talc from self-care products available
to consumers



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                                                                         Adjusted exposure
   Product                               Concentration in air per
                       Age group                                           concentration
    type                                    event (mg/m3)a
                                                                             (mg/m3)b
     Baby
    powder          Infant and Adult               1.36                          0.0071
  100% talc
     Body
    powder                 Adult                   1.36                          0.0047
  100% talc
     Face
    powder                 Adult                   1.36                          0.0047
  100% talc
 Foot powder
                           Adult                   1.32                          0.0034
   97% talc
   Dry hair
  shampoo                  Adult                   1.36                          0.0011
  100% talc
a Average measured air concentrations (Anderson et al. 2017, Rasmussen 2018) × the highest

concentration of talc in product type.
b Refer to Appendix A for details.



Perineal exposure

Several types of self-care products have the potential to result in exposure to the
perineal region. There are several baby and body powders (approximately 50 products)
with concentrations of talc that range from 0.3 to 100 %. There has been a decline in
popularity of the use of talc for feminine hygiene practices over time; of 6000 North
American women, 19 % of women born between 1920 and 1940 reported applying talc
directly to the perineal region, but only 3% of women born after 1975 reported the same
(Narod 2016). Houghton and colleagues (2014) reported that in 2001, the proportion of
U.S. women who were users of perineal talc was estimated at 40 %, down from 52 %
during 1993 to 1998.

There is a small number of diaper or rash cream self-care products (less than 10) which
contains low concentrations of talc as a non-medicinal ingredient (up to 0.5 %). Talc is
permitted as a medicinal ingredient in diaper rash products at concentrations from 45 to
100 % (Health Canada 2007); however, there are no diaper rash products listed in the
LNHPD containing talc as a medicinal ingredient (LNHPD [modified 2018]).

Additional self-care products that have the potential for perineal exposure
(approximately 100 products) include antiperspirants and deodorants (e.g., genital
antiperspirants), body wipes, bath bombs, and to a lesser extent (due to wash off or
removal) other bath products (i.e., soap, shower gel) and products associated with hair
removal (e.g., epilatory products). These products are formulated as gels, sprays, loose
powders, and solid cakes, and range in concentration from less than 1% to 100% talc.


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As indicated in Section 4, there is no evidence to suggest that talc is currently being
used as a dry lubricant on condoms or medical examination gloves in Canada. At
present, these are not considered to be sources of perineal exposure.

As a quantitative point of departure could not be derived from the available literature,
perineal exposure from the use of self-care products was not quantified.

     Characterization of risk to human health
Consistent with other international regulatory and advisory bodies (Danish EPA, U.S.
EPA, MAK-Commission, U.S. FDA, and JECFA), no critical health effects were
identified via the oral or dermal routes of exposure. As such, oral exposure to talc
resulting from food intake and use of self-care products are not of concern.

Critical health effects have been identified following inhalation exposure to respirable
talc particles. From the available toxicological studies, a NOAEC of 2 mg/m 3 from the
NTP inhalation studies in mice and rats was identified in which non-cancer lung effects,
with lung overload, were noted at the next highest concentration of 6 mg/m 3.

The average air concentration of talc following the use of a loose-powder self-care
product (1.36 mg/m3) provides a small margin of exposure (i.e., 1.5) to the NOAEC of
2 mg/m3. However, the NOAEC is derived from a study with an exposure profile of 6
hours per day, 5 days per week, over 4 weeks, while the actual exposure scenarios
from the use of self-care products are intermittent, occurring in minutes per day, daily,
or weekly over many years. To address the differences in exposure between the NTP
study and the actual use pattern, both the NOAEC and the talc air concentrations were
adjusted to a continuous exposure scenario according to U.S. EPA guidance on
inhalation risk assessment to more accurately characterize potential risk (U.S. EPA
1994, 2009). The NOAEC of 2 mg/m3 is equivalent to an adjusted concentration of
0.36 mg/m3, as noted in the Health Effects section. The NOAEC of 2 mg/m3 was
extracted from a 4-week inhalation study as a NOAEC for chronic exposure was not
available. Episodic exposures from product use are expected to increase lung load due
to the long alveolar clearance of talc. The adjusted air concentrations from the use of
self-care products are presented in Table 6-3.

Table 6-3. Relevant exposure and hazard values for talc, and margins of
exposure, for determination of risk
                   Adjusted air        Adjusted
  Exposure                                                Critical health
                  concentration,     critical-effect                             MOE
  scenario                                                effect endpoint
                   CA (mg/m3)a       level (mg/m3)
 Baby
                                                          non-cancer lung
 powder                0.0071       NOAEC[adj]: 0.36                               50
                                                              effects
 100% talc



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 Body
                                                                  non-cancer lung
 powder                 0.0047          NOAEC[adj]: 0.36                                      76
                                                                      effects
 100% talc
 Face
                                                                  non-cancer lung
 powder                 0.0047          NOAEC[adj]: 0.36                                      76
                                                                      effects
 100% talc
 Foot powder                                                      non-cancer lung
                        0.0034          NOAEC[adj]: 0.36                                     106
 97% talc                                                             effects
 Dry hair
                                                                  non-cancer lung
 shampoo                0.0011          NOAEC[adj]: 0.36                                     327
                                                                      effects
 100% talc
Abbreviations: adj, adjusted; CA, concentration in air per event; MOE, margin of exposure.
a From Anderson et al. (2017) and Rasmussen (2018), respectively, based on the highest concentration in

products. For most of these product types, there is a wide range of talc concentrations (< 10 to 100 %).

The margins of exposure (MOEs) between the adjusted critical-effect level and the
adjusted air concentrations range from 50 to 327 for self-care products. The MOEs for
baby powder, body powder, face powder, and foot powder are considered potentially
inadequate to account for uncertainties in the health effects (including a lack of a
NOAEC from chronic studies) and exposure databases. The MOE for dry hair shampoo
is considered adequate to address uncertainties in the health effects and exposure
databases.

Based on available human data, ovarian cancer was also identified as a critical health
effect for the perineal route of exposure to talc. There is the potential for perineal
exposure to talc from the use of various self-care products (e.g., body powder, baby
powder, diaper and rash creams, genital antiperspirants and deodorants, body wipes,
bath bombs). As noted in the Health Effects section, a point of departure cannot be
derived for this health effect. Data from published meta-analyses of epidemiological
studies indicate a consistent and statistically significant positive association between
perineal exposure to talc and ovarian cancer (Huncharek et al. 2003; Langseth et al.
2008; Terry et al. 2013; Berge et al. 2018; Penninkilampi and Eslick 2018; Taher et al.
2018). As noted by Narod (2016), “It is unlikely that the association between talc and
ovarian cancer is due to confounding and so it is fair to say that if there is a statistically
robust relationship between talc use and ovarian cancer it is likely to be causal.”
Similarly, Penninkilampi and Eslick (2018) noted that “the confirmation of an association
in cohort studies between perineal talc use and serous invasive ovarian cancer is
suggestive of a causal association.” Taher and colleagues (2018) noted that “consistent
with previous evaluations by the International Agency for Research on Cancer (2010),
and more recent and subsequent evaluations by individual investigators (Penninkilampi
and Eslick 2018; Berge et al. 2018; Terry et al. 2013), the present comprehensive
evaluation of all currently available relevant data indicates that perineal exposure to talc
powder is a possible cause of ovarian cancer in humans.”



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The meta-analyses of the available human studies in the peer-reviewed literature
indicate a consistent and statistically significant positive association between perineal
exposure to talc and ovarian cancer. Further, available data are indicative of a causal
effect. Given that there is the potential for perineal exposure to talc from the use of
various self-care products, a potential concern for human health has been identified.

     Uncertainties in evaluation of risk to human health

The inhalation of talc has been associated with a variety of non-cancerous lung effects,
commonly termed talcosis. Dose-response data for lung effects in humans is, for the
most part, lacking, and the use of animal data to quantify risk due to talc inhalation is
considered appropriate. Despite the lack of exposure quantification, there are numerous
case reports, as well as worker studies, that have identified non-cancer health effects
from inhalation of talc powders. There is some uncertainty regarding the extrapolation of
the NOAEC identified in animal models exposed for 6 hours per day for a short duration
(4 weeks) to long-term episodic human exposures. The true NOAEC for chronic
exposure is likely substantially lower than 2 mg/m3.

Some self-care products, in particular, some face powders, may contain a cover or
another mechanism that would reduce the potential for the generation of a particle or
dust cloud, or that would reduce the concentration of the dust cloud during use of the
product. There is uncertainty as to which products, and the proportion of products on
the market, that incorporate these exposure-mitigation measures.

There are limitations with the human epidemiological data. Potential sources of bias
include selection bias due to low response rates or from limiting subjects, and exposure
misclassification due to recall bias (Taher et al. 2018). Muscat and Huncharek (2008)
also proposed that symptoms of ovarian cancer prior to diagnosis may increase the
perineal use of talc and bias the results. However, Narod (2016) and Berge and
colleagues (2018) put less emphasis on recall bias. In studies where the exposure is
simple (e.g., never versus ever use), recall bias is unlikely to be an important source of
bias (Narod 2016). The positive association is strongest for the serous histologic type
(Berge et al. 2018; Taher et al. 2018); findings that the association may vary by
histologic type detracts from the hypothesis of report bias, as this type of bias would
likely operate for all histologic types (Berge el al. 2018).

Ovarian cancer, in general, is not well understood (National Academy of Sciences,
Engineering, and Medicine 2016), and a comparable animal model is not available.
Health Canada has identified self-care products with the potential for perineal exposure
(e.g., baby powder, body powders, diaper and rash creams, genital antiperspirants and
deodorants, body wipes, bath bombs); however, there is no indication exactly how the
products are being used, the extent to which they would contribute to perineal exposure,
and with what frequency and amount.

Talc use during diapering is a confounder that was not adequately accounted for in the
epidemiological studies. It has not been determined whether the internal female genital

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tract is exposed to talc dusts during infancy (Muscat and Huncharek 2008). As well, not
all the available human studies are clear as to the formulations used for perineal
applications. It is possible that the identified cancer incidences are specific to loose-
powder formulations; however, there is inadequate information to attribute the cancer
incidences to other formulation types (e.g., creams).

   Conclusion
Considering all available lines of evidence presented in this draft screening assessment,
there is low risk of harm to the environment from talc. It is proposed to conclude that talc
does not meet the criteria under paragraphs 64(a) or (b) of CEPA as it is not entering
the environment in a quantity or concentration or under conditions that have or may
have an immediate or long-term harmful effect on the environment or its biological
diversity or that constitute or may constitute a danger to the environment on which life
depends.

On the basis of the information presented in this draft screening assessment, it is
proposed to conclude that talc meets the criteria under paragraph 64(c) of CEPA as it is
entering or may enter the environment in a quantity or concentration or under conditions
that constitute or may constitute a danger in Canada to human life or health.

It is therefore proposed to conclude that talc meets one of the criteria set out in section
64 of CEPA.

Talc is proposed to meet the persistence criteria but not the bioaccumulation criteria as
set out in the Persistence and Bioaccumulation Regulations of CEPA.




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Appendix A. Inhalation exposure estimates
Table A-1. Estimated inhalation exposure concentrations from self-care products
containing loose powder talc available to consumers
                 Talc      Studyb                                         EC
                                      CAb       ETc     EFd    EDe
 Scenario      product     conc.                                       adjusted
                                    (mg/m3)    (hr/d)  (d/yr)  (yr)
                conc.a    (mg/m3)                                      (mg/m3)b
 Baby
 powder,        100 %       1.36      1.36     0.125    365      4      0.0071
 infants
 Baby
 powder,        100 %       1.36      1.36     0.125    365      8      0.0071
 adults
 Body
 powder,        100 %       1.36      1.36     0.083    365     58      0.0047
 adults
 Face
 powder,        100 %       1.36      1.36     0.083    365     58      0.0047
 adults
 Foot
 powder,         97 %       1.36      1.32     0.083    274     58      0.0034
 adults
 Dry hair
 shampoo,       100 %       1.36      1.36     0.083     84     58      0.0011
 adults
Abbreviations: Conc., concentration; CA, concentration in air per event; ET, exposure time; EF, exposure
frequency; ED, exposure duration; EC, adjusted exposure concentration.
a Highest concentration of talc found per product type from notifications submitted under the Cosmetic

Regulations to Health Canada for talc, DPD [modified 2018], email from the Therapeutic Products
Directorate, Health Canada, to the Existing Substances Risk Assessment Bureau, Health Canada, dated
March 20, 2017, unreferenced; LNHPD [modified 2018], email from the Non-prescription and Natural
Health Products Directorate, Health Canada, to the Existing Substances Risk Assessment Bureau, Health
Canada, dated March 20, 2017, unreferenced; Fiume et al. 2015; Household Product Database 1993-;
CPCat 2014; CPID 2017; SDS Search Tool 2016.
b Average by subject from Anderson et al. 2107 and Rasmussen 2018 (unpublished). CA = average study

concentration × maximum talc concentration in product.
c ET is 5 minutes/application based on median time spent in the bathroom following a shower or bath

(U.S. EPA 2011) × number of applications/day, whereby baby powder assumes 1.5 applications/day
(CTFA 1983); the rest assume 1 application/day.
d EF is assumed to be daily for baby, body (U.S. EPA 2011) and face powder (Ficheux et al. 2015); foot

powder 0.75 times/day or 274 times/year (Ficheux et al. 2015); dry hair shampoo 0.23 times/day or 84
times/year (Ficheux et al. 2015).
e Assumed infant wears diapers up to 4 years, adult exposure to baby powder from diapering children, 4

years per child and assume 2 children per family (Statistics Canada 2016), adult exposure for body
powder, and foot powder (80 years lifetime, 12 years child).
f Adjusted exposure concentration is calculated as per Equation 8 in the U.S. EPA 2009 guidance

document “Risk Assessment Guidance for Superfund Volume I: Human Health Evaluation Manual,”
where EC = (CA × ET × EF × ED)/AT, and AT = averaging time, which is on the basis of ED × 365
days/year × 24 hours/day.


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